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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGI
                                 ATLANTA DIVISION


CONRAD JOSEPH JAMES JR,                          )
Plaintiff                                        )
                                                 )
vs.                         ) CASE NUMBER: 1:23-CV-03097-MHC
                            )
FREEDOM MORTAGE CORPORATION )
Defendant                   )



                                     MOTION TO APPEAL
                   AFFIDAVIT OF RESPONSE TO CEASE AND DESIST

    CONRAD JOSEPH JAMES JR. the consumer is an educated, natural living man and
respected professional in the community. He has spent years serving the community in his
profession and building a positive reputation. CONRAD JOSEPH JAMES JR. has learned that
you have engaged in spreading false, destructive, and defamatory rumors about him for an
ALLEGED DEBT. I am demanding that you cease all forms of communication with me through
any and all mediums UNLESS it pertains to my remedy in writing via mail pursuant to O.C.G.A.
§ 16-12-111 equivalent tol5 USC 1692c.(c) Ceasing communication.

"If a consumer notifies a debt collector in writing that the consumer refuses to pay a debt or that
the consumer wishes the debt collector to cease further communication with the consumer, the
debt collector shall not communicate further with the consumer with respect to such debt."

    Under Georgia law, it is unlawful to engage in defamation of another's character and
reputation, the Code of Federal Regulations, United States Code and the Fair Debt Collection
Practices Act, require such claims to be VAILDATED, I too have a right to PRIVACY by LAW
as a consumer.

    Defamatory statements were made by the Defendant as a result of neglecting to process the
negotiable instrument as payment and notice of ACCEPTANCE, resending the original contract,
in accordance with The Georgia state code that is equivalent to U.C.C.3-504 is Georgia Code§
11-2-504. It is titled Right to demand assurance of performance (1) and the Truth in Lending Act.
The Defendant sent receipt acknowledging each payment received, however, neglected to process
said payments. This neglect resulted in foreclosure status being placed on the Plaintiff's property,
without consent and without disclosures, violating his privacy as a consumer. All communication
from FREEDOM MORTGAGE CORPORATION is using deceptive debt collection practices
according to O.C.G.A. § 7-1-92 equivalent to 15 USC 1611 the defendant is Criminally liable for
willful and knowingly violating my rights. In addition, according to O.C.G.A. § 7-1-81
equivalent to 15 USC 1605 the "Finance Charge" is the sum ofall charges and paid all
obligations in full.                                                       ·




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I am refusing to pay the ALLEGED DEBT. I am aware of my open-end credit plan as defined in
O.C.G.A. § 10-1-401equivalent to 15 USC 1602, and that I am the consumer in the credit
transaction. With that being said, I am also aware of my credit file, and I want to see the
transactional history, I want to see my audit trail, my file to verify this alleged debt that
FREEDOM MORTGAGE is stating that me the consumer and living person is obligated to pay,
in pursuant to the Georgia Fair Debt Collection Practices Act (FDCPA). The Georgia FDCPA was
enacted in 1977 to protect consumers from unfair, deceptive, and abusive debt collection
practices. The Georgia FDCPA mirrors the federal FDCPA equivalent to 15 USC 1692g, I
demand proper VAILDA TION OF ALLEGED DEBT.

The Defendant has caused the Plaintiff, CONRAD JOSEPH JAMES JR., an insurmountable
amount of physical, mental and financial duress, as well as public embarrassment, due to the
publishing of the Plaintiffs property on a local auction publication, harassing debt collections
notices, credit reporting and calls. The auction was set to commence May 2, 2023. The Plaintiff
has continued to experience major difficulties with attaining lines of credit due to the derogatory
marks and unlawful third party sharing and reporting of information, making if challenging to
provide for himself and his family. The Congressional findings and declaration of purpose under
Georgia Consumer Protection Act (O.C.G.A. § 10-1-40 et seq.) equivalent to title 15 of the United
States Code 1601, regulates that FREEDOM MORTGAGE COMPANY the creditor conduct
honorable business and the defendant has not.

Fact, I, the plaintiff am aware, FREEDOM MORTGAGE CORPORATION, cannot and shall not
restrict nor limit nor cause any disruption of any manner of the account in question pursuant to
O.C.G.A. § 7-1-610 equivalent to 12 CFR § 1693m.

Fact, I am the federally protected consumer and holder in due course pursuant to Georgia
Commercial Code Section 11-3-306 equivalent to UCC 3-306.

Fact, the account in question was opened in February 2018, with the defendant using my personal
identification and credit card information as defined in O.C.G.A. § 7-1-101 equivalent to 15 USC
§1602.

Fact, an account pursuant to O.C.G.A. § 7-1-61 equivalent to 12 CFR 1002.2(a) means "an
extension of credit."

Fact, since opening the account in question in February 2018, I have paid a monthly "bill" to the
defendant, online, using my personal debit card information.                     ·

Fact, I, the consumer, have received several statements including the subject matter of an attempt
to collect an alleged debt for this account.

Fact, I, the plaintiff, have reason to believe and do so believe, as a federally protected consumer
and debtor, owe no such alleged debt(s).

Fact, I, the plaintiff, have reason to believe and do so believe that all past, present, and future
billing statements received by FREEDOM MORTGAGE are in error under O.C.G.A § 7-1-91
equivalent to 12 CFR 1026.13(a), beginning with the date the account was opened.

Fact, I, the plaintiff, am aware that FREEDOM MORTGAGE, failed to provide me with the
General Disclosures which are requirements pursuant 12 CFR 1026.17 and is a violation of said
section. The Georgia state code that is equivalent or similar to 12 CFR 1026.17 is the Georgia


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Fair Credit Reporting Act (GA FCRA). The GA FCRA is a law that protects consumers' rights to
access and correct their credit reports. It is similar to the federal Fair Credit Reporting Act
(FCRA).

Fact, I, the plaintiff, am asserting/invoking my right to acquire documentary evidence in
accordance with O.C.G.A. § 10-1-40 equivalent to 15 U.S.C. § 44 for the books of account as
defined in IRS Publication 583, to explain and address such subject matter contained in said
billing statements. I'd like to access both the journal and credits of the account, as well as the
ledger and debits of the account, in order to verify the current accounting and taxes related to this
account. _

Fact, in accordance with O.C.G.A. § 7-1-62 equivalent to 15 U.S.C. § 1666d, ifthere is a credit of
account balance with surplus over 1 dollar in accordance with the journal and ledger entries
described in IRS Publication 583, the amount balance should be credited and the remaining
balance directed to me, the consumer by check. As this is a formal instruction in accordance with
O.C.G.A. § 10-1-382(a)(2) equivalent to 15 U.S.C. § 1666(b)(2) to provide documentary
evidence, which includes books of account in accordance with O.C.G.A. § 10-1-40 equivalent to
15 U.S.C. § 44 to resolve this matter, the documentary evidence, which includes books of account
in accordance with O.C.G.A. § 10-1-40 equivalent to 15 U.S.C. § 44, must be provided to clarify
this ALLEGED DEBT.

Fact, the defendant shall follow the following procedures as defined pursuant OCGA 7-1-72
equivalent to 12 CFR 1026.13(e): (1) Correct the derogatory reports and credit the consumer's
account with any disputed amount and related finance or other charges, as applicable; and
(2) Mail or deliver a correction notice to the consumer. I hereby demand that all refunds, rebates,
title/deed and settlements be sent to my place of abode, as listed on the account in question, in the
form of a check, from February of 2018, to current.


Fact, I, the plaintiff am aware, that, defendant as the creditor may not collect any disputed
amount. As a federally protected consumer, who does not need to pay, the creditor cannot restrict,
accelerate payment or close an account and or make or threaten any adverse reporting to any
person about the consumer's credit standing without validating the alleged debt. Such actions by
the defendant will forfeit its rights to collect the disputed amount as described in 15 U.S.Code
1666(e) similar to O.C.G.A. § 7-1-37(d) requires debt collectors to obtain the debtor's consent if
the debtor has not waived their right to have the communication confined to the debtor.and hold
the creditor liable under 15 U.S.Code § 1693m the equivalent to O.C.G.A. § 16-11-144 states that
any person who violates the FCRA is liable to the consumer in an amount equal to the sum of any
actual damages sustained by the consumer as a result of the violation. The law also provides for
the recovery of attorney's fees and costs in any successful action to enforce the FCRA.

for FREEDOM MORTGAGE CORPORATION for the actual damage caused to I, the plaintiff,
as well as held to criminal liability pursuant to O.C.G.A. § 10-1-421 equivalent to 15 U.S.Code §
1693n for failing to present required documentary evidence as requested to clarify and resolve the
previously addressed alleged debt.

Fact, I, the plaintiff, am aware, FREEDOM MORTGAGE CORPORATION, cannot and shall not
restrict nor limit nor cause any disruption of any manner of the account in question pursuant
O.C.G.A. § 7-1-37(g) equivalent to 12 CFR I 026.13d(3), a creditor shall not accelerate any part of
the consumer's indebtedness or restrict or close a consumer's account solely because the consumer



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has exercised in good faith rights provided by this section. A creditor may be subject to the
forfeiture penalty under O.C.G.A. § 7-1-59(g) equivalent to 15 U.S.C. § 1666(e) for failure to
comply with any of the requirements of this section.

Fact, I, the plaintiff am aware, that, in accordance with 16 C.F.R. § 433.3 similar to O.C.G.A. §
19-9-10 is the Georgia state law that mirrors these federal requirements, the defendant is not
exempt from any claims or defenses as described in O.C.G.A. § 43-39-1 equivalent to 16 C.F.R. §
433.2(a) as the plaintiff, may invoke my rights as the debtor in this consumer credit contract
against FREEDOM MORTGAGE CORPORATION for the unfair and deceptive practices herein
as no contract after the date of November 1, 1977 is exempt from O.C.G.A. § 16-10-70 equivalent
to 16 C.F.R. § 433.3.

Fact, I, the plaintiff, have reason to believe and do so believe, the defendant which is a private for
profit corporation, regardless of your/their location, has participated in racketeering activity as
defined in Title 18 U.S.Code § 1961 The Georgia state code that comes closest to defining
racketeering activity is Chapter 16-12 of the Georgia Code, which is titled "Organized Crime."
Chapter 16-12 defines organized crime as "the unlawful activity of persons who combine or
conspire with one another for the purpose of obtaining money or property by means of extortion,
theft, robbery, or any other unlawful means.", by knowingly, intentionally, with forethought and
malice have been sending dividends but, in fact, making me believe that dividend was an invoice
for services provided by the mortgage company, which is embezzlement, theft by deception and
extortion.

Fact, I the plaintiff, have reason to believe and do so believe, FREEDOM MORTGAGE is in
violation of is a violation of 18U.S. Code § 1341 similar to Georgia State Code OCGA § 16-9-1
by knowingly participating in the fraud through the US Mail.

Fact, without an affidavit response with a rebuttal, point for point, then I am conditionally
accepting your non-reasonable response, as frivolous, and I will file fault judgment in the favor of
the interest ofl the consumer, holder in due course, attorney, and administrator in fact.

Fact, I, the plaintiff am aware, an unrebutted affidavit stands as truth in commerce.

Fact, I, the plaintiff, am invoking my rights pursuant to 15 U.S.Code § 1692c(c) The Georgia
state code that is the equivalent to 15 U.S.Code § 1692c(c) is OCGA § 16-12-170(c). It states
that: A debt collector may not communicate with a consumer in connection with the collection of
any debt at the consumer's place of employment if the debt collector knows or has reason to
know that the consumer's employer prohibits the consumer from receiving such communication.

I demand you to cease any communications and collection activity of this alleged debt until you
can provide me with the requested information in this affidavit herein. You have 15 days from
the date of delivery to respond to this notice. Should there be dishonor in the aforementioned
requested documentation by way ofunrebutted affidavit, failure to disclose requested documents
or failure of response, and the particular requests to rectify any fault by FREEDOM
MORTGAGE CORPORATION herein, will serve as acquiescence and your agreement to a
default judgment against your company for the dishonor in the negotiable instrument, bank fraud,
creation of the false and deceptive form, mishandling of goods, compromising my relationship
with other financial institutions and including stress caused to me in the attempt of exercising my
rights in good faith. However, I do in good faith expect you to handle these matters with ordinary
care to address all subject matter. Respectfully.



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 Notice, I, the plaintiff and consumer, in writing with adequate information on all forms of
 remittance "ACCEPTED" and the remittance provider address and the name exactly as it appears
· on the I.RS statements so we can resolve this issue post-haste. If you are not familiar with
  remittance transfers, please see Regulation B 12 C.F.R Subpart B similar to the Georgia Fair
  Credit Reporting Act (Ga. Code Ann.§§ 7-1-100 et seq.) "Requirements Remittance Transfers"
  for your reference. Provide examples of accepted remittance slip transfers, so I may tender a bill
  of credit approval. If this notice contains a remittance slip that is not accepted, please return the
  original coupon with reason as to why it was denied and to whom I may contact to properly
  endorse the remittance slip to your organization.

I do in good faith expect you to handle these matters with ordinary care to address all subject
matter. Respectfully.

If you do not comply with this cease-and-desist demand within this time period, CONRAD
JOSEPH JAMES JR, is entitled to seek other monetary damages and equitable relief for your
defamation. In the event you fail to meet this demand, please be advised that CONRAD JOSEPH
JAMES JR. has communicated to you that he will pursue all available legal remedies, including
seeking monetary damages, injunctive relief, and an order that you pay court costs and legal
fees. Your liability and exposure under such legal action could become more considerable.

 I declare under penalty of perjury WITHOUT the United States (28 U.S.C § 1746) Georgia Code
 § 33-24-1 that the Above is the Truth, The Whole Truth and Nothing but the Truth to the best of
 my knowledge and Overstanding.

 I am attaching Exhibits as proof of ownership, a copy of the deed, a UCCl 1 Search Title 11,
 Chapter 9 of the Official Code of Georgia Annotated. This chapter covers the Uniform
 Commercial Code (UCC) in Georgia, and includes provisions for financing statements,
 amendments, and terminations. This document proves that I am the first in line lien holder and
 Freedom Mortgage has none, my OBA and Affidavit of Publication of Assumed Name, accepted
 1099c from the IRS and finally a Mortgage Fraud Analysis Report and Expert Witness Affidavit.

      Before taking these steps, however, I wish to give you one opportunity to discontinue your
 illegal conduct by complying with my demand within ten (15) days. Accordingly, please
 construct, sign and return a Defamation Settlement Negotiation Agreement within ten (15) days
 to:

 CONRAD JOSEPH JAMES JR
 3415 SANDWEDGE LANE
 SNELL VILLE, GEORGIA 30039




 By: James: Conrad-Joseph Jr.IAGENT
 Cjiamesjr I l uV;gmail.com
 404-484-4286




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                                            Jurat
Whereas, I of age, of majority, give this herein notice to all, I make a solemn oath to the one and
only most high of creation only, whoever that may be, and I depose the following facts, so be it,
nunc pro tune.

I swear to all information provided herein, I do so under the penalty of perjury that the
information I so affirm to be true, correct, accurate to the best ofmy ability and knowledge, so be
it.

On the date of    08 SeQtember         , 2023        , agent, James: Conrad- Joseph Jr. came
before me today present as a flesh and  blood living being (Non entity/non debtor) under oath to
the most high of creation only and provided the facts listed herein


CONRAD-JOSEPH: JAMES JR




Notary Signature                                                            Notary Seal




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              EXHIBIT A
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                             BERTRAND FALLS
                  Expert Witness & Professional Services Provider
                    2090 Lawr,enceville Suwanee Road No. 239 ·
                                Suwanee GA 30024
                              Fax No. 877-398-5288
                          Phone Number: (678) 933-4978
                     bertrandfalls.correspondence@gmail.com



                            CURRICULUM VITAE


SUMMARY OF QUALIFICATIONS

• Acts as expert witness pertaining to foreclosure defense and loan litigation.

•    Processes loan origination within various federal and state qualifying
     standards including appraisals, insurance and post-closing requirements.

•    Determines and arranges insurance coverage for life, health, property and
     casualty insurance.

•     Facilitates meetings across multiple time zones, can travel on assignments
     and holds a valid Driver's License and a US Passport without travel
     restrictions.

•     Builds business models for start-ups and small-scale business enterprises,
      provide detailed financial planning and reporting, cost estimates and
      valuations and support customized legal briefings and step-by-step business
    · presentations.
                                                                       I

•    Leads and supports coqwrate business process management and produce
     manuals, tutorials and technical and performance reports.
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• Possesses strong analytical, inter-personal and presentation, negotiating and
  communications skills.

•   Coordinates in on-site and off-shore business processing operations.



    • Signature Acquisition is used for handwritten signature authentication.

    • Signature Analysis of single signature complexity to determine probability
      of forged signatures.

    • Signature Analysis helps determine the probability of handwritten
      signature pattern coherence.

    • Signature Acquisition of multiple handwritten signature comparison from
      one or more signatures.

    • Biometric matching, allowing for verification and identification of
      handwritten signature.



PROFESSIONAL PRACTICE

• Worked in the fields of real estate and loan brokering and origination, rate
  quotes and disclosures, title insurance, property description and property
  ownership details with North American Mortgage and Washington Mutual
  Bank (1993 to 2004), conducted seminars on various mortgage products and
  services, worked with compliance teams in identifying risks associated with
  loan exposures and in handling methods of identifying and placing property
  insurance coverage or complying with insurance requirements.

• Has experience in the field of information technology, more particularly on
  projects requirements and tools lists associated with AppExchange from
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    ~alesforce, Sandbox testing environments, SugarCRM and Salesforce CRM
    customer relationship management softwares, API testing tools, automation
    and integration with Microsoft SharePoint, Adobe FrameMaker and Microsoft
    R server, LexusNexis legal and business research and risk management
    applications, Microsoft Office 365 software for developer team collaborations
    and visual studio applications.

•   Has experience as Community Loan Officer specializing in FHA- and VA-
    qualifying loans, RESP A and ALT-A requirements, conforming and non-
    conforming and prime and sub-prime loans, as Financial Portfolio Auditor
    conducting reviews of secondary market loans, as Loss Mitigation
    Supervisor in pre-foreclosure cases and as Post-Closing Auditor for
    processed loans which included electronic storage.

• Worked in the field of insurance as a licensed agent for life, health,
  property and casualty insurance with Equitable Life of Iowa, New York
  Life and MetLife (1985-2001).



EDUCATION & PROFESSIONAL TRAINING

•   Since 2016 undergoing continuing education in Cisco Network, Windows
    Servers, HTML, XML, PHP and SQL Database Management, Microsoft Office
    365, Azure, SharePoint, Adobe Suite, Salesforce, QuickBooks, LexisNexus
    and WordPress, operations compliance in OSHA Workplace, 6 Sigma, ISO
    9000 and American Society for Quality, Data Mapping for Technical and
    Accounting, registrations for LLCs, corporations, trusts and UCC, D and B
    and EDGAR reporting.

•    From 2004 to 2016 underwent seminars in Business, Estate and
    Litigation Valuation, Capital Markets and Financial Models, Payment
    Processing, Merchant Accounts, EDI, ACH and Check 2 and Swift Protocols
    and Procedures.
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• As a Liberal Arts Major (1980 to 1984), attended Oakwood University,
  Huntsville, Alabama and University of Houston and North Harris College,
  Houston, Texas.

• Completed 444 hours of certified insurance education.




MILITARY SERVICE

• Served in the United States Navy (1984-1987) and was honorably discharged.




OTHER INTERESTS

• Urban Ministries (1979 to the present)

• Photography
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Experience, Qualifications and Expertise of Affiant

Bertrand Falls


I, Bertrand Falls and over the age of 21 and an expert on the
subject matter of Mortgage Foreclosures Securitization
Audits, Foreclosure Litigation Mortgage Fraud and Forensic
Analyst of Mortgage Assignments and have over 20 years'
experience in the Mortgage field.

I have knowledge in Foreclosure Litigation, asset-backed
securitization, Foreclosure and loss mitigation I have
studied in the areas of truth in lending(T I LA), (RESPA), the
fair credit reporting act(FCRA), Uniform Commercial Code
(UCC), the ORC 5301, 1109.75 Securitization, Rule 901
Authenticating or Identifying Evidence, Rule 902. Evidence
that is self - authenticating. I am an expert it hand writing
analysis and signature analysis.

I am proficient and knowledgeable in Foreclosure litigation,
mortgage-backed securitization and how these issues find
applicability in Judicial Foreclosure actions. In the course of
my consultant work I have read and/or reviewed thousands
of Mortgage loan related documents including, but not
limited to: home loan disclosures, settlement statements,
appraisals, underwriting and processing documents,
mortgages, notes, Allonge, fraudulent assignments,
Mortgage Electronic Registration Systems assignments,
complaints, affidavits and trust documents such as pooling
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and servicing agreements, prospectuses and prospectus
supplements and securitization audits.

I perform, ongoing research into the securitization, sale and
transfer aspects of Residential Mortgage loans and
mortgage-backed securities ,.and am proficient in applying
that research to the particular facts in a given Foreclosure
case.

I can testify as an expert witness in proceedings and
depositions relative to my expert opinions filed in this case
should that be requested or required.

                            ·This certifi,'c(ite is a,varileil to



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      EXHIBIT B .
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               Experience, Qualifications and Expertise of Affiant


                                     Bertrand Fal Is
I, Bertrand Falls and over the age of 21 and an expert on the subject matter of
Mortgage Foreclosures      Securitization    Audits, Foreclosure Litigation Mortgage Fraud
and Forensic Analyst of Mortgage Assignments and have over 20 years of experience
in the Insurance & Mortgage field.


I have knowledge in Foreclosure Litigation, asset -backed securitization, Foreclosure
and loss mitigation I have studied in the areas of Title Search, UCC Filings, truth in
lending(T I L A), (RESPA), the fair credit reporting act (FCRA), Uniter m Commercial
Code (UCC), the ORC 5301, 1109.75 Securitization, Rule 901 Authenticating or
Identifying   Evidence,    Rule 902,    or draw reference to            evidence that   is   self
-authenticating. I'm a valuation analysis capable of review ing financial statements
and credit records.


I am proficient and knowledgeable about Foreclosure remediation, mortgage-backed
securitization and how these issues may be applied to Judicial Foreclosure actions.
In the my experience I' ve read and/or reviewed many Mortgage loans files and
related closing documents including, but not limited to: home loan disclosures,
settlement     statements,    appraisals,         underwriting    and   processing    documents,
mortgages,     notes,     conveyance        or     assignments,     MERS,(Mortgage      Electronic
Registration Systems) assignments, complaints, affidavits and trust documents
such    as    pooling   and   servicing          agreements,     prospectuses   and   prospectus
supplements and securitization audits.


I have perform, research in the areas of securitization, property sales and various
methods of t i t le transfer related to Residential Mortgages. I' m proficient in
applying certain research materials to the particular facts in a given Foreclosure
case.
I may be called upon to provide an opinion or advise a witness consultation
concerning proceedings or depositions related to summons or opinions filed in
relationship to a mortgage case in the event that         an opinion is requested or required.
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      EXHIBIT C
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         Forensic Loan Analysis Report

                 Conrad J. James, Jr.
             San                 e, Sn llviUe GA 30039




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                             Forensic Audit focuses on Violations of
  (TILA) Truth In Lending,(RESPA) Real Estate Procedures Acts, and (FDCPA) Fair Debt
                               Collection Practices Act.



   1. A Forensic Loan Audit is an audit on loan documentatio n to uncover violations and errors. It
      is an extensive comprehensive review and investigation into the Homeowners /borrowers -
      existing loan.

The main types of violations are as follows;                              /

   ❖ Good Faith Guideline Violations.

   ❖ Borrower approved for loan they are not able to repay.

   ❖ Real Estate Procedures Acts Violations

   ❖ No Net Benefit to Borrower.

   ❖ Truth-In-Lending Act (TILA) Violations lnaccyrate reporting of APR and finance charge
      calculations on borrower disclosures. Calculation errors which occur as a direct result of
      failing to include one or more prepaid finance charges in the calculations, incorrect disclosed
     , funding dates, or last-minute changes made to loan by the settlement agent at the closing
      table. If it is understated, the lender is in violation of the federal Truth-In-Lending Act as well
      as many state laws prohibiting such actions. Lender is required to reimburse borrower for the
      difference, and may be subject to statutory damages, administrative sanctions, loan buy-
      backs, and lawsuits. In addition, the rescission period may reopen, creating additional risk for
      the lender.




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                               Anti-Predatory Lending Violations

These are relating to Consumer Protection laws;
   ❖ Violations usually occur because of the misunderstanding of how they work. Examples of
      violations incluqe failing to include fees such as yield spread premiums in the calculations or
      using an incorrect loan amount value to perform the calculation. Penalties vary by each law.
      The usual costs include borrower reimbursements, statutory and punitive damages,
      attorneys' fees, administrative fines and penalties, loan buy-backs and reformation, and
      class-action lawsuits.                        ·~

      State Law Violations;
   ❖ Examples include illegal prepayment penalty clauses, rates that are usurious, or fees that are
      not allowed to be charged. Some penalties include actual damages and costs, attorney's fees,
      administrative fines and penalties, loan buy-backs, and class-action lawsuits.

   ❖ Reverse Mortgage Violations -These violations include violations relating to reverse mortgage
      obtained. Some violations include failing to disclose the APR, and providing incomplete or
      improper disclosures.


   ❖ Real Estate Settlement Procedures Act (RESPA) Violations-RESPA prohibitions put limits on a
      lender's and broker's ability to charge or pay fees that are hidden from the borrower.
      Violations i~_clude accepting kickbacks or referral fees, up charging for services'provided by
      3rd parties, and charging for s~_rvices not performed.

   ❖ Penalties include actual damages, administrative fines and class-action lawsuits.


   ❖ In addition, other violations include lending without providing borrowers a reasonable,
      tangible net benefit, state-specific disclosure errors, servicing violations, and Fair Lending
      violations.

      If there is one of these types of violations in the loan audit discovered, it could result in some
      cases repayment of interest back to the borrower/homeowner.

                                        Constructive Fraud
   ❖ Material facts relating to the loan, which include terms of the loan. Prepayment penalty or
      any information which a borrower must know before loan is accepted. Were these facts not
      properly disclosed to the borrower? Were they mentioned at all?




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                          Fraud and Negligent Misrepresentation
  ❖ This is basically any statements comments and representation written or oral by the broker,
     loan officer, notary which in any way contradicted the terms of the loan documents.



                                 Negligent Misrepresentation
 . ❖ If the broker/loan officers who worked on the loan make errors which result in
     misrepresentation, this is classified as negligent misrepresentation.



                                        Breach of Contract
  ❖ Any terms in the contract of the note the lender failed to follow, such as the way the interest
     is calculated and the penalties.




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                                   Forensic Examination
  2. This loan application has been audited for the purpose of determining violations of Truth in
     Lending Act [16 U.S.C. § 1601] ( 11 TILA 11 ), Home Ownership Equity Protection Act [12 C.F.R.
                      11      11
     226.32 et seq.] ( HOEPA ), Real Estate Settlement Procedures Act [12 U.S.C. § 2601], and to
     the extent applicable, violations of other state and federal laws, certain predatory lending
     practices, and compliance issues.

  3. As is standard practice for the process of forensic auditing, this report is based solely on the
     documentation provided by the borrower requesting my services. The borrower understands
     that I am required to make reasonable and industry knowledgeable assumptions as to
     provide disclosures, loan terms, and compliance dates that, if erroneous, may result in
     differences between my findings and the documents' actual compliance with regulatory
     requirements.

  4. Specific analytical tests were used to determine compliance with various federal regulations
     including the Real Estate Settlement Procedures Act (RESPA), Truth in Lending Act (TILA),
     Home Ownership and Equity Protection Act (HO EPA) and Regulation Z. These tests included:
     a) the reverse engineering and calculation of all required TILA disclosure variables; b) a
     detailed analysis and review of all loan variables and features; c) an assessment of HOEPA
     and other disclosure requirements; d) analysis and correct computation of the rescission
     period; and e) a detailed examination of HUD-1 closing costs. A TILA payment schedule was
     also prepared with a detailed list of loan terms for informational purposes. For all sections,
     "NA" indicates that the value, variable or result is not applicable or not available.




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                                     Single Family Home


Type of Report: Forensic Mortgage Analysis
Prepared for: Conrad J. James, Jr.
Loan Amount:$ 188,074
Loan Date: February 20, 2018

                                Forensic Examination Findings


                       Good Faith Estimate and Truth in Lending Statement

   5. The Truth In Lending Act states that an ihitial disclosure is to be issued within three (3)
      working or business days from the receipt of the loan application. In addition, inclusions,
      exclusions, and applicable changes to the terms ofiloan or program must be provided within
      three (3) working or business days.

   6. The Real Estate Settlement Practices Act (RESPA) of 1974 is a response by Congress to
      perceived abuses in the real estate settlement process. It is an attempt to protect
      consur'ner(s) from unnecessarily high settlement charges resulting from certain abuses.
                                          I

    7. RESPA's stated purpose is to bring about specific changes in the agreed or proposed
       settlement process for residential real estate. Results of this act are as follows:
    ❖ More accurate and effective advance disclosure of settlement costs to home buyers and to
      home sellers removal of or elimination of kickbacks and/or referral fees that had a tendency
      to unnecessarily increase certain settlement service costs.
    ❖ Reduced Amounts to home buyers to be placed in escrow accounts established to ensure the
      payment of real estate taxes and in~urance fees.
    ❖ Significant reformation and modernization of local land title record keeping (12 U.S.C.A §
      2601)

    8. The Real Estate Settlement Practices Act of 1974 is in. governance and applies to any
       "federally related mortgage loan" (excluding loans for temporary financing such as a
       construction loan that is secured by a first or subordinate lien on residential property,
       including individual units of condominiums and cooperatives) 12 U.S.C.A. § 2602(1) (A). It
       also applies to any whole or partial loans by any lender with deposits or accounts that are
       insured by a federal agency and/or a lender that is regulated by the federal government 12
       U.S.C.A. § 2602(1) (B) (i).




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                                       Missing Documents

File is missing initial and final disclosure documents, including but not limited to:
Per RESPA (Real Estate Settlement Procedures Act- 12 USC 2601 et seq.)
   ❖ Affiliated Business Arrangement Disclosure
   ❖ Servicing Disclosure Statement
   ❖ Escrow Account Disclosure

Per ECOA (Equal Credit Opportunity Act- Reg B - 12 CFR 202):
   ❖ Initial signed & dated Uniform Residential Loan Application (1003}

Per FCRA (Fair Credit Reporting Act- 15 USC 1681):
   ❖ Disclosure of Credit Scores
   ❖   Notice to Home Loan Applicant


   9. As per both state and federal laws that are mandated for initial disclosures, we noted below
      that initial disclosure documentation was not found nor provided nor included in this file.

   10. If the broker failed to deliver that initial disclosure to the borrower, and then it becomes
       incumbent for the lender to ensure and confirm that these disclosures were delivered to the
       borrower on time. If the lender failed to provide these disclosure documents to the borrower
       within three (3) working or business days for the original date of loan application, then the
       borrower must complete a sworn statement testifying to that effect.




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                      Right of Recession/Right to Rescind Mortgage


Notice Of Right To Cancel TILA (Truth In Lending Act, 15 USC Section 1601 et seq; 12 CFR Part 266}
allows three (3) days to review Disclosure Documents. The referenced "Three Day Right To Cancel"
must have a trigger to begin. That trigger is, when the Lender has provided the Borrower with ALL of
the required Disclosures under TILA, and that the same are true, complete, accurate, and timely
provided.

Being as the entire loan/mortgage process and Mortgage Note referenced herein and throughout,
was obtained by wrongful acts of fraud, fraudulent inducement, concealment and fraudulent
misrepresentation, the Borrower has other recourse, right, and cause of action under numerous
State and Federal statutes.



Pursuant to the United State Supreme Court's decision in Jesinoski v. Countrywide Home Loans,
Inc. {2015), 135 S.Ct. 790, TILA gives me, as a borrower, the right to rescind the subject loan until
midnight of the third business day following the consummation of the transaction or the delivery
of the disclosures required under TILA. I am hereby notifying you, as the creditor, of my intention
to do so as you and/or your predecessors have failed to satisfy the TILA disclosure requirements,
including but not limited to delivery of a written document to me explaining my rights at the time
of the transaction.

To this date, Lender has never provided Borrower with true, complete, accurate or timely
documents as required. ONLY AFTER such provision has been complied with can the "3 DAY RIGHT
TO CANCEL" period begin. If the required full Disclosures have not been provided, then the period in
which to CANCEL is extended for up to three (3) years, or until Lender moves to foreclose. The
records thus far evidence that Borrower has requested to cancel within the three (3) year stipulated
time period, while still waiting to receive all truth-in-lending disclosures as required by Federal Law,
the same of which has never been received.




A close perusal, and audit of Borrower's note/loan documents have revealed certain Disclosure
Violations, and that the Borrower has the remedial right and remedy pursuant to UCC 1-201 {32)
{34), inter alia, to invoke their Right Of Rescission (ROR), as further evidenced by the original NOTICE
OF RIGHT TO CANCEL. This letter shall constitute NOTICE to all Lender(s), Successor(s), and,
Beneficiaries assigned, and/or appointed.




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After sufficient NOTICE has been given to Lender, the Lender is required by Federal Law to CANCEL
· any lien(s), and to CANCEL any security interest on the Borrower's property within twenty (20) days.
The Lender must also return any money, interest, fee, and/or property to the Borrower, as well as
                      l


any money/funds given to any person or fiction in law/entity in connection with said transaction.




 In accordance with both State and Federal law or until Lender complies, Borrower may retain the
 proceeds of the transaction. If it should be "impractical", or "Unfair" for the Borrower to return the
 property when gross discrepancies, fraud, or other wrongful acts are discovered, then he/she/they
 may offer its "Reasonable Value".



 In the event that the Lender should fail, or refuse to return the Borrower's money offer within
 twenty (20) days, the Borrower may then regain/acquire all rights to clear title and reconveyance
 under Federal law, State Statutes, Uniform Commercial.~ode, and provisions of T/LA, with the same
 being supported by the evidence of both public and bank records, and further as attached hereto.




 Additionally, Borrower has the right to offer Lender a Reasonable Value. However, the penalties a
 bank can face for violations of TILA, and other State and Federal law can be as much as triple the
 damages, i.e., triple the amount of the interest the bank stood to fraudulently make off the
 mortgage/h?an transaction. Therefore, the Borrower(s) hereby in good faith makes the following
 offer: Borrower will forgive Bank/Lender any liability incurred by its wrongful actions, provided
 Bank/Lender rightfully forgive Borrower(s) the full amount of mortgage/credit the Bank/Lender
 fraudulently alleged to have given. In addition, Borrower(s) make the one time demand $1,
 250,000.00 for any loss, damage, and injury he/she/they have sustained; arid that Bank/Lender also
 immediately remove any/all negative comments on Borrower's credit report attributed to this
 transaction.




 Any default, failures, or non-compliance on the Lender's part to perform as herein directed within
 twenty (20) days of receipt, shall constitute this NOTICE OF RIGHT TO CANCEL as valid and fully
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 agreed/accepted pursuant to the terms and conditions as set forth herein.




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Law Summary and Additional Information Section
Real Estate Settlement Procedure Act Law(Respa).

§ 3500.6 Special information booklet at time of loan application.


(a) Lender to provide special information booklet. Subject to the exceptions set forth in this paragraph,
the lender shall provide a copy of the special information booklet to a person from whom the lender
receives, or for whom the lender prepares, a written application for a federally related mortgage loan.
When two or more persons apply together for a loan, the lender is in compliance if the lender provides a
copy of the booklet to one of the persons applying.


(1) The lender shall provide the special information booklet by delivering it or placing it in the mail to the
applicant not later than three business days (as that term is defined in §3500.2) after the application is
received or prepared. However, if the lender denies the borrower's application for credit before the end
of the three-business-day period, then the lender need not provide the booklet to the borrower. If a
borrower uses a mortgage broker, the mortgage broker shall distribute the special information booklet
and the lender need not do so. The intent of this provision is that the applicant receive the special
information booklet at the earliest possible date.

(2) In the case of a federally related mortgage loan involving an open-ended credit plan, as defined in
§226.2(a)(20) of Regulation Z (12 CFR), a lender or mortgage broker that provides the borrower with a
copy of the brochure entitled "When Your Home is On the Line: What You Should Know About Home
Equity Lines of Credit", or any successor brochure issued by the Board of Governors of the Federal
Reserve System, is deemed to be in compliance with this section.

(3) In the categories of transactions set forth at the end of this paragraph, the lender or mortgage
broker does not have to provide the booklet to the borrower. Under the authority of section 19(a) of
RESPA (12 U.S.C. 2617(a)), the Secretary may issue a revised or separate special information booklet that
deals with these transactions, or the Secretary may chose to endorse the forms or booklets of other
Federal agencies. In such an event, the requirements for delivery by lenders and the availability of the
booklet or alternate materials for these transactions will be set forth in a Notice in the Federal Register.
This paragraph shall apply to the following transactions:

(i) Refinancing transactions;

(ii) Closed-end loans, as defined in 12 CFR 226.2(a)(10) of Regulation Z, when the lender takes a
subordinate lien;

(iii) Reverse mortgages; and

(iv) Any other federally related mortgage loan whose purpose is not the purchase of a 1- to 4-family
residential property.

(b) Revision. The Secretary may from time to time revise the special information booklet by publishing a
notice in the Federal Register.

(c) Reproduction. The special information booklet may be reproduced in any form, provided that no
change is made other than as provided under paragraph (d) of this section. The special information
booklet may not be made a part of a larger document for purposes of distribution under RESPA and this

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section. Any color, size and quality of paper, type of print, and method of reproduction may be used so
long as the booklet is clearly legible.


(d) Permissible changes. (1) No changes to, deletions from, or additions to the special information
booklet currently prescribed by the Secretary shall be made other than those specified in this paragraph
(d) or any others approved in writing by the Secretary. A request to the Secretary for approval of any
changes shall be submitted in writing to the address indicated in §3500.3, stating the reasons why the
applicant believes such changes, deletions or additions are necessary.

(2) The cover of the booklet may be in any form and may contain any drawings, pictures or artwork,
provided that the words "settlement costs" are used in the title. Names, addresses and telephone
numbers of the lender or others and similar information may appear on the cover, but no discussion of
the matters covered in the booklet shall appear on the cover.

(3) The special information booklet may be translated into languages other than English.




Truth In Lending (TILA)
Regulation Z
Regulation Z (12 CFR 226) implements the Truth in Lending Act (TILA) (15 USC 1601 et seq.), which was
enacted in 1968 as title I of the Consumer Credit Protection Act (Pub. L. 90-321). Since its
implementation, the regulation has been amended many times to incorporate changes to the TILA or to
address changes in the consumer credit marketplace.
   During the 1980s, Regulation Z was changed significantly, first in connection with the Truth in Lending
Simplification and Reform Act of 1980. In 1981, all consumer leasing provisions in the regulation were
transferred to the Board's Regulation M. During the late 1980s, Regulation Z was amended to implement
the rate limitations for home-secured loans set forth in section 1204 of the Competitive Equality Banking
Act of 1987 and to require disclosures for adjustable-rate mortgage loans. Other Regulation Z amendments
implemented the Fair Credit and Charge Card Disclosure Act of 1988 and the Home Equity Loan Consumer
Protection Act of 1988, which required disclosure of key terms at the time of application.



Purpose of the TILA and Regulation Z

The Truth in Lending Act is intended to ensure that credit terms are disclosed in a meaningful way so
that consumers can compare credit terms more readily and more knowledgeably. Before its enactment,
consumers were faced with a vast array of credit terms and rates. It was difficult to compare loans
because the terms and rates were seldom presented in the same format. Now, all creditors must use the
same credit terminology and expressions of rates. In addition to providing a uniform system for
disclosures, the act is designed to
• Protect consumers from inaccurate and unfair credit billing and credit card practices
• Provide consumers with rescission rights
• Provide for rate caps on certain dwelling-secured loans
• Impose limitations on home equity lines of credit and certain closed-end home mortgages



Determination of the
Finance Charge and the APR

Finance Charge (Open-End and Closed-End Credit) (§ 226.4)
The finance charge is a measure of the cost of consumer credit represented in dollars and cents. Along
with APR disclosures, the disclosure of the finance charge is central to the uniform credit cost disclosure,

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envisioned by the TILA.
 Generally, the finance charge includes any charges or fees payable directly or indirectly by the
consumer and imposed directly or indirectly by the financial institution either incident to or as a
condition of an extension of consumer credit. For example, the finance charge on a loan always includes
any interest charges and, often, other charges, such as points, transaction fees, or service fees.
 Regulation Z provides examples, applicable to both open-end and closed-end credit transactions, of
what must, must not, or need not be included in the disclosed finance charge (section 226.4(b)).


Calculation of the Finance Charge (Closed-End Credit)

One of the more complex tasks under Regulation Z is determining whether a charge associated with an
extension of credit must be included in, or excluded from, the disclosed finance charge. The finance
charge initially includes any charge that is, or will be, connected with a specific loan. Charges imposed by
third parties are finance charges if the institution requires use of the third party. Charges imposed by
settlement or closing_agents are finance charges if the institution requires the specific service that gave
rise to the charge and the charge is not otherwise excluded.
 The "Finance Charges" diagram summarizes included and excluded charges and may be helpful in
determining whether a loan-related charge is a finance charge.



§ 226.4 Finance charge.


(a) Definition. The finance charge is the cost of consumer credit as a dollar amount. It includes any
charge payable directly or indirectly by the consumer and imposed directly or indirectly by the creditor
as an incident to or a condition of the extension of credit. It does not include any charge of a type
payable in a comparable cash transaction.

(1) Charges by third parties. The finance charge includes fees and amounts charged by someone other
than the creditor, unless otherwise excluded under this section, if the creditor:

(i) Requires the use of a third party as a condition of or an incident to the extension of credit, even if the
consumer can choose the third party; or

(ii) Retains-a portion of the third-party charge, to the extent of the portion retained.

(2) Special rule; closing agent charges. Fees charged by a third party that conducts the loan closing (such
as a settlement agent, attorney, or escrow or title company) are finance charges only if the creditor--

(i) Requires the particular services for which the consumer is charged;

(ii) Requires the imposition ofthe charge; or

(iii) Retains a portion of the third-party charge, to the extent ofthe portion retained.

(3) Special rule; mortgage broker fees. Fees charged by a mortgage broker (including fees paid by the
consumer directly to the broker or to the creditor for delivery to the broker) are finance charges even if
the creditor does not require the consumer to use a mortgage broker and even if the creditor does not
retain any portion of the charge.

(b) Examples offinance charges. The finance charge includes the following types of charges, except for
charges specifically excluded by paragraphs (c) through (e) of this section:

(1) Interest, time price differential, and any amount payable under an add-on or discount system of
additional charges.



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(2) Service, transaction, activity, and carrying charges, lncludlng any charge Imposed on a checking or
other transaction account to the extent that the charge exceeds the charge for a similar account without
a credit feature.

(3) Points, loan fees, assumption fees, finder's fees, and similar charges.

(4) Appraisal, investigation, and credit report fees.

(5) Premiums or other charges for any guarantee or insurance protecting the creditor against the
consumer's default or other credit loss.


(6) Charges imposed on a creditor by another person for purchasing or accepting a consumer's
obligation, if the consumer is required to pay the charges in cash, as an addition to the obligation, or as
a deduction from the proceeds of the obligation.            ·             ,

(7) Premiums or other charges for credit life, accident, health, or loss-of-income insuran~e, written in
connection with a credit transaction. ·

(8) Premiums or other charges for insurance against loss of or damage to property, or against liability
arising out of the ownership or use of property, written in connection with a credit transaction.

(9) Discounts for the purpose of inducing payment by a means other than the use of credit.

(10) Charges or premiums paid for debt cancellation or debt suspension coverage written in connection
with a credit transaction, whether or not the coverage is insurance under applicable law.

(c) Charges excluded from the finance charge. The following charges are not finance charges:

(1) Application fees charged to all applicants for credit, whether or not credit is actually extended.

(2) Charges for actual unanticipated late payment, for exceeding a credit limit, orfor delinquency,
default, or a similar occurrence'.

(3) Charges imposed by a financial institution for paying items that overdraw an account, u·nless the
payment of such items and th.e imposition of the charge were previously agreed upon in writing.

(4) Fees charged for participation in a credit plan, whether assessed on an annual or other periodic
basis.

(5) Seller's points.

(6) Interest forfeited as a result of an interest reduction required by law on a time deposit used as
security for an extension of credit.

(7) Real-estate related fees. The following fees in a transaction secured by real property or in a
residential mortgage transaction, if the fees are bona fide and reasonable in amount:

(i) Fees for title examination, abstract of title, title insurance, property survey, and similar purposes.

(ii) Fees for preparing loan-related documents, such as deeds, mortgages, and reconveyance or
settlement documents.

(iii) Notary and credit-report fees.


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(iv) Property appraisal fees or fees for inspections to assess the value or condition of the property if the
service is performed prior to closing, including fees related to pest-infestation or flood-hazard
determinations.

(v) Amounts required to be paid into escrow or trustee accounts if the amounts would not otherwise be
included in the finance charge.

(8) Discounts offered to induce payment for a purchase by cash, check, or other means, as provided in
section 167(b) of the Act.

(d) Insurance and debt cancellation and debt suspension coverage. (1) Voluntary credit insurance
premiums. Premiums for credit life, accident, health, or loss-of-income insurance may be excluded from
the finance charge if the following conditions are met:

(i) The insurance coverage is not required by the creditor, and this fact is disclosed in writing.

(ii) The premium for the initial term of insurance coverage is disclosed in writing. If the term of
insurance is less than the term of the transaction, the term of insurance also shall be disclosed. The
premium may be disclosed on a unit-cost basis only in open-end credit transactions, closed-end credit
transactions by mail or telephone under§ 226.17(g), and certain closed-end credit transactions involving
an insurance plan that limits the total amount of indebtedness subject to coverage.

(iii) The consumer signs or initials an affirmative written request for the insurance after receiving the
disclosures specified in this paragraph, except as provided in paragraph (d)(4) of this section. Any
consumer in the transaction may sign or initial the request.

(2) Property insurance premiums. Premiums for insurance against loss of or damage to property, or
against liability arising out of the ownership or use of property, including single interest insurance ifthe
insurer waives all right of subrogation against the consumer,!i.may be excluded from the finance charge
if the following conditions are met:

(i) The insurance coverage may be obtained from a person of the consumer's choice,6 and this fact is
disclosed. (A creditor may reserve the right to refuse to accept, for reasonable cause, an insurer offered
by the consumer.)
                                                                 \
(ii) If the coverage is obtained from or through the creditor, the premium for the initial term of
insurance coverage shall be disclosed. If the term of insurance is less than the term of the transaction,
the term of insurance shall also be dis~losed. The premium may be disclosed on a unit-cost basis only in
open-end credit transactions, closed-end credit transactions by mail or telephone under§ 226.17(g),
and certain closed-end credit transactions involving an insurance plan that limits the total amount of
indebtedness subject to coverage.

(3) Voluntary debt cancellation or debt suspension fees. Charges or premiums paid for debt cancellation
coverage for amounts exceeding the value of the collateral securing the obligation or for debt
cancellation or debt suspension coverage in the event of the loss of life, health, or income or in case of
accident may be excluded from the finance charge, whether or not the coverage is insurance, if the
following conditions are met:

(i) The debt cancellation or debt suspension agreement or coverage is not required by the creditor, and
this fact is disclosed in writing;

(ii) The fee or premium for the initial term of coverage is disclosed in writing. If the term of coverage is
less than the term of the credit transaction, the term of coverage also shall be disclosed. The fee or
premium may be disclosed on a unit-cost basis only in open-end credit transactions, closed-end credit

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transactions by mail or telephone under§ 226.17(g), and certain closed-end credit transactions involving
a debt cancellation agreement that limits the total amount of indebtedness subject to coverage;

(iii) The following are disclosed, as applicable, for debt suspension coverage: That the obligation to pay
loan principal and interest is only suspended, and that interest will continue to accrue during the period
of suspension.
                                                                              -.
(iv) The consumer signs or initials an affirmative written request for coverage after receiving the
disclosures specified in this paragraph, except as provided in paragraph (d)(4) of this section. Any
consumer in the transaction may sign or initial the request.

(4) Telephone purchases. If a consumer purchases credit insurance or debt cancellation or debt
suspension coverage for an open-end (not home-secured) plan by telephone, the creditor must make
the disclosures under paragraphs (d)(l)(i) and (ii) or (d)(3)(i) through (iii) of this section, as applicable,
orally. In such a case, the creditor shall:

(i) Maintain evidence that the consumer, after being provided the disclosures orally, affirmatively
elected to purchase the insurance or coverage; and

(ii) Mail the disclosures under paragraphs (d)(l)(i) and (ii) or (d)(3)(i) through (iii) of this section, as
applicable, within three business days after the telephone purchase.

(e) Certain security interest charges. If itemized and disclosed, the following charges may be excluded
from the finance charge:

(1) Taxes and fees prescribed by law that actually are or will be paid to public officials for determining
the existence of or for perfecting, releasing, or satisfying a security interest.

(2) The premium for insurance in lieu of perfecting a security interest to the extent that the premium
does not exceed the fees described in paragraph (e)(l) of this section that otherwise would be payable.

(3) Taxes on security instruments. Any tax levied on security instruments or on documents evidencing
indebtedness if the payment of such taxes is a requirement for recording the instrument securing the
evidence of indebtedness.

(f) Prohibited offsets. Interest, dividends, or other income received or to be received by the consumer
on deposits or investments shall not be deducted in computing the finance charge.

{Source: 75 Fed. Reg. 7794, Feb. 22, 2010]




Continue HERE




 Right of Rescission·


 § 226.15 Right of rescission.



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(a) Consumer's right to rescind. (l)(i) Except as provided in paragraph (a)(l)(ii) of this section, in a credit
plan in which a security interest is or will be retained or acquired in a consumer's principal dwelling,
each consumer whose ownership interest is or will be subject to the security interest shall have the right
to rescind: each credit extension made under the plan; the plan when the plan is opened; a security
interest when added or increased to secure an existing plan; and the increase when a credit limit on the
plan is increased.


(ii) As provided in section 125(e) of the Act, the consumer does not have the right to rescind each credit
extension made under the plan if such extension is made in accordance with a previously established
credit limit for the plan.

(2) To exercise the right to rescind, the consumer shall notify the creditor of the rescission by mail,
telegram, or other means of written communication. Notice is considered given when mailed, or when
filed for telegraphic transmission, or, if sent by other means, when delivered to the creditor's designated
place of business.


(3) The consumer may exercise the right to rescind until midnight of the third business day following the
occurrence described in paragraph (a)(l) of this section that gave rise to the right of rescission, delivery
of the notice required by paragraph (b) of this section, or delivery of all material disclosures,~ whichever
occurs last. If the required notice and material disclosures are not delivered, the right to rescind shall
expire 3 years after the occurrence giving rise to the right of rescission, or upon transfer of all of the
consumer's interest in the property, or upon sale of the property, whichever occurs first. In the case of
certain administrative proceedings, the rescission period shall be extended in accordance with section
125(f) of the Act.

(4) When more than one consumer has the right to rescind, the exercise of the right by one consumer
shall be effective as to all consumers.


(b) Notice of right to rescind. In any transaction or occurrence subject to rescission, a creditor shall
deliver two copies of the notice of the right to rescind to each consumer entitled to rescind (one copy to
each if the notice is delivered in electronic form in accordance with the consumer consent and other
applicable provisions of the E-Sign Act). The notice shall identify the transaction or occurrence and
clearly and conspicuously disclose the following:

(1) The retention or acquisition of a security interest in the consumer's principal dwelling.

(2) The consumer's right to rescind, as described in paragraph (a)(l) of this section.

(3) How to exercise the right to rescind, with a form for that purpose, designating the address of the
creditor's place of business.

(4) The effects of rescission, as described in paragraph {d) ofthis section.

(5) The date the rescission period expires.


(c) Delay of creditor's performance. Unless a consumer waives the right to rescind under paragraph (e)
of this section, no money shall be disbursed other than in escrow, no services shall be performed, and
no materials delivered until after the rescission period has expired and the creditor is reasonably
satisfied that the consumer has not rescinded. A creditor does not violate this section if a third party
with no knowledge of the event activating the rescission right does not delay in providing materials or
services, as long as the debt incurred for those materials or services is not secured by the property
subject to rescission.

(d) Effects of rescission. (1) When a consumer rescinds a transaction, the security interest giving rise to

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the right of rescission becomes void, and the consumer shall not be liable for any amount, including any
finance charge.


(2) Within 20 calendar days after receipt of a notice of rescission, the creditor shall return any money or
property that has been given to anyone in connection with the transaction and shall take any action
necessary to reflect the termination of the security interest.

(3) If the creditor has delivered any money or property, the consumer may retain possession until the
creditor has met its obligation under paragraph (d)(2) of this section. When the creditor has complied
with that paragraph, the consumer shall tender the money or property to the creditor or, where the
latter would be impracticable or inequitable, tender its reasonable value. At the consumer's option,
tender of property may be made at the location of the property or at the consumer's residence. Tender
of money must be made at the creditor's designated place of business. If the creditor does not take
possession of the money or property within 20 calendar days after the consumer's tender, the consumer
may keep it without further obligation.

(4) The procedures outlined in paragraphs (d)(2) and (3) of this section may be modified by court order.

(e) Consumer's waiver of right to rescind. (1) The consumer may modify or waive the right to rescind if
the consumer determines that the extension of credit is needed to meet a bona fide personal financial
emergency. To modify or waive the right, the consumer shall give the creditor a dated written statement
that describes the emergency, specifically modifies or waives the right to rescind, and bears the
signature of all the consumers entitled to rescind. Printed forms for this purpose are prohibited, except
as provided in paragraph (e)(2) of this section.

(2) The need of the consumer to obtain funds immediately shall be regarded as a bona fide personal
financial emergency provided that the dwelling securing the extension of credit is located in an area
declared during June through September 1993, pursuant to 42 U.S.C. 5170, to be a major disaster area
because of severe storms and flooding in the Midwest.~ In this instance, creditors may use printed
forms for the consumer to waive the right to rescind. This exemption to paragraph (e)(l) of this section
shall expire one year from the date an area was declared a major disaster.

(3) The consumer's need to obtain funds immediately shall be regarded as a bona fide personal financial
emergency provided that the dwelling securing the extension of credit is located in an area declared
during June through September 1994 to be a major disaster area, pursuant to 42 U.S.C. 5170, because of
severe storms and flooding in the South. 36 b In this instance, creditors may use printed forms for the
consumer to waive the right to rescind. This exemption to paragraph (e)(l) of this section shall expire
one year from the date an area was declared a major disaster.

(4) The consumer's need to obtain funds immediately shall be regarded as a bona fide personal financial
emergency provided that the dwelling securing the extension of credit is located in an area declared
during October 1994 to be a major disaster area, pursuant to 42 U.S.C. 5170, because of severe storms
and flooding in Texas. 36c In this instance, creditors may use printed forms for the consumer to waive the
right to rescind. This exemption to paragraph (e)(l) of this section shall expire one year from the date an
area was declared a major disaster.

(f) Exempt transactions. The right to rescind does not apply to the following:

(1) A residential mortgage transaction.

(2) A credit plan in which a state agency is a creditor.

[Reg. Z, 46 FR 20892, Apr. 7, 1981, as amended at 54 FR 24688, June 9, 1989; 58 FR 40583, July 29, 1993;
59 FR 40204, Aug. 5, 1994; 59 FR 63715, Dec. 9, 1994; 66 FR 17338, Mar. 30, 2001; 72 FR 63474, Nov. 9,

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2007]

                                                n



§ 226.22 Determinati~n of annual percentage rate.


(a) Accuracy of annual percentage rate. (1) The annual percentage rate is a measure of the cost of
credit, expressed as a yearly rate, that relates the amount and timing of value received by the consumer
to the amount and timing of payments made. The annual percentage rate shall be determined in
accordance with either the actuarial method or the United States Rule method. Explanations, equations
and instructions for determining the annual percentage rate in accordance with the actuarial method
are set forth in appendix J to this regulation. 45 d


(2) As a general rule, the annual percentage rate shall be considered accurate if it is not more than 1/8.
of 1 percentage point above or below the annual percentage rate determined in accordance with
paragraph (a)(l) of this section.


(3) In an irregular transaction, the annual percentage rate shall be considered accurate if it is not more
than 1/4 of 1 percentage point above or below the annual percentage rate determined in accordance
with paragraph (a)(l) of this section.~


(4) Mortgage loans. If the annual percentage rate disclosed in a transaction secured by real property or
a dwelling varies from the actual rate determined in accordance with paragraph (a)(l) of this section, in
addition to the tolerances applicable under paragraphs (a)(2) and (3) of this section, the disclosed
annual percentage rate shall also be considered accurate if:


(i) The rate results from the disclosed finance charge; and

(ii)(A) The disclosed finance charge would be considered acc~rate under§ 226.18(d)(l); or

(B) For purposes of rescission, ifthe disclosed finance charge would be considered accurate under
§ 226.23(g) or (h), whichever applies.

(5) Additional tolerance for mortgage loans. In a transaction secured by real property or a dwelling, in
addition to the tolerances applicable under paragraphs (a)(2) and (3) of this section, if the disclosed
finance charge is calculated incorrectly but is considered accurate under§ 226.lB(d)(l) or§ 226.23(g) or
(h), the disclosed annual percentage rate shall be considered accurate:

(i) lfthe disclosed finance charge is understated, and the disclosed annual percentage rate is also
understated but it is closer to the actual annual percentage rate than the rate that would be considered
accurate under paragraph (a)(4) ofthis section;

(ii) lfthe disclosed finance charge is overstated, and the disclosed annual percentage rate is also
overstated but it is closer to the actual annual percentage rate than the rate that would be considered
accurate under paragraph (a)(4) of this section.

(b) Computation tools. (1) The Regulation Z Annual Percentage Rate Tables produced by the Board may
be used to determine the annual percentage rate, and any rate determined from those tables in
accordance with the accompanying instructions complies with the requirements of this section. Volume
I ofthe tables applies to single advance transactions involving up to 480 monthly payments or 104
weekly payments. It may be used for regular transactions and for transactions with any of the following
irregularities: an irregular first period, an irregularfirst payment, and an irregular final payment. Volume
II of the tables applies to transactions involving multiple advances and any type of payment or period


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irregularity.

(2) ·creditors may use any other computation tool in determining the annual percentage rate if the rate
so determined equals the rate determined in accordance with appendix J, within the degree of accuracy
set forth in paragraph (a) of this section.

(c) Single add-on rate transactions. If a single add-on rate is applied to all transactions with maturities
up to 60 months and if all payments are equal in amount and period, a single annual percentage rate
may be disclosed for all those transactions, so long as it is the highest annual percentage rate for any
such transaction.

(d) Certain transactions involving ranges of balances. For purposes of disclosing the annual percentage
rate referred to in§ 226.17(g)(4) (Mail or telephone orders--delay in disclosures) and (h) (Series of sales-
-delay in disclosures), if the same finance charge is imposed on all balances within a specified range of
balances, the annual percentage rate computed for the median balance may be disclosed for all the
balances. However, if the annual percentage rate computed for the median balance understates the'
annual percentage rate computed for the lowest balance by more than 8 percent of the latter rate, the
annual percentage rate shall be computed on whatever lower balance will produce an annual
percentage rate that does not result in an understatement of more than 8 percent of the rate
determined on the lowest balance.

{46 FR 20892, Apr. 7, 1981, as amended at 47 FR 756, Jan. 7, 1982; 48 FR 14886, Apr. 6, 1983; 61 FR
49246, Sept. 19, 1996]




                                           ·r




Variable Rate Loans


Variable-Rate Loans (§ 226.18{f))
If the terms of the legal obligation allow the financia I institution, after cons um mat ion of the transaction, to,
increase the APR, the financial institution must furnish the consumer with certain information on variable
rates. Graduated-payment mortgages and step-rate transactions without a variable-rate feature are not
considered variable-rate transactions. In addition, variable-rate disclosures are not applicable to rate
increases resulting from delinquency, default, assumption, acceleration, or transfer of the collateral. Some
of the more important transaction-
soecific variable-rate disclosure       requirements under
                            -- - ..... ··-··· ...... ··-····--········
                                                                              section 226.18
                                                                       --·- - ··-·        ·--···
                                                                                                 follow:·········-·····-·- --·-····---
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• Disclosures for variable-rate loans must cover the full term of the transaction and must be based on
   the terms in effect at the time of consummation.
• If the variable-rate transaction includes either a seller buydown that is reflected in a contract or a
   consumer buydown, the disclosed APR should be a composite rate based on the lower rate for the
   buydown period and the rate that is the basis for the variable-rate feature for the remainder of the
   term.
• If the initial rate is not determined by the index or formula used to make later interest rate adjust-
   ments, as in a discounted variable-rate transaction, the disclosed APR must reflect a composite rate
   based on the initial rate for as long as it is applied and, for the remainder of the term, the rate that
   would have been applied using the index or formula at the time of consummation (that is, the fully
   indexed rate).
   - If a loan contains a rate or payment cap that would prevent the initial rate or payment, at the time
      of the adjustment, from changing to the fully indexed rate, the effect of that rate or payment cap
      needs to be reflected in the disclosure.
   - The index at consummation need not be used if the contract provides for a delay in imple-
      mentation of changes in an index value (for example, the contract indicates that future rate
      changes are based on the index value in effect for some specified period, such as forty-five days
      before the change date). Instead, the financial institution may use any rate from the date of
      consummation back to the beginning of the specified period (for example, during the previous
      forty-five-day period).
• If the initial interest rate is set according to the index or formula used for later adjustments but is set
    at a value as of a date before consummation, disclosures should be based on the initial' interest rate,
    even though the index may have changed by the consummation date.
   For variable-rate consumer loans that are not secured by the consumer's principal dwelling or that are
secured by the consumer's principal dwelling but have a term of one year or less, creditors must disclose
the circumstances under which the rate may increase, any limitations on the increase, the effect of an
increase, and an example of the payment terms that would result from an increase (section
226.18(f)(l)).
   For variable-rate consumer loans that are secured by the consumer's principal dwelling and have a
maturity of more than one year, creditors must state that the loan has a variable-rate feature and that
disclosures were previously given (section 226.18(f)(2)). Extensive disclosures about the loan program
must be provided when consumers apply for such a loan (section 226.19(b)) and throughout the loan
term when the rate or payment amount is changed (section 226.20(c)).




Special Rules for Certain Home Mortgage Transactions

Source: Reg. Z, 60 FR 15471, Mar. 24, 1995, unless otherwise noted.

§ 226.31 General rules.


(a) Relation to other subparts in this part. The requirements and limitations of this subpart are in
addition to and not in lieu of those contained in other subparts of this part.

 (b) Form of disclosures-(1) General. The creditor shall make the disclosures required by this subpart
 clearly and conspicuously in writing, in a form that the consumer may keep.

 (2) Electronic communication. For rules governing the electronic delivery of disclosures, including a



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definition of electronic communication, see §226.36.


(c) Timing of disclosure-(!) Disclosures for certain closed-end home mortgages. The creditor shall
furnish the disclosures required by §226.32 at least three business days prior to consummation of a
mortgage transaction covered by §226.32.

(i) Change in terms. After complying with paragraph (c)(l) of this section and prior to consummation, if
the creditor changes any term that makes the disclosures inaccurate, new disclosures shall be provided
in accordance with the requirements of this subpart.

(ii) Telephone disclosures. A creditor may provide new disclosures by telephone if the consumer initiates
the change and if, at consummation:

(A) The creditor provides new written disclosures; and

(B) The consumer and creditor sign a statement that the new disclosures were provided by telephone at
least three days prior to consummation.

(iii) Consumer's waiver of waiting period before consummation. The consumer may, after receiving the
disclosures required by paragraph (c)(l) of this section, modify or waive the three-day waiting period
between delivery of those disclosures and consummation if the consumer determines that the extension
of credit is needed to meet a bona fide personal financial emergency. To modify or waive the right, the
consumer shall give the creditor a dated written statement that describes the emergency, specifically
modifies or waives the waiting period, and bears the signature of all the consumers entitled to the
waiting period. Printed forms for this purpose are prohibited, except when creditors are permitted to
use printed forms pursuant to §226.23(e)(2).

(2) Disclosures for reverse mortgages. The creditor shall furnish the disclosures required by §226.33 at
least three business days prior to:

(i) Consummation of a closed-end credit transaction; or

(ii) The first transaction under an open-end credit plan.

(d) Basis of disclosures and use of estimates-(!) Legal Obligation. Disclosures shall reflect the terms of
the legal obligation between the parties.

(2) Estimates. If any information necessary for an accurate disclosure is unknown to the creditor, the
creditor shall make the disclosure based on the best information reasonably available at the time the
disclosure is provided, and shall state clearly that the disclosure is an estimate.

(3) Per-diem interest. For a transaction in which a portion of the interest is determined on a per-diem
basis and collected at consummation, any disclosure affected by the per-diem interest shall be
considered accurate if the disclosure is based on the information known to the creditor at the time that
the disclosure documents are prepared.

(e) Multiple creditors; multiple consumers. If a transaction involves more than one creditor, only one set
of disclosures shall be given and the creditors shall agree among themselves which creditor must comply
with the requirements that this part imposes on any or all of them. If there is more than one consumer,
the disclosures may be made to any consumer who is primarily liable on the obligation. If the
transaction is rescindable under §226.15 or §226.23, however, the disclosures shall be made to each
consumer who has the right to rescind.

 (f) Effect of subsequent events. If a disclosure becomes inaccu'rate because of an event that occurs after

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the creditor delivers the required disclosures, the inaccuracy is not a violation of Regulation Z (12 CFR
part 226), although new disclosures may be required for mortgages covered by §226.32 under
paragraph (c) of this section, §226.9(c), §226.19, or §226.20.


(g) Accuracy of annual percentage rate. For purposes of §226.32, the annual percentage rate shall be
considered accurate, and may be used in determining whether a transaction is covered by §226.32, if it
is accurate according to the requirements and within the tolerances under §226.22. The finance charge
tolerances for rescission under §226.23(g) or (h) shall not apply for this purpose.


[Reg. Z, 60 FR 15471, Mar. 24, 1995, as amended at 60 FR 29969, June 7, 1995; 61 FR 49247, Sept. 19,
1996; 66 FR 17339, Mar. 30, 2001]




Truth In Lending Law: Regulation B

§ 202.9 Notifications.


(a) Notification of action taken, ECOA notice, and statement of specific reasons-- (1) When notification
is required. A creditor shall notify an applicant of action taken within:

(i) 30 days after receiving a completed application concerning the creditor's approval of, counteroffer
to, or adverse action on the application;


(ii) 30 days after taking adverse action on an incomplete application, unless notice is provided in
accordance with paragraph (c) of this section;


(iii) 30 days after taking adverse action on an existing account; or


(iv) 90 days after notifying the applicant of a counteroffer if the applicant does not expressly accept or
use the credit offered.


(2) Content of notification when adverse action is taken. A notification given to an applicant when
adverse action is taken shall be in writing and shall contain a statement of the action taken; the name
and address of the creditor; a statement of the provisions of§ 701(a) of the Act; the name and address
of the federal agency that administers compliance with respect to the creditor; and either:

(i) A statement of specific reasons for the action taken; or


(ii) A disclosure of the applicant's right to a statement of specific reasons within 30 days, if the
statement is requested within 60 days of the creditor's notification. The disclosure shall include the
name, address, and telephone number of the person or office from which the statement of reasons can
be obtained. If the creditor chooses to provide the reasons orally, the creditor shall also disclose the
applicant's right to have them confirmed in writing within 30 days of receiving the applicant's written
request for confirmation.

(3) Notification to business credit applicants. For business credit, a creditor shall comply with the
notification requirements of this section in the following manner:

(i) With regard to a business that had gross revenues of $1 million or less in its preceding fiscal year
(other than an extension of trade credit, credit incident to a factoring agreement, or other similar types



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of business credit), a creditor shall comply with paragraphs (a)(l} and (2) of this section, except that:


(A) The statement of the action taken may be given orally or in writing, when adverse action is taken;


(B) Disclosure of an applicant's right to a statement of reasons may be given at the time of application,
instead of when adverse action is taken, provided the disclosure contains the information required by
paragraph (a)(2)(ii) of this section; and the ECOA notice specified in paragraph (b)(l) of this section;

(C) For an application made entirely by telephone, a creditor satisfies the requirements of paragraph
(a)(3)(i) of this section by an oral statement of the action taken and of the applicant's right to a
statement of reasons for adverse action.

(ii) With regard to a business that had gross revenues in excess of $1 million in its preceding fiscal year
or an extension of trade credit, credit incident to a factoring agreement, or other similar types of
business credit, a creditor shall:

(A) Notify the applicant, within a reasonable time, orally or in writing, of the action taken; and

(B) Provide a written statement of the reasons for adverse action and the ECOA notice specified in
paragraph (b)(l) of this section if the applicant makes a written request for the reasons within 60 days of
the creditor's notification.

(b) Form of ECOA notice and statement of specific reasons--(1} ECOA notice. To satisfy the disclosure
requirements of paragraph (a)(2) of this section regarding section 701(a) of the Act, the creditor shall
provide a notice that is substantially similar to the following:

The federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants
on the basis of race, color, religion, national origin, sex, marital status, age (provided the applicant has
the capacity to enter into a binding contract); because all or part of the applicant's income derives from
any public assistance program; or because the applicant has in good faith exercised any right under the
Consumer Credit Protection Act. The federal agency that administers compliance with this law
concerning this creditor is [name and address as specified by the appropriate agency listed in appendix A
of this regulation].

(2) Statement of specific reasons. The statement of reasons for adverse action required by paragraph
(a)(2)(i) of this section must be specific and indicate the principal reason(s) for the adverse action.
Statements that the adverse action was based on the creditor's internal standards or policies or that the
applicant, joint applicant, or similar party failed to achieve the qualifying score on the creditor's credit
scoring system are insufficient.

(c) Incomplete applications--(!) Notice alternatives. Within 30 days after receiving an application that is
incomplete regarding matters that an applicant can complete, the creditor shall notify the applicant
either:

(i) Of action taken, in accordance with paragraph (a) of this section; or

(ii) Of the incompleteness, in accordance with paragraph (c)(2) of this section.

(2) Notice of incompleteness. If additional information is needed from an applicant, the creditor shall
send a written notice to the applicant specifying the information needed, designating a reasonable
period of time for the applicant to provide the information, and informing the applicant that failure to
provide the information requested will result in no further consideration being given to the application.
The creditor shall have no further obligation under this section if the applicant fails to respond within
the designated time period. If the applicant supplies the requested information within the designated

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time period, the creditor shall take action on the application and notify the applicant in accordance with
paragraph (a) of this section.


· (3) Oral request for information. At its option, a creditor may inform the applicant orally of the need for
  additkmal information. If the application remains incomplete the creditor shall send a notice in
  accordance with paragraph (c)(l) of this section ..

(d) Oral notifications by small-volume creditors. In the case of a creditor that did not receive more than
150 applications during the preceding calendar year, the requirements of this section (including 1
statements of specific reasons) are satisfied by oral notifications.
                                                                                      'i
(e) Withdrawal of approved application. When an applicant submits an application and the parties
contemplate that the applicant will inquire about its status, if the creditor approves the application and
the applicant has not inquired within 30 days after applying, the creditor may treat the application as
withdrawn and need not comply with paragraph (a)(l) of this section.

(f) Multiple applicants. When an application involves more than one applicant, notification need only
be given to one ofthern, but must be given to the primary applicant where one is readily apparent.

(g) Applications submitted through a thi,:d party. When an application is made on behalf of an applicant
to more than one creditor and the applicant expressly accepts or uses credit offered by one of th~
creditors, notification of action taken by any of the other creditors is not required. If no credit is offered
or if the applicant does not expressly accept or use any credit offered, each creditor taking adverse
action must comply with this section, directly or through a third party. A notice given by a third party
shall disclose the identity of each creditor on whose behalf the notice is given.

[Codified to 12 C.F.R. § 202.9}

[Section 202.9 amended at 68 Fed. Reg. 13161, March 18, 2003; 72 Fed. Reg. 63451, November 9, 2007,
effective January 1, 2008, the mandatory compliance date is November 1, 2008}




Credit Score Information




"The credit score is a computer generated summary calculated at the time of the request and based on
information.that a consumer reporting agency or lender has on file. The scores are based on data about
your credit history and payment patterns. Credit scores are important because they are used to assist ,
the lender in determining whether you will obtain a loan. They may also be used to determine what
interest rate you may be offered on the mortgage. Credit scores can change over time, depending on
your conduct, how your credit history and payment patterns change, and how credit scoring
technologies change."

"If you have questions about your credit score or the credit information that is furnished to you,
contact the consumer reporting agency at the address and telephone number provided with this
notice, or contact the lender, if the lender developed or generated the credit score. The consumer-
reporting a~ency plays no part in the decision to take any action on the loan application and is unable
to provide you with specific reasons for the decision on a loan application."




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Fair Credit Reporting Act



(E) Actions not required under this subsection. This subsection shall not require any person to-

(i) explain the information provided pursuant to subsection (f);

(ii) disclose any information other than a credit score or key factors, as defined in subsection (f);

(iii) disclose any credit score or related information obtained by the user after a loan has closed;

(iv) provide more than 1 disclosure per loan transaction; or


(v) provide the disclosure required by this subsection when another person has made the disclosure to
the consumer for that loan transaction.

(F) No Obligation for Content

(i) In general. The obligation of any person pursuant to this subsection shall be limited solely to
providing a copy of the information that was received from the consumer reporting agency.

(ii) Limit on liability. No person has liability under this subsection for the content of that information or
for the omission of any information within the report provided by the consumer reporting agency.

(G) Person defined as excluding enterprise. As used in this subsection, the term "person" does not
include an enterprise (as defined in paragraph (6) of section 1303 of the Federal Housing Enterprises
Financial Safety and Soundness Act of 1992).

(2) Prohibition on Disclosure Clauses Null and Void

(A) In general. Any provision in a contract that prohibits the disclosure of a credit score by a person who
makes or arranges loans or a consumer reporting agency is void.

(B) No liability for disclosure under this subsection-A lender shall not have liability under any
contractual provision for disclosure of a credit score pursuant to this subsection.




(G) Person defined as excluding enterprise. As used in this subsection, the term "person" does not
include an enterprise (as defined in paragraph (6) of section 1303 of the Federal Housing Enterprises
Financial Safety and Soundness Act of 1992).

(2) Prohibition on Disclosure Clauses Null and Void


(A) In general. Any provision in a contract that prohibits the disclosure of a credit score by a person who
makes or arranges loans or a consumer reporting agency is void.

(B) No liability for disclosure under this subsection-A lender shall not have liability under any
contractual provision for disclosure of a credit score pursuant to this subsection.




The Gramm-Leach-Bliley Act
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Privacy of Consumer Financial Information

A. Consumers

Definition: A "consumer" is an individual who obtains or has obtained a financial product or service from
a financial institution that is to be used primarily for personal, family, or household purposes, or that
individual's legal representative.


Examples of Consumer Relationships:

            •   Applying for a loan
            •   Obtaining cash from a foreign ATM, even if it occurs on a regular basis
            •   Cashing a check with a check-cashing company
            •   Arranging for a wire transfer


General Obligations to Consumers:

            •   Provide an initial (or "short-form") notice about the availability of the privacy policy if
                the financial institution shares information outside the permitted exceptions.
            •   Provide an opt-out notice, with the initial notice or separately, prior to a financial
                institution sharing nonpublic personal information with nonaffiliated third parties.
            •   Provide consumers with a "reasonable opportunity" to opt out before disclosing
                nonpublic personal information about them to nonaffiliated third parties, such as 30
                 days from the date the notice is mailed.
            •    If a consumer elects to opt out of all or certain disclosures, a financial institution must
                 honor that opt-out direction as soon as is reasonably practicable after the opt-out is
                received.
            •   If you change your privacy practices such that the most recent privacy notice you
                provided to a consumer is no longer accurate (e.g., you disclose a new category of NPI
                to a new non affiliated third party outside of specific exceptions and those changes are
                not adequately described in your prior notice), you must provide new revised privacy
                 and opt-out notices.




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          EXHIBIT D



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                                                                          □     CORRECTED (if checked)
 CREDITOR'S name, street address, city or town, state or province, country,
                                                                                                    1   Date of identifiable event              0MB No. 1545-1424
  Z P or foreign postal code, and telephone no.
      Freedom Mortgage Corporation                                                                      06/12/2023                              (Rev. January 2022)                  Cancellation
      951 Yamato Road
                                                                                                    2   Amount of debt discharged                                                        of Debt
      Suite 175
      Boca Raton FL 33431                                                                           $ 196187.00                                  2022
      US - Phone: 8556905900
                                                                                                    3   Interest if included in box 2

                                                                                                                                                   Form   1099-C
                                                                                                    $
A=unt number (see instruc ions)
                                                                                                    4   Debt description                                                                              CopyB
 915314517736                                                                                                                                                                                      For Debtor
 DEBTOR'S name, address, Z P/ postal code & Country                                                     Mortgage 10276****                                                               This is important tax
      CONRAD James                                                                                                                                                                  information and is being
      Trustee                                                                                                                                                                         furnished to the Internal
      3415 SANDWEDGE LN                                                                                                                                                                Revenue Service. If you
      SNELLVILLE GA 30039-4777                                                                                                                                                           are required to file a
      us                                                                                                                                                                                 return, a negligence
                                                                                                    5   If Checked,the debtor was personally
                                                                                                                                                                                              penalty or other
                                                                                                        liable for repayment of the debt .........
                                                                                                                                                                                              sanction may be
                                                                                                                                                                                            imposed on you if
                                                                                                                                                                                      taxable income results
                                                                                                                                                                                         from this transaction
CREDITOR'S TIN                                     DEBTOR'S TIN                                     6   Identifiable event code         7 Fair market value of property              and the IRS determines
                                                                                                                                                                                          that it has not been
XX-XXXXXXX                                         XXX-XX-XXXX                                          B                                 $                                                             reported.


Form 1099-C           (Rev. 1-2022)                                       www.1099onllne.com - IRS Approved e File Provider




                                                                                                                 Box 3. Shows interest if included in the debt reported in box 2. See Pub. 4681 to see
  Instructions for Debtor                                                                                        if you must include the interest in gross income.
 You received this form because a Federal Government agency or an applicable financial                           Box 4. Shows a description of the debt. If box 7 is completed, box 4 also shows a
 entity (a creditor) has discharged (canceled or forgiven) a debt you owed, or because an                        description of the property.
 identifiable event has occurred that either is or is deemed to be a discharge of a debt of $600
                                                                                                                 Box 6. Shows whether you were personally liable for repayment of the debt when the
 or more. If a creditor has discharged a debt you owed, you are required to include the
                                                                                                                 debt was created or, if modified, at the time of the last modification. See Pub. 4681
 discharged amount in your income, even if it is less than $600, on the "Other income" line of
                                                                                                                 for reporting instructions.
 your Form 1040. However, you may not have to include all of the canceled debt In your                           Box 6. Shows the reason your creditor has filed this form. The codes in this box are
  income. There are exceptions and exclusions, such as bankruptcy and insolvency. See Pub.                       described in more detail in Pub. 4681. A-Bankruptcy; B-Other judicial debt relief;
 4681, available at www.irs gov/Pub4681, for more details. If an identifiable event has
                                                                                                                 C-Statute of limitations or expiration of deficiency period; D-Foreclosure election:
 occurred but the debt has not actually been discharged, then include any discharged debt in                     E-Debt relief from probate or similar proceeding; F-By agreement; G-Decision or
 your income in the year that it is actually discharged, unless an exception or exclusion                        policy to discontinue collection; H-Expiration of nonpayment testing period; or I-Other
 applies to you in that year.                                                                                    actual discharge before identifiable event.
  Debtor's Identification numbero. For your protection, this form may show only the last                         Box 7, If, in the same calendar year, a foreclosure or abandonment of property
 four digits of your social security number (SSN), individual taxpayer identification number                     occurred in connection with the cancellation of the debt, the fair market value (FMV)
 (IT N), adoption taxpayer identification number (ATIN), or employer identification number                       of the property will be shown, or you will receive a separate Form 1099-A. Generally,
  (EIN). However, the creditor has reported your complete identification number to the RS.                       the gross foreclosure bid price is considered to be the FMV. For an abandonment or
 Account number. May show an account or other unique number the creditor assigned to                             voluntary conveyance in lieu of foreclosure, the FMV is generally the appraised
  distinguish your account.                                                                                      value of the property. You may have income or loss because of the acquisition or
  Box 1. Shows the date the earliest identifiable event occurred or, at the credito~s discretion,                abandonment. See Pub. 4681 for information about foreclosures and abandonments.
  the date of an actual discharge that occurred before an identifiable event. See the code in                    If the property was your main home, see Pub. 523 to figure any taxable gain or
  box 6.                                                                                                         ordinary income.
  Box 2. Shows the amount of debt either actually or deemed discharged. Note. If you do not                      Future developments. For the latest information about developments related to
  agree with the amount, contact your creditor.                                                                  Form 1099-C and its instructions, such as legislation enacted after they were
                                                                                                                 published, go to www.irs.gov/form1099c.
                                                                                                                 Free FIie Program. Go to www.irs.gov/FreeFile to see if you qualify for no-cost
                                                                                                                 online
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   EXHIBIT E
Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 47 of 164
                             Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 48 of 164




Investigative "Analys"is

Valid License Search:
https://ecoip.sos.ga.gov/BusinessSearch.

Valid License Check:

A search for Freedom Mo1igage Corp. in the Georgia corporate business database netted the following
result. There were "INACT" results among the results. This could mean this company may have had
licensing issues in the past. This could be considered a compliance related issue.•




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A search for Mortgage Electfonic Registration Systems, Inc. in the Georgia cotjJorate business database
netted no results. This could mean this company niay not have proper active licensing in this state. This
could be considered a compliance issue.




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 Search Summary


Search Type: Business Name
Business Name:Central Loan Administration & Reporting




 Search Results

Your search did not return any results.




                                                                                                                                                                                                                      3
          Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 50 of 164


                      '   '   ,.,.   ~" :'            :· <\ . '

 _S-3 Form for Foreclosur,e                   .              .    . :      . _.   . .. _ .. . .
 Failure to submif an S.:,Jfon::rrresults in an inyalid fqreclosure>· :.



                                         "   ,,\} ~




 Finan•cial I.nstr.ume·nt For;Jll\3005.
   This form is a HUD security doclir;nent pursuantto
 . title 12·usc Section(sl:3701 and 3705.:This t_ransJates to th~tthe lo.an se~vicef ,
   has no permission to do a·fo~eclbsure. The onfy party w_liich <;_an def a , . :- ·.
.. foreclosure is the IRS:commisioner whereby the 5~3 form' is.require& Sincethey have
   not filed the S:-3 form, the foreclosure action is void as a matter of law.
                                                                                                              '
 Thus; they<have avoided doingthe)roees s Usted-above. .•. , . . , .~-                                        J   •   •   •   ,   ••   •




 The fo,redosin'g party or bank theh seeks-to ~tate·tbat tfli prqperty\s 'ab~rid'brred which in
 many ~ases it is not. :.· . .· ..
 This is nowdocufn~ntedta~ evasi'Cm .
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 Th~ services must provide the· folfowing documents·:
 HUD 1
 1003 ·
 109~r Anri'~~I l'nt~~est staternent
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 Proper Loan Documents
 Proper Loan Coritract

 .Thus they r,nustprovipJ~~all pf.these dotlJm:ents tp·show;'theY·:,'have:iauthbrity tp.even
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             -                       .                             .   '




  USC 1441
                                                                             "


. In effect©ctop~r So,·2020 fro'mti~le 2,6 lnte,r'nal Re.venµeCoqe Subtitle,_A lncohie Taxes
  Chapter3-. ·       ·_,·_. ._· · . · · .·     · .·; . ·· .·· · · : _·. · · · · · ,·· · , .  ·
  Withholding of Tax oh·Non:-ResTdent aliens and foreign corporatiqn·s subchapter A-
. Nonresident Aliens and Foreign
                                                                                                                                           4




                                                                                             '            '
                                                                                     ,.,,   "'   ';'.:.
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Corporations. Th.is makes the attorney liable for thisviolation, especially if the attorney
is going into court with an invaliffclai,m dealing wit~ the transfer tax. The attorney caused
to
change cost and risk of the entire mortgage· arriounf Wh_1ch they also create the 1099
form.

Thus filing the 1099 is fraudulent;-'which results in the attorney and the bank being liable
for gross
negligence.




GAAP .                         '              .

Which means they c~c:1n·ged t,he accQ~.mting.          ·, .     ..._   ... .
The consumer never agreed for them to 'their accounting which they :never disclosed.
Full disclosure is required undertitle 5 section 556D.

Thus, the attorney and the servicer is in violation. The question is how did they
receive proper authorization.

Possible liability. for federal tax evasion scheme
                  '   '.   ,           ,        . ~
                                                   Title 26 Section
                                                      .        "'
                                                                    720i and 7206.
 '       "




                                                                                                5
         Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 52 of 164




Rule 36 sulllm:ary judg_ement defense
Civil Code section 1572 states as follows: "Actual fraud, within the meaning of this chapter, consists
in any of the fo!Iowing acts; c9inmitt~d by a party to the contract, or with his connivance, with intent
to deceive another party thereto, o:(to induce him to ·enter into the contract: 1. The suggestion, as a
fact, of that which is no_t true,by·or,iewho does notb~li~ve itto hetrue;_2. The p9sitive assertion, in a
manner not warranted by th~ i11forination of the person making-it, of that which is not true, though
he believes it to be true; 3. The suppression of that which is true, by one having knowledge or belief
of the fact; 4. A promise made without any intention of performing it; or, 5. Any other act fitted to
deceive."                        ·                    ·   ·                        ·


https:/flaw.justia.com/case_s/california/court-of-appeal/2d/269/299.html



California Consumer Privacy Act:
Existing law, the California Consumer Privacy Act of 2018, grants, commencing on January 1,
2020, a consumer various rights with regard to personal information relating to that consumer that
is .held by· a business;'including the right to. request a business·· to de\ete any personal information
about the consumer collected by the business, arid requires the business to comply with a verifiable
consumer request to that effect, unle.ss His nece.ssary for the business or .service provider to
maintain the customer's personal information in order to carry out specifiedacts .. The act requires a
business that collects personal information about a ~onsumer to·disclose the consumer's right to
delete personal info:nnation d~scribed above on its IntemetWeb site or in its .onli11e privacy policy
or policies:          ·                  ·                                  ·

https: //leginfo.legislature.ca.gov /faces /billTextClient.xhtml?bill id=201720180SB1121




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.•·. ·). .,/' .},"'.~:;~~::t:., {·~t~t#:;,:~. f }t,'}'?J{ . . ·•· ... ·. .
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  following: ·                                            ··                         ·                                    ·                 r ..;: · •   · ' ·   "        ·,                '



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   (2) Deliberately use~ or facilitates the Jse .of                                                                      any .misstatemeli(mi~repre~ertt~tio~; ~r ~mission,.'
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   knowing the same .to contain misstatement,. misrepresentation~ or'.·oµiissfon/during Jlr~ mortgage
   lending process.with:theint~ntionthaLit,be:relied:~nby:aJiror,tg~ge:iencler~;bogJ*er;oqmy'otlier·
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   TheReal.Estate:Settlem;ent"Prod,dures·~ct:{RE~1P~)'"P:t:9hibjfs ce~ain,1de9eptiy¢;praqtices;in·r~al
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   companies; mortgage brokers, andJeriaers: I;~ndedi ate :requir¢d"toJfovide ivgl)od'-faith estimate of
   a loan's;cost~;:similarto the:discl9sures required by TIL:A. ~ consuiner purchas1q.g real estate i.s
   also .entitled to a comprehensive statement, known as a HlJ]j~ 1, ·snowing·how ~he .purchase :price is
   to.be·disbursed . at closing, · .
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CASE.
Hoang v. Bank of America NA, No. I7-35993 (9th Cir. 2018)


If a creditor fails to make required disclosures under the Truth in Lending Act (TILA), borrowers
are. allowed three years froni the lo~m's consum_matio·n datei to rescind certain loans.: ·However,
TILA does not include a statute of limitations outliriin·g when an action to enforce such a
rescission must be brought.

The Ninth Circuit applied th"e analogous state law statute of limitations -- Washington's six year
contract statute of limitations -- to Tl LA rescission enforcement claims. The ·panel held that
plaintiffs TILA claim was timely under Washington's 'statute' oflirni'tations: In this case, the cause
of action arose in May 2013 when the Bank failed to take any action to wind up the loan within 20
days of re,ceiving plaintiffs notice of rescission. T.he panl31 also held that tqe district court
improperly denied plaintiff leave to amend the complaint.                          ·

Court Description: Truth in Lending Act. The panel reversed the district court's dismissal of an
action brought by a borrower against Bank of America, N.A., alleging claims under the Truth in Lending
Act ("TILA") ·after the bank declared the borrower in default on a loan and. initiated non-judicial
foreclosure proceedings. If a creditor fails to make required disclosures under TILA, borrowers are allowed
three years from the loan's consummation date to rescind certain loans. 15 U.S.C. § 1635(f).The borrower
sent the bank notice of intent to rescind the loan within three years of the consumm,ation date. The panel
held that under Jesinoski v. Countrywide Home Loans, 135 S. Ct. 790, 792 (2015), borrowers may affect
rescission of such a loan simply by notifying the creditor of their ,intent to rescind within the three-year
period from the loan's consummation date. The,,panel further held that because TILA,did not include a
statute oflim.itations outlining when ~n action to enforce·s.uch a rescission:,must be brought, courts must
borrow the most analogous state law statute of limitations and apply that limitation period to TILA
rescission enforcement claims. The panel held that in Washington~·the s·tate's six:year contract statute of
limitations was the most analogous statute. Thepanel rejected .the district court's application of TILA's
one-year statute of limitations for legal damages claims. The panel also rejected HOANG V. BANK OF
AMERICA 3 the bank's argumentthatWashington's two-year catch-all statute of limitations should apply.
Because the borrower brought this action within six years, the district court erred in dismissing the TILA
claim as time barred. The panel held that the district court improperly denied the borrower leave to amend
the complaint. The district court made.its determinatio·n based on its determination that amendment \\'.Ould
be futile because the claims were time- barred. The panel held that-because the.horrower's TILA rescission
enforcement claim was not time-barred, an amendment by the borrower would not be futile.

https://law.justia.com/cases/federal/appel late-courts/ca9/17-35993/17-35993-2018--12.:..06.html




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Comments


   Predatory Lending
   Typically involves it imposin,g
                                ·' '
                                     unfair and abusive loan
                                     ,   ,           ,.',/ -
                                                             terms on borrowers, often through
   aggressive sales tactics, taking advantage of i3 borrower's lack of understanding of
   complicated transactions, as well as outright deception.
   Simply put, predatory lending becomes a crime in California when the lender manages the
   loan transaction to extract the maximum value for itself without regard for the borrower's
   ability to repay the loan.



This unfair practices can be justified in comt under AB-1201 Unfair Practices Act


https://le2:info.leg;islature.ca.2:ov/faces/billTextClient.xh1ml?bill id=201920200AB1201&sea rch keywords
=consmnet+protection




                                               2 Cal.4th 919 (2016)

                                                199 Cal.Rptr.3d 66

                                                  365 P.3d 845

                       TSVETANAYVANOV A, Plaintiff and Appellant,
                                                             v.
         NEW CENTURY MORTGAGE CORPORATION efal., Defendants and
                            Respondents.



                                SEVERINO RIVAC, et al., Plaintiffs,
                                                             v.
                             NDEX WEST, LLC, et al., Defendants.

                                             Case No. 13-cv-1417-PJH.

                             United States District Court, N.D. California.

                                                 March 22, 2017.




                                                                                                            9
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                                          .    .




     EXHIBIT F             '   .
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                          ,;..-.·'.•,.r;-..:,···      ~~   .. ,   .·.
                                                     :~




                        ERS Analysis Report
                                                   for
                        Conrad J. James, Jr.
                   3415 Sandwedge Lane, Snellville GA 30039




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ti Page
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                                                               Table of Contents


                                                              Section Title
                                                                                      . . T.   Pa~e


                                                                                   ----   I     ------
       M ERS Screens hot                                                                  iI    3
                                                                                          I
                                                                                          t



       MERS License Fraud Analysis                                                             4-11


       Mortgage Note Considerations                                                             12
       UCC Excerpt Analysis                                                                     13




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                                                          MERS Screenshot:

  1
         31/03/2023, 17:32                                                                                  MERS® Servicerl·D • Results

                      MERS'
                      ServicerlD
                             7 Records Matched Your Search·

                             MIN: 1008537-0101851805-9 Note Date: 06/05/2017                    MIN Status:· Inactive
                             Servicer. LoanDepot.corn                                     Phone: (888) 337-6888
                             Irvine, CA
                             If you are a borrower on this loan, you can cfick ·hero to enter additional information and display the Investor name.
                             M.IN: 1003394·2016010354;~Note Date: 02/24/201.6                   MIN ~talus: lnacti~e       .
                             Servicer. iServe Residential Lending, LLC                    Phone: (858) 486-4169 ..
                             San Diego, CA                                                                             , .       ,
                             If you are a borrower on this loan, you can click here to enter add.itional inform.at!on and. display the Investor name.
                             MIN: 1001944-6000127621·1 Note Date: 12/06/2004                    MIN Status: Inactive           ·
                             Servicer. Ocwon Loan sc,.icing, LLC IFL)                     Phone: (800) 746-2936
                             West Palm Beach, FL
                             If you are a borrower on this loan, you can click hor• to enter additional information and display the Investor name.
                             MIN: 1001893-0000152802-0Note Date: 11/16/2010                     MIN Status: Inactive
                             Servicer. Wells Fargo Horne Mortgage a Division of Wells Fargo Bank NA Phone: (612) 478-6808
                             Minneapolis, MN
                             If you are a borrower on this loan, you can dkk here to enter additional information and display the l~vestor name,
                             MIN: 1000730-0102764156-0NoteDate: 02/20/201~                       MIN Status: Inactive               · , The loan
                                                                                                                                       1
                             Servicer. freedom Mortgage Corporation - NJ                   Phone: (855) 211-6039
                             Boca Rotan, FL
                             If you are a borrower on this loan, you can dick here to enter additional information and display the Investor name,
                             MIN: 1000200-0057137937-3Note Date: 08/14/2009                      MIN Status: Inactive
                             Servicer. PHH Mortgage Corporation                            _Ph.one: (800) 304-9786
                             Mt Laurel. NJ
                             If you are a borrower on this loan, you can dick here to enter additional information and display the'lnvestor name.
                             MIN: 1000157-0000814079-6Note Date.: 02/28/2002                     MIN:Status: Inactive
                             Servicer. Bank of America, N.A.                               Phone: (800) 669-6607
                             Simi Valley; CA
                             If }'.OU .are ..a borrower qn this loan, you can c!ck here to·enter additional 'information and display:the lr:,vestor·name.


                             Retimi fo Search




                                                           ••-n-•••-------------••---•••-••---•-••-••-•-•••----------------'




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I                  MERS Analysis
L__ ---------------------------'---------~
   Mers & The Debt
   MERS does record the _assignment in the actual real property records
   system. The actual note itself, is the creation of the legal obligation to have
   the loan/note repaid for the debt. Thus the note is· _the actual legal
   document which backs the debt. The debt itself has not been transferred or
   negotiated by MERS

    •   MERS does record the assignment in the actual real property records system. The actual note itself, is
        the creation of the legal obligation to have the loan/note repaid for the debt. Thus the note is the
        actual legal document which backs the debt. The debt itself has not been transferred or negotiated
        by MERS

    •   MERS is not legally entitled to receive monthly payments from the borrower. MERS cannot legally be
        entitled to benefit from a foreclosure in any sale of the home in a foreclosure sale.


    •   MERS does not own the mortgage note, thus it cannot attempt to foreclose.

    •   MERS cannot have any legal claim or interest in the loan interest, the debt, security instrument which
        MERS serves as a nominee.


                                         MERS & Securitization
Mortgage Electronic Registration System (MERS) has been named the beneficiary for this loan. MERS
was created to reduce in need of executing and recording of assignment of mortgages, with the idea
that MERS would be the mortgagee of record. This would allow "MERS" to foreclose on the
property, and at the same time, it would assist the lenders in avoiding the recording of the
Assignments of Beneficiary on loans sold. This helped to save money for the lenders in manpower
and helped to reduce the costs of recording these notes. It was also designed to "shield" investors
from liability as a result of lender misconduct regarding the process of mortgage lending.
MERS is imposed to overcome certain laws and other legal requirements dealing with mortgage
loans holding an "artificial" entity. Because of designating certain member employees to be MERS
corporate officers, the foreclosing agency and MERS "designated officer" has a conflict of interest.
MERS and the servicer both have not a beneficial interest in the note even they don't receive the
income from the payments. And actually the service employee can't sign the Assignment in the
name of MERS because the Assignment execution of MERS employee is illegal. The new party has
not executed the Assignment from the actual owner of the note. An assignment will_ result in a
nullity because of a mortgage in the absences of the assignment and physical delivery
                                                                                 I
                                                                                        of the note.
It must also bear in mind that the lender or other holder of the note registers the loan on MERS.
Thereafter, all sales or assignments of the mortgage loan are accomplished electronically underthe
MERS system. MERS never acquires actual physical possession of the mortgage note, nor do they
acquire any beneficial interest in the Note.
From the beginning MERS has indicated numerous violations of Unfair and Deceptive Acts and ·


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Practices because of conflicting nature and identity of the servicer and the· beneficiary. As these
practices were intentionally designed, it misleads the borrower and beneffts the lenders.
So the main point becomes, is MERS the Servicer or the foreclosing party? As the Servicer is the
party_ who initiate the foreclosure and they take the documents to their own employee who are
designated as a "Corporate Officer of MERS", and who conveniently signs the document for MERS,
aren't they the "foreclosing party"?

Is MERS the Beneficial Owner of the Note?
1.       MERS is named after the beneficiary on the Deed ofTrust and holding only legal title to the
interest granted by Borrower in this Security lnstrume_nt...has the right: to exercise any or all of
those interest, including, but not limited to, releasing and canceling this security instrument.
2.       M ERS can claim to hold the Note but it has not any actual possession _of the Note
3. .     MERS don't get any payments or income from the monthly payments: Ultimate Investor
gets this money. The Investor has the beneficial interest in the Note because the Investor receiving
the payments.
4.      MERS agreement indicates that MERS will comply with the instructions of the holder of
mortgage loan promissory notes at all time. It also indicates that "When the beneficial owner will
not give contrary instructions, MER may depends on instructions from the servicer shown on the
MERS system in accordance with these rules and the procedures with respect to transfers of
beneficial ownership.
5.      MERS is not the beneficial owner of the note that has been testified in Florida Courts.
Assignment of Beneficiary
MERS does not keep the record of the assignment of beneficiary though it is required by law, until
the foreclosure process starts and the Notice of Default has been filed, and apparently, only when it
appears that the borrower will not be able to reinstate the loan and then foreclosure is inevitable. It
maintains itself as the beneficiary throughout the entire process up to foreclosure.
MERS has represented in Florida Courts that its sole purpose is as a system to track mortgages. It
has stated that the lenders and servicers do entry for themselves and it does not do the entries
itself, but. When an Assignment of Beneficiary is executed, it is the member servicer or lender that
goes to the website, downloads the necessary forms, completes the forms and then takes it to the
designated "MERS officer" to sign.
MERS agreements state that MERS and the Member agree that: (i) the MERS System is not a vehicle
for creating or transferring beneficial interest in mortgage loans, (ii) transfer of servicing interests
reflecting on MERS System are subject to the consent of the beneficial owner.
Since MERS and the servicer both haven't a beneficial interest in the note, they don't receive the
income from the payments, and since it is actually an employee of the servicer signing the
Assignment in the name of MERS, this begs the question:
Is the assignment executed by the MERS employee even legal, since the actual owner of the note
has not executed the assignment to the new party?
A good indicator might be in Sobel v Mutual Development, Inc, 313 So 2d 77 {1st DCA Fla 1975). An
assignment of a mortgage in the absence of the assignment and physical delivery of the note in
question is a nullity.

Possession of the Note & Holder in Due Course
Coming to the forefront, possession of the Note is a key argument. The foreclosing entity has to
prove possession and ownership of the original Note in order to foreclose. A survey reported that
upwards of 40% of the Notes are missing and cannot be found that's why this comes to the
forefront. And MERS is once again involved in this.

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MERS foreclos~re lawsuits often include a Lost, Missing, or Destrnyed Affidavit In Judicial
Foreclosure states. The Note cannot be found, and that the Note prior to being lost was in the
possession of MERS which was "testified" by this affidavit. This has become very problematic for
MERS,As they have admitted in Courts that they do not own the Note or even hold the Note. If this
is so, then M ERS is likely filing fraudulent Affidavits.
When challenged, one defense that MERS uses·to support its "legal standing" is that the servicer has
possession of the Note and Deed. MERS, by the act of having its own "Officers" as employees of the
servicer, entitles it to foreclose on behalf of the servicer and the beneficiary. When confronted with
this defense, the response should be for the servicer to produce the note.
It should also be noted that the lender or other holder of the note registers the loan on MERS. Then,
under the MERS system all sales or assignments of the mortgage loan are accomplished
electronically. MERS never acquires actual physical possession of the mortgage note, and they don't
acquire any beneficial interest in the Note.                                          ·· ·
Securitization Process
Securitization is the name for the process by which the final investor for the loan ended up with the
loan: It entailed the following:
1.        Mortgage broker had client who needed a loan and delivered the loan package to the
lender.
2.       The lender approved the loan and funded it. This was usually through "warehouse" lines of
credit. The lender most of the times used warehouse line instead using their own money and that
had been advanced to-the lender by major Wall Street firms like J.P. Morgan.
3.       The lender "sold" the loan to the Wall Street lender, earning from 2.5 - 8 points per loan.
This entity is known also as the mortgage aggregator.
4. The loan, and thousands like it, are sold togethl;!r to an investment banker.
5. Securities banker buys loans from Investment banker                               •;
6.       Securities banker sells the loans to the final investors, as a Securitized Instrument, where a
Trustee is named for the investors, and the Trustee will administer all bookkeeping and
disbursement of funds.
7.       The issue with the securitization process is that when the Securitized lhstrument was sold, it
was split apart and sold in tranches, (in slices like a pie). There were few or no records kept of which
notes went into which trancheand there are no records of how many investors bought into each
particular tranche. Additionally, there were no

Assignments designed or signed in anticipation of establishing legal standing to foreclose.
8.      Rating Agencies rated the tranches at the request of the Investment Bankers who paid the
Rating Agencies.
9.      When the tranches were created, each "slice" was given a rating, "AAA, AA, A, BBB, BB, etc.
which tranche got "paid" first out of the monthly proceeds determined the ratings. If significant
numbers of loans missed payments, or went into default, then the AAA tranche would receive all
money due, and this went on down the line. The bottom tranches with the most risk would receive
the leftover money.
These were the first tranches to fail. Even if the defaulting loans were in the AAA tranche, the AAA
tranche would still be paid and the lowest tranche would not. Wall Street, after the 2000 Dot.com
crash, had large amounts of money sitting on the sidelines, looking for new investment
opportunities. Returns on Investments were dismal, and investors were looking for new
opportunities. Wall Street recognized that creating Special Investment Vehicles offered a new
investment tool that could generate large commissions.
Other Pertinent Facts of Securitization

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1.        In Wall Street pooling agreements they defined in the agreements that the loans that they
would accept for each investment vehicle. The lenders were executed agreements by them, with the
lenders and then immediately issued warehouse lines of credit to the lenders.
2.        Lenders then informed brokers to know the loan parameters to meet the pooling agreement
guidelines and the brokers went out and found the borrowers.
3.        Wall Street took all the loans, packaged them up and sold them as bonds and other security
instruments to other investors, i.e. Joe's Pension, and paid off original investors or reissued new line
of credit, and earned commissions on both ends.
4.        The process was repeated time and again.
5.        What we do know now is that in most cases, the reality is that the reported lender on the
Deed ofTrust was NOT the actual lender. The actual lender who lent the money was the Wall Street
Investment Bank. They simply rented the license of the lender, so that they would not run afoul of
banking regulations and/or avoid liability and tax issues. For all purposes, Wall Street was the true
lender and there are arguments that suggest that Disclosures should have been required naming
Wall Street as the lender.
Now it can be easier to understand how possession of the Note and ownership of the Note play a
vital role. In most cases, which tranche will contain any particular note, it is unknown. And will not it
be known how many investors, and who bought the individual tranches without significant and
time-consuming investigation.
Hence, any foreclosure that was securitized may be completely unlawful. Without the "True
Owners" of the note stepping forward to demand foreclosure,

Assignee Liability
Assignee liability is another issue being contested. Under TILA and RESPA, If on the face of the loan
documents gives evident that there are violations of the statutes, then assignees have a significant
liability when they assume the loan. Moreover, the question arises as to if assignee liability can be
claimed only if there are no violations on the face of the documents.
It is believed that MERS became the "beneficiary" for so many notes to address the Assignee
Liability problem. Since MERS works as the beneficiary, and it doesn't keep the record of
assignments, it becomes more difficult to determine assignee liability and holder in due course
issues.
This could offer "cover" for all the parties who are participating in the Securitization process, since
no there were recorded of Assignments and "proof of ownership" of the note could not be easily
determined. Tracking the monthly payments made to the investors, determining which party
received the monthly payment will be the only way to determined ownership of the Notes. This
would be time consuming and likely only Discovery would prove the process necessary to get this
information.
In Cazares v Pacific Shore Funding, CD. Cal. Jan 3, 2006, assignee that actively participated in original
lender's act and dictated loan terms may be liable under UDAP.
The question then arises as to assignments further down the "chain of title". Under these
circumstances, to attack the lenders, the UDAP codes can be utilized. The contracts can be "voided
or rescinded for showing fraud and other causes of action, " common law and UDAP codes,
especially CA B&P § 17200, and CA Civil Code §1689, which allows for contract rescission.


Litigation and major legal decisions
Mortgage Electronic Registration Systems, Inc. v. Lisa Marie Chong, et al. (United States District
Court, District of Nevada)

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On December 4, 2009, Judge Dawson found that "MERS provided no evidence that it was the agent
or nominee for the current owner of the beneficial interest in the note, it has failed to meet its
burden of establishing that it is a real party in interest with standing." He is.sued his decision in 5 of
the 18 cases (In re Chong, In re Pilatich, In re Cortes, In Re Medina and In r'e O'Dell) on appeal but
declined to hold that "MERS would not be able to establish itself as a real party in interest had it
identified the holder of the note or provided sufficient evidence of the source of its authority."[17)
Cervantes v. Countrywide Home Loans Inc. (United States District Court, District of Arizona)
On September 24, 2009, the U.S. District Court for the District of Arizona, in Cervantes v.
Countrywide Home Loans, Inc., et al., dismissed all federal and state law claims made by three
borrowers in a complaint filed against a group of defendants that included MERS. The court
discussed whether M ERS was a proper beneficiary but only in the context of whether its
involvement constituted the tort of fraud on the borrowers. The court found the mere use of MERS
was not common law fraud on the borrowers, finding that "Plaintiffs have failed to allege what
effect, if any, listing the MERS system as a 'sham' beneficiary on the deed of trust had upon their
obligations as borrowers."[18)
The U.S. Court of Appeals for the Ninth Circuit affirmed the trial court's judgment in favor of MERS in
a published opinion filed on September 7, 2011.[19] The Court ruled that a borrower had no basis to
challenge the standing of an entity like MERS. It also, however, drew attention to a legal reference
book's footnote that such a borrower still had a remedy by suing to have the trustee's sale set aside.
Mortgage Electronic Registration Systems, Inc. v. Revoredo, et al. (Florida Third District Court of
Appeals)
Both the 3rd District Court of Appeals in Miami and the 2nd District Court of Appeals in Lakeland
held that MERS can foreclose. Senior Judge Alan R. Schwartz noted the decision was based in part in
the changes in finance and technology over time. "The problem arises from the difficulty of
attempting to shoehorn a modern innovative instrument of commerce into nomenclature and legal
categories which stem essentially from the medieval English land law," Schwartz wrote.[20)
A related Florida case is BONY Mellon v. Pino. After homeowner Pino had established that bank
paperwork was defective, BONY moved to dismiss its own suit, presumably intending to remedy the
paperwork and then start a second suit for foreclosure, Florida being a judicial foreclosure state.
Pino challenged the bank's right to dismiss its own suit in such a way. As the case neared a hearing
at the Florida supreme court, the parties settled. Days later the bank recorded notice at the country
recorder that Pino was now the free and clear owner of his house. In other words, the bank let go of
its claim, presumably worth many thousands of dollars, to Pino's house, because bank attorneys
believed they were likely to lose at the state supreme court, and thus establish a precedent that
could cost them a lot of money. Avoiding the precedent was worth more than the lost money lent to
Pino. In spite of the bank's action, the court decided to hear the matter to rule on the propriety of
the banks "dismiss-fix-sue again" approach. (Brittany Davis, Miami Herald blog, May 10, 2012)
Jewelean Jackson, et. al. v. Mortgage Electronic Registration Systems, Inc. (Minnesota Supreme
Court)
On August 14, 2009, the Minnesota Supreme Court ruled that MERS could foreclose under state law
as the mortgagee of record.[21]
A class-action lawsuit was filed by homeowners in Delaware to hold MERS responsible for fraudulent
fees on foreclosures filed by MERS.[22]
Homeowners have argued in court that their homes could not be foreclosed because MERS deeds of
trust were unlawful.[23] In other cases, state appellate courts have held that MERS is permitted to
foreclose mortgage liens when it is the holder of the note and mortgage.
Landmark Nat'l Bank v. Kesler (Kansas Supreme Court)
On August 28, 2009, the Kansas Supreme Court in Landmark National Bank v. Kesler, 2009 Kan. LEXIS


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834 (Aug 28, 2009}, issued a decision involving MERS that focused on finality of judgments. MERS's
involvement with this case arose from the fact that the company did not receive notice of a
foreclosure acti~n even though MERS was the mortgagee of re,cord on~ junior lien. In the opinion,
the court noted that "[e]ven if MERS was technically entitled to notice a·nd·service in the initial
foreclosure action-an issue that we do not decide at this time-we are not compelled to conclude
that the trial court abused its discretion in denying the motions to vacate default judgment and
require joinder of MERS .... " The case did not affect MERS's standing to foreclose and the company is
entitled to receive notice of legal actions when MERS is the mortgagee.[24] The court concluded
that MERS had not publicly recorded the chain of title with the relevant registers of deeds in
counties across Kansas. The judges determined that a mortgage contract consists of two documents:
a deed of trust (which secures the property as collateral) and the promissory note (which indents
the borrower to the lender}, and determined that "in the event that the mortgage loan somehow
separates interests of the note and the deed of trust... with the deed of trust lying with some
independent entity ... the mortgage may become unenforceable."[25]
On April 30, 2010, a Kansas appellate court in MERS, Inc. v. Graham, 44 Kan. App. 2d 547, 2010 WL
1873567, at **4-**5, interpreted Kesler to mean that MERS in fact does not have standing to
foreclose on a mortgage in Kansas where there is no mention of MERS in the promissory note, MERS
acts solely as a "nominee" for the lender, and there is no evidence that the promissory note has
been assigned to MERS or that MERS otherwise possesses an interest in the promissory note.
MERSCORP, Inc., RESPA Liti~ation (United States Court of Appeals for the Fifth Circuit)
In 2008, the United States Court of Appeals for the Fifth Circuit dismissed a multi-district class action
lawsuit against MERS. The plaintiffs alleged that a small fee charged by mortgage lenders, which was
then paid to MERS, violated provisions in the Real Estate Settlement Procedures Act (RESPA}. The
plaintiffs also argued that MERS unfairly received business referrals from the mortgage lenders.
However, the Circuit Judges held that "In exchange for the fee, MERS performed the service of being
the permanent record mortgagee fn the public land records ... " Plaintiffs' complaint was dismissed by
the appellate court for failure to state a claim under RESPA.[26]
District of Columbia Attorney General's Enforcement Statement
On October 27, 2010, DC Attorney General Peter Nickels issued a statement which concludes that "a
foreclosuring may not be commenced against a D.C. homeowner unless the security interest of the
current noteholder is properly supported by public filings with the District's Recorder of Deeds."[27]
So in Nickels' view, subsequent transfers of the mortgage on MERS's records will not count unless
they were also recorded in D.C.                                                                       ·
Gomes v. Countrywide Home Loans (California Court of Appeal for the Fourth Appellate District,
Division One}
On February 18, 2011, the California Court of Appeal for the Fourth Appellate District affirmed the
sustaining of a demurrer without leave to amend. In an opinion by Justice Joan Irion, the court ruled
in favor of MERS in two ways: (1} California's nonjudicial foreclosure statutes did not expressly or
impliedly allow a lawsuit simply to determine whether the party initiating a foreclosure was
authorized to do so; and (2} even if they did, the plaintiff consented to the use of M ERS to initiate
the foreclosure when he signed the deed of trust.[28) Gomes expressly cited to and relied upon the
state supreme court's 2010 decision in Lu v. Hawaiian Gardens Casino, lnc.,[29] which clarified that a
certain conservative method of statutory analysis (first articulated by Associate Justice Frank K.
Richardson in 1979 and adopted by a majority of the court in a 1988 opinion by Chief Justice
Malcolm M. Lucas) applies to all California statutes, not just the California Insurance Code. Thus, if
the California Legislature has not expressly written a cause of action into a statute, it simply does
not exist. The Supreme Court of California denied Gomes's petition for review on May 18, 2011.
Gomes' attorney then filed a petition for writ of certiorari in the U.S. Supreme Court in which he

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attempted to challenge MERS on vaguely articulated due process federal constitutional grounds not
previously raised in the lower courts. However, he failed to challenge the constitutionality of the
California rule for finding an implied cause of action, which would likely have failed anyway, as the
federal rule for finding an implied cause of action is nearly identical. The high court denied the
petition on October 11, 2011.
In re Agard (U.S. Bankruptcy Court, Eastern District of New York)
On February 10, 2011, the U:S. Bankruptcy Court for the Eastern District of New York considered a
motion for relief from the bankruptcy stay brought by u:s. Bank as the trustee of a securitization
trust. U.S. Bank claimed the right to foreclose on the debtor's mortgage in part because of
purported assignment of the mortgage from MERS. The court found itself constrained by the
Rooker-Feldman doctrine to give effect to a prior state-court judgment of foreclosure, but went on
to consider several arguments MERS advanced about its legal status and authority, noting that it had
held off on deciding dozens of additional cases until those matters were clarified. The court found
that MERS had no power as an agent to assign the mortgage under its rules, its membership
agreement, or the terms of the mortgage itself. The court also found that MERS had no power as the
mortgagee of record to assign the mortgage: "MERS's position that that it can be both the
mortgagee and an agent of the mortgagee is absurd, at best."
The court observed,
MERS and its partners made the decision to create and operate under a business model that was
designed large part to avoid the requirements of the traditional mortgage recording process. The
Court does not accept the argument that because MERS may be involved with 50% of all residential
mortgages in the country, that is reason enough for this Court to turn a blind eye to the fact that this
process does not comply with the law.[30]
Residential Funding v. Saurman (Michigan Supreme Court)
In April 2011, in Residential Funding v. Saurman, the Michigan Court of Appeals decided two
consolidated ca'ses holding that MERS did not have standing to foreclose non-judicially pursuant to
MCL 600.3204(1)(d) because it did not actually own any interest in the debt.[31] The Michigan
Supreme Court reversed the decision in an order November 16, 2011, finding that MERS is the
owner of an interest in the mortgage because "[MERS'] contractual obligations as mortgagee were
dependent upon whether the mortgagor met the obligation to pay the indebtedness which the
mortgage secured." However, the court clarified that MERS's status as an "owner of an interest in
the indebtedness" does not equate to an ownership interest in the note."
On November 16, 2011, the Michigan Supreme Court, understanding the urgency and potential
fallout of this matter, issued a peremptory order, in lieu of granting the appeal, and reversed the
Court of Appeals judgment. (Residential Funding Co, LLC v Saurman, 2011 WL 5588929 (Mich,
November 1, 2011). The court agreed with the dissenting Court of Appeals opinion, "pursuant to
MCL 600.3204(1)(d), Mortgage Electronic Registration System (MERS) is the 'owner ... of an interest
in the indebtedness secured by the mortgage at issue in each of these consolidated cases' because
'[M ERS] contractual obligations as the mortgagee were dependent upon whether the mortgagor
met the obligation to pay the indebtedness which the mortgage secured."' The Court clarified that
"MERS status as an 'owner of an interest in the indebtedness' does not equate to an ownership
interest in the note. Rather, as a record-holder of the mortgage, MERS owned a security lien on the
property, the continued existence of which was contingent upon the satisfaction of the
indebtedness." This interest in the indebtedness ... authorized MERS to foreclosure by
advertisement under MCL 600.3204(1)(d)." (emphasis added).
The court's interpreted MCL 600.3204(1) as inclusive rather than exclusive. The court held those
with an "interest in the indebtedness" includes mortgagees of record (such as MERS) and
constitutes a category of parties entitled to foreclose by advertisement, along with those who "own

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the indebtedness" and those who "act as the servicing agent of the mortgage,."
Calvo v. HSBC (Court of Appeals of California, Second District, Division Eight)
On September 12, 2011, the California Court of Appeal for the Second District said the complaint (an
alleged violation of Section 2932.5 of the California Code which requires the assignee of a
mortgagee to record an assignment before exercising a power to sell real property) was irrelevant as
it applied only to mortgages, not to deeds of trust.[32]
Robinson v. Countrywide (Court of Appeals of California, Fourth District)
On September 12, the Fourth District Court citing its own May decision in Gomes v. Countrywide,
stated that "the statutory scheme ... does not provide for a preemptive suit challenging standing.
Consequently, plaintiffs' claims for damages for wrongful initiation of foreclosure and for
declaratory relief based on plaintiffs' interpretation of section 2924, subdivision (a), do not state a
cause of action as a matter of law."[33]
Bain vs. Metropolitan Mortgage Group, Inc. (Washington Supreme Court)
In March 2012, Kristin Bain ofTukwila, WA filed suit against MERS (and a subsidiary) for foreclosing
on her house without even disclosing the actual owner of her mortgage.[34]       _
In August 2012, the Washington Supreme Court ruled with Bain, saying that MERS was not a lawful
beneficiary of her deed and did not have the right to appoint trustees. The decision states: "A plain
reading of the statute leads us to conclude that only the actual holder of the promissory note or
other instrument evidencing the obligation may be a beneficiary with the power to appoint a trustee
to proceed with a nonjudicial foreclosure on real property. Simply put, if MERS does not hold the
note, it is not a lawful beneficiary".[35]
Electronic signatures and notarizations
Because the MERS system is electronic, it depends on the electronic storage and transmission of
legal documents. On the question of notarization of electronic signatures and the honoring of
notarized signatures across state lines, the US House of Representatives had passed bills to legalize
these steps, and in 2010 the US Senate passed the legislation without debate. However, President
Barack Obama publicly opposed the legislation on October 7, 2010. As a result, the bill died, and
state laws govern whether electronic signatures can be notarized or whether a notarized signature
in one state must be accepted in another.[36]
Controversy
MERS generated much debate, controversy, and criticism among litigators and academics in "some
of the most widely read law review articles of the past few years."[37] Dustin A. Zacks,[38] for
example, criticized MERS for taking directly inconsistent positions in various courts around the
country.[39] Zacks' article found favor with the Bain Court which cited him for the proposition that
"MERS's officers often issue assignments without verifying the underlying information, which has
resulted in incorrect or fraudulent transfers."[40] Professor Christopher Peterson[41] has similarly
argued that MERS is disengenuous in simultaneously claiming to be the mortgagee and the
nominee/agent of the lender or trustee.[42] Peterson likened this alleged duplicity to being akin to
the two-faced Roman God Janus,[43] while Zacks compared MERS to a "creature more akin to a
many-tentacled squid."[44J Peterson's articles on MERS,[45] which also criticize MERS for its
allegedly harmful effect on the integrity and transparency of public recording, have been cited by
countless anti-MERS litigants[46] and in decisions both adverse and favorable to MERS.[47]
Other academics have criticized MERS on the grounds that its nominal ownership of millions of
home loans poses a disastrous risk for mortgage investors should MERS ever declare bankruptcy.
Such a bankruptcy could mean that mortgages would "pass into the company's bankruptcy estate
and become available to satisfy creditors' claims."[48] One law professor even suggested scrapping
the MERS system entirely, replacing it with an entirely new national recording system.[49]



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                                Mortgage Note Considerations




 Since MERS is connected to this mortgage. Considering all of the fraud involved with M ERS, this
 important points/consideration must be considered.

     •    Original Note has been lost or destroyed
     •    Note and Deed of Trust have been separated
     •    MERS fraud involved with this loan
     •    The right party to foreclosure must have original note, as well as deed of trust to
          foreclosure, in this case no one entity does. Thus foreclosing on this property is
          completely fraudulent.



  According to the landmark case, Glaski Vs. Bank of America. The case was determined that in
  order for a company/financial entity to foreclose on a property, the company/financial entity
• must have both the mortgage note and the deed of trust together at the time of foreclosure. On
  this specific loan this is not the case, and the foreclosing entity does not have bot the original
  mortgage note, nor the deed of trust. Hence the conclusion is that they cannot foreclose.




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                                     UCC Excerpt Analysis
According to the UCC below, there could be issues here of proper "assignmee" of the
note which is the document of the loan. Thus the assignee or the ones being assigned
to possibly cannot enforce the note, and furthermore seeing the MIN MERS number
mentioned on the mortgage contract, one can clearly see its "inactive". Which could
mean the contract has issues.

"23 o Under what circumstances does delivery ofa note qualify as an exchange? As mentioned in UCC Section
3-203(a), a note is transferred "if it is delivered by a person apart from its issuer for the purpose of giving to the
person receiving delivery the right to enforce the instrument." For instance, assume that the payee of a note sells
it to an assignee, going to transfer all of the payee's rights to the note, but delivers the note to the assignee
without indorsing it. The assignee won't qualify as a holder (because the note continues to be payable to the
payee) but, because the transaction between the payee and the assignee qualifies as an exchange, the assignee
now has all of the payee's rights to enforce the note and thereby qualifies as the person eligible for enforce it.
Thus, the failure to acquire the endorsement of the payee doesn't prevent a person in possession of the note from
being the person eligible for enforce it, but demonstrating that status is more difficult. The reason being the
person in possession of the note must also demonstrate the purpose of the delivery of the note to it to be able to
qualify as the person eligible for enforce."




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                 EXHIBIT G




      •   -••   •••-   •••   r   •   •   "•'   ••   •   ••-•   ••••-•••""'"""''   ••   •   ••   ••   "   ••••   •   .,.-,~   ---•-.••--•.,.•-•"""   -   •   •-••• - • - • - • - ~ • • • - • -   •••-•-•••••-==---•••~• •   ""-' """"

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  Mortgage Audit Report Deluxe Extended



                              for




                Conrad J. James, Jr.
           3415 Sandwedge Lane, Snellville GA 30039
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Introduction
                 '      '



A securitization audit is. an examination of the documents presented for a particular loan and
security transaction and_ comparing and analyzing them with other available information for
the purpose of determining ff it has been securitized, and if it was, •of identifying the
securitizingentity.

The examination also involves a review qf the documeJ:?.tS presented as they relate to the
various other transactions,· topics and issues affecting~ securitizations in general and the
audited loan in particular. These include the se'rvicer's respo11se or.failure to respond to the
borrower's request;fofinfo rmation· or Qualified Written Request (QWR) under 12 USC §
2605 or similar laws, the lender's compliance· of the disclosures required before and during
the granting of the loan under the_Truth in Lending Act (TILA) and the· Real Estate Settlement
Procedures Act (RESPA), the standards employed in qualifying the borrower (more
specifically, the Debt-to-Income Ratio and.the Loan-to-Value Ratio), the role of MERS, robo-
signing, the chain of title and foreclosure. Where applicable, each of these issues is discussed
in their r~spective sectio_ns in this report. .

  Generally,· the basic documents to be presented for this type of examination are the
· promissory note and the security instrument, i.e., the mortgage, or deed of trust or security
                                                  ?           '


  deed. Other relevant documents include. allonges, assignments, documents pertaining to
  foreclosure and the 'MERS servicer inquiry screenshot.' Collateral documents include the pre-
  closing docume~ts such as .the loan application, the· Federal TIL bisdosure Statement,
  appraisal report and similar documents, liens search report or title report, mortgage loan
  statements and letters from the servicer and other correspondence .

 Where applicable the examiner utilizes the facilities oJ ABSNet® for locating a loan .in a
 particular trust and for obtaining information pertaining to the securitization, the Securities
 and Exchange Commission database at www.secinfo.com for the vari_ous documents that
 were filed by the trust and various other on-line sites that host resources on law and
 jurisprudence, legal definitions and procedures, tobo-signing and various other information
 relevant to the issues at hand.

 A loan is securitized by its holder. Alth~ugh. a l~an may have been granted- by a private
 lending institution, it may qualify for funding by a Government-Sponsored Enterprise (GSE)
 such as the Federal National Mortgage Association (FNMA or Fannie Mae) or Federal Home
 Loan Mortgage Corp. (FHLMC or Freddie Mac) whereupon it is.sold or transferred by the
                                                                                               3
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originating private le~der to. any,ofthesejrrstitutiQi)S. If this has.been ·the case fortheJoan
under ex~minatibn, th~·exi:imiri.e;s·willthe,rj cortclu-gttha.t iris ~Qw d'\W~edbya GSE.
    <   •        "              '   ••   /                ,                 ,   ',.:~,,   , ,· . ~" ~     .•.·               .            / ', •'         '
 :· ....· ·:. ', '/~~:~;;J:,,,) .-                              •. ,;!//;''                                   ··,·    •,. . . •• .. ·                    ._       . . . ·.. ·   .
On the other-harid;/~(rna,jority"<:>fhoine ;mo~tg~g~:loans'donot qualify             funding by these                                               Jar
GSEs and their ow~er;hip 'i:~jnain with th~;,origfoating lend'er.. These private lenders also
securitizedtheir loans andth~f are referred fs:''private.tabel"sec~riJizations. The loan_thatis
the subject a/this examihatiorisijo~ld falL~rid~kthis categ<Jry,br the examiner will conclude
        i
that has,not b~eH secur;itized in~o a pdvate>lab~l t~ust. For yarious re~sons not all loans ,
that failed to qualify for fuildin.g lJy GS Es \,v~,re. securitiz~d ihto privite<label. frusts. In other
words, this ex~mination .· puts great emphasis on the_ ~viden~e that the loan has been
securitized otherwise the exami_nerwill not make thatcon.clusion.

Whether or not the examined loa·n .was·-found- to have-beeri·-pwne·d.b,y-a· GSE'or was···not
securitiied irito a priv~te·l~bel,trust/the:examinatio,n., ~ni.s.tiU(:()Ver' the various other issu·es
affecting th~ loa~- and •se~utity such· as the loari- q4~lifying.~tahdards, ar~closure.s, the role ()f
MERS, robo-~ignin~, the ch~h~ oftitl~ and' fcire.closur~,, where applicable.]n- shqrt, the findings
wiH 'generallybeat,aovVn\~p;n the. ch~~ri oftitle.whiahhicluclis,·idgrttifyin.fthe'· c·ur,rentholder
or holders ofth~ deb't ancithe .se~urity)nstrume~ts" aiid tne, stancli~g of th{foreclos·ingentity
to for~clo~e! ; ·     · ·         , · -· · · '    .,     ·.   ··            ,.   · ·     ·      · ··


If the loan has bee rt' s~curitized and there are documents tff,Sllppcirt an p.n~lysis, the examiner
will also present a computation
                        '        "
                                     in approximate terms the gross. profit
                                                          .
                                                                               that the trust would
                                                                          :                             ·,.                                                   "

hav~ made from securitizing the subject lo~n and the time it took for the or~ginating lender to
recover from the trust the c1mount it Tent to the borrow.er·thereby. ripl~ni~hiug its funds for
fre;h lend.in.g, '.          ··                  ·               ,      . ·                · ·    ·


The ·examine(ha~ noiriterest in the outcome .of this. exc1.µ1.iriat,ion and wilfperforrh his task in
the high~st ,clegre~ of professiqn;I irjtegrity:·All his pe_(:isiqns ar~ eiq~rc;:ised ,with ,a·ue care and
diligence .and:·)1is ·',cQndtis10ns: ar~ ba.sed: .cJ'.n th'¢· doG~~eilts . pteseritep Coupl~d with
informc1tfo~ gather~cl frornthe:mosi~eli~ble. sciµic~s-that a;~aVaila.b,e .. wfi~re nece~sa~y, 1:he
'         "   .   ,, ,. ' ,. >, ,· , '    ' .;,, .            .J'.".·                            -'                  ' ' ~            ,         .     '           ;     ,
sources o.ftheseinforma tion ar~ cited.in this report ·                                                                                        ·     ·

On April 3, 2023, at the· request of Conrad J. James,. Jr., the examiner conducted an
examination of the documents that he presented· in conne.ctfon with the. lo~m that he availed
fro~ Freedon{'Moitgage Corp .. on•February 20; 2018..·,J'heJoan· is. secured by :a Hen on a
property l6cated:ab-3415,Sandw~dge.Lane, Snellvfrle GA300:39.
            •               l                '   <   ,.                 •        ••                                              •,




                                                                                                                                                                                4
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                             . ..,~,,,.,.~\~)';;-'
                                          ,.,,,,._,




Purposes of the Examination

The purposes of this examination.are as follows:

• The QWR and QWR Response. To establish  ,  r,~
                                                the facts that a Qualified Written Request has
  been sent to the loan. servicer on a certain date prior to this examination and that the
  servicer has responded to it· on a certain date and to determine the disputations and
  requests for information that were manifested by the borrower in the request and the
  manner and extent to ,which, they were handled an,d ·covered by the servicer in its
  response:

• The Loan and the Security. To establish' the existence of the loan and the underlying
  secur'ity as agreed upon and ·acknowledged by the, partie's b9,sed on the documents
  presented, to identify the mortgaged property and_ to·. determine their terms and
  conditions. The documents are reviewed in order to determine if the lende.r complied
  with the disclosures required under the:1:,t~A and the,J~ESP A.. The debt~to-in~ome ratio, of
  the borrower and the 'loan-to-value ratio of the property are also computed in order to
  determine if these are within prescribed limits or if there are indications of predatory
  lending practices. This section also touches on the status and issues regarding loan
  servicing.

•   Robo-Signing. To establish prim~ facie evidence that.the persons who signed on behalf of
    the entities ·who have executed acts involving this loan and security, the witnesses to their
    signing, as well as the notaries public, have been involved in robo-signing or surrogate
    signing. This includes a comparison of their signatures with available specimens that
    co-µld be obtained · from. vc1rious reliable sources including the examiner's own
    compHadon.

• The Role of MERS. If Mortgage Electronic Registration Systems, Inc. (MERS) is a party in
  the debt and/ or the security instruments, to determine what authority or capacity has
  been granted to MERS and by whom, and if MERS did perform any act under that capacity,
  to determine if this act was performed in accordance with law and/ or the terms and
  conditiol').s unqer whic:h they were bestowed:

• The Securitization. To determine if the subject loan has been securitized and if it was, to
  establish that the securitizing entity exists or once existed, to identify the parties thereto,
               '                                      '                 '
  to verify 'if the required chains of ·endorsements of the· promissory note and assignments
                                                          "   '               '


                                                                                                5
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    of the security ,instrument have been fully cmnplied with, to review and assess the effect
    of securitization on the loan, to deterniiile its present status as a securitized loan and to
    identify the entity ".Vho has possession of th~ loan and security instruments.

•   Profit on the Securitized Loan. To determine, albeit in theoretical terms, the potential or
    actual income that the securitizing entity will derive or has derived from the
    securitization of the loan. as well as the period of time it took for the originating lender to
    recover from the securitization trust the amount it loaned to the borrower.
      ,        -               ,    "




• The Chain of Title. To identify any breaks in the chain of title or instances wherein the
  security instrument has been separated from the 'debt instrum,ent in relation to the
  securitization of the loan, the capacity or lack thereof, of MERS to perform certain acts and
  the nullity of the documents that have been signed by forgers or robo-signers or surrogate
  signers based on the prima facie evidence that have been gathered.

•   Foreclo_sure. To identify any flaws in the transactions _leading to and relating to
    foreclosure in order to determine if the foreclosing entity has the standing to foreclose
    and can show evidence, upon demand, that it has physical possession of the note and the
    security instrument as well as the documents evidencing the chains· of valid endorsements
    and assignments ending it its favor at the time of the filing of the complaint.




                                                                                                  6
,   .
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The Documents Presgnt~d for Examtnati'oti':

The documents that were pre_sented and which _.were considered in this examination are
                         '         /,-                        ,,

enumerated and d~scribed below. Sufficient effort has been exerted in obtaining these
documents in order to ensure that they are complete and. reflectthe true state of the loan and
the underlying security as of the date of examination. The examiner has added additional
documents to support his findings and these are accordingly described as.such.

Where, in spite of these efforts some documents could not be obtained, the examiner may not
be able to attain the purpose or purposes of the exaril.ination for which these documents
could have been made the bases, and thus, the examination will not cover these phases and
no conclusion could be arrived atfor them.·

The examiner warrants that these documents were in the- same state when they were
examined as when they first came into his possession. In spite.of the deficiencies as may be
noted herein, the documents are treated as true and correct copies of their originals.


• Voluntary Liens Report dated March 24, 2023

        Th_is document consists of seven pages and pertains to the subject loan. It was obtained
        from homeinfomax.com (Exhibit A).

• MERS Servicer Inquiry Screenshot

        This document was obtained by the examiner from the official website of Mortgage
        Electronic Registration Systems, Inc. on April 3, 2023 (Exhibit B).

•       Mortgage Loan Statement dated on March 20, 2023

        This is a one-page computer-generated document that bears the name of the loan servicer
        (Exhibit C).




                                                                                                   I
                                                                   ________7J
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The Debt and the Security-Instruments

  The Promissory Note•'

  The Voluntary Liens Report pertaining to the mortgaged property states that the
  borrower is Conrad J. James, Jr. and the originating lender is Freedom Mortgage Corp.
  (Exhibit A).

  An inquiry on the official website of MERS states that this loan was granted on February
  20, 2018 (Exhibit B).                                ,

  It could riot be ascertained if this prof!}iss~ry ricite has been endorsed.

            Promissory Note

            A promissory note is a written promise to pay a debt. It is an unconditional promise to
            pay on demand or at a fixed or determined future time a particular sum of money to or
            to the order of a specified person or to the bearer. Promissory Notes, Law and Legal Definition,
            Retri.eved August 25, 2014, from http://definitions.uslegal.com/p/promissory-notes/



            Parties in a Pr:omissorr Note

            The parties in a promissory note are basically the maker and the payee. The maker is
            person who makes the note and undertakes to pay the amount stated in the
            promissory note. The payee is the person to whom the 'amount is payable under the
            promissory note.

             Subsequent parties, if any, are . the holder, the endorser,
                             .                                 .   .
                                                                         and the endorsee. The holder
           , is the person who may be the payee or endorsee of the promissory note. The holder is
             the person who is entitled to possession of the instrument in his own name and is also
             entitled to receive the. amount
                                  '        .
                                                 due under
                                                       .     the. promissory
                                                                      .
                                                                              note:The
                                                                                 .
                                                                                       endorser is the
            person who, by endorsement, transfers the promissory note to another person. The
            endorsee is the. person to whom the promissory note is transferred by endorsement.
            Parties to Promissory Notes, Bills, & Checks, Retrieved August 25, 2014, from
            http://www.myedupages.com/all-topics/89-banking-laws-practices/parties-to-promissory-notes-bills-and-
            cheques/162-parties-to-promissory-notes-bills-and-cheques . ·




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   Endorsement

   Endorsement is the act of the owner or payee signing his/her name on the back of a
   check:· bill. of exchange or other ne·gotiable. itsfrument so as fo make it payable to
   another or cashable by another person..

   An endorsement· in blank is also known as general e~dorsement. It· specifies no
          .                                        .   .

   particular endorsee and thereafter is payable to_ bearer and may be negotiated by
   delivery alone. An endorsement in blank is_ an_ ·unq~alified endorsement, and thus the
   endorser thereof. makes all warranties to a!l- subsequ~nt holders in due course
   speciffed in Section 3-4.17, Uniform Commercial Code. Endorsement, Law and Legal Definition,
   Retrieved'& abridged, August 25, 2014, from
   http://definitions.uslegal.com/e/endorsement/


   Promissory Note, Governing Law

   In the United States, the law governing negotiable instruments in general and
   promissory notes i_n particular _is Article_ 3 of the 9niform' Commercial Code. ucc Article 3
   - Negotiable Instruments, Legal Information Institute, Retrieved August -25, 2014, from
   http://www.law.cornell.edu/ucc/3




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The Security Deed


To reiterate, the Voluntary Liens Report states thaf the borrower is Conrad J. James, Jr.
and the originating lender is Freedom Mor,tgage Corp. (Exhibit A).

Mortgage Electronic Registration Systems, ··Inc. (MERS) is assu'i;ned to be a party in this
Security Deed as nominee for the lender and grantee· because this Security Deed is
registered with the MERS® System (Exhibit B).

                                                     -                          '


This Security Deed secures the debt of the borrower to. the lender including interest
thereof. The Voluntary Liens Report also states that.the mortgaged property is located at
                                                 '                          ~



3415 Sandwedge Lane, Snellville GA 30039 and that it was recorded in Gwinnett County
on March 7, 2018 (Exhibit A).

         Security Deed

         A security deed (also known as a deed to secure debt, loan deed, or warranty deed to
         secure debt) is the most common· form of securing a financing instrur11ent for real
         estate loans in Georgia. Lenders prefer security deeds over mortgages in Georgia
         because a mortgage creates only a lien on the property, whereas the security deed is an
         outright transfer of title to the property to the lender to secure the debt. The
         conveyance by the borrower splits the title to the property into two components: the
         legal title held by t~e lender to secure payment of the debt, and the equitable title held
         by the owner. The owner al'so retains a right of redemption; that is, the right to pay off
         the debt and reacquire. the legal title. The owner/borrower retains the right of
         possession of the property and all rights of ownership exceptthose that interfere with
         the lender's legal title and any rights given up in the security deed. This concept is
         called hypothecation: the owner /borrower hypothecates, seeming to "own" the
         property, but limited by the lender's rights. Security Deed; .Georgia Real Estate Commission
          lnfoBase, Retrieved September 14, 2016 from
          https://www.grec.state.ga.us/infobase/table%20of%20contents%20pdf/Chapter%2039.pdf




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                                     .:;..,   ....
- - - - - - - - - - - - - - " - = - - - - - ' - - - - - - - - - - - - - - - - - - - - - - - - ··1



            Parties in a Security Deed

            The borrower(s) and the lender(s) are the two parties to the security deed. The
            borrower is the grantor of the security deed, ·since the borrower is the one conveying
            the property to secure the debt. The lender is the grantee, since the lender receives the
            absolute conveyance of the title to secure the debt. The grantor (borrower) retains the
            equitable title to the property and has the right of possession until default as well as
            the right of redemption once he or she repays the debt. The grantor remains liable for
            property taxes, lawsuits for personal injuries (such as an injury to a third party while
            that person is on the property), and all the other usual obligations of ownership. The
            grantee (lender) has the legal title, which means ownership without the right of
            possession or the obligations of ownership retained by the grantor (such as payment of
            taxes and liability for personal injuries). Although technically incorrect terms as
            applied to Security Deeds, since many people are used to mortgage instruments they
            may have used in other states, mortgagor refers to the borrower and mortgagee to the
            lender. Parties to a Security Deed; Georgia Real Estate Commission lnfoBase, Retrieved September 14, 2016
            from https://www.grec.state.ga.us/infobase/table%20of%20contents%20pdf/Chapter%2039.pdf

            Security Interest

            A security interest arises when, in exchange for a loan, a _borrower agrees in a security
            agreement that the lender (the secured party) may take specified collateral owned by
            the borrower if he or she should default on the loan. Secured Transaction Law: An Overview,
            Retrieved August 25, 2014, from http://www.law.cornell.edu/wex/secured transactions

            Secured Transaction

            A secured transaction is defined as any loan or credit in which property is pledged as
            security in the event payment is not made. Hill, G. and Hill, K. Secured Transaction, Retrieved
            August 25, 2014, from
            http://legal-dictionary.thefreedictionary.com/secured+transaction

            Security Deed, Governing Law

            In the state of Georgia, the law governing secured transactions in general and security
            deeds in particular is the Georgia Code Title 44, Chapter 14. 2010 Georgia Code; Justia us Law,
            Retrieved September 14, 2016. http://law.justia.com/codes/georgia/2010/title-44




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[~-
      Information on the Debt and the Security Instruments

                              :
       General                    Amount of Principal               $188,074
                        ; '
                              '


                                  Date Granted                      February 20, 2018


                                  Maturity Date                     On or about March 1, 2046


                                  Term                              28 Years


       The Debt Instrument        Type of Document                  Promissory Note


                                  Initial Interest Rate             Unknown


                                  First Interest Rate Change Date   Not Applicable


                                  loan Number                       0102764156 (MERS)


       The Security Instrument    Type of Document                  Security Deed


                                  Date Executed                     February 20, 2018


                                  MERS ID Number                    1000730-0102764156-0


                                  Lien Position                     First




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The Parties to the Debt and the Security Instruments
                                                                                                       .,.
r--·-                                                                                            - - - ~'-· ,,-~·----------
      Borrower                                                                                                                      Conrad J. James, Jr.


                                                                                Mailing Address                                     3415 Sandwedge Lane
                                                                         I                                                          Snellville GA 30039
                                                                         r-------1---~----""'-·-----
                                                                                Property Address                                    3415 Sandwedge Lane
                                                                                                                                    Snellville GA 30039
i                                                                                                                           I
                                                                   ->-

      Co-Borrower                                                               Name                                                None
!
I
       Lender                                                                   Name                                                Freedom Mortgage Corp.
                                                                                                                                                                                           _.._

                                                                                Mailing Address                                     951 Yamato Road Suite 175
                                                                                                                                    Boca Raton FL 33431
                                                                         I



       Mortgagee                                                                 Name                                               Mortgage Electronic Registration Systems, Inc.
                                                                             -.,,~,._                              -~,--   •·                             ·-~·~       -~·-----~·- _,.,_,_--· --
                                                                                 Mailing Address                                    PO Box 2026
                                                                                                                                I
                                                                                                                                ' Flint Ml 48501
    ~ ••• __ , -~ ···-~---~----·--·- - · · - · - - · - • - - ' • ._ __       "··-·---·--~---·   -~·-····••·•·•-·--·,__,_._ ~~-      .,_. ~,-,-------~---·----"~~-

       Servicer                                                                  Name                                               Freedom Mortgage Corp.
                                                                                                                                                                                                  j

                                                                                                                                                                                                  !
                                                                                 Mailing Address                                    PO Box 619063                                                 ij


!'
                                                                                                                                    Dallas TX 75261
                                                                                                                                                                                           __J
                                                                                                                                                                                                  I




                                                                                                                                                                                              13
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About the Servicer .. ·

A Mortgage Loan Statement dated March 20, 2023 shows that the subject loan is serviced
by Freedom Mortgage Corp:, the originating lender (E.xhibit'C).

          Loan Servicer

          A loan servicer is a financial institution which reports loan payments, collects monthly
          payments and penalties on late payment, releases liens, makes certain that insurance
          ~nd taxes are paid and. initiates foreclosure proceedings for loans in default. A loan
          servicer is also called a mortgage servicer. A loan service~ can also be the lender who
          owns the loan'. Loan Servicer, Law & Legal Definition, Retrieved August 25, 2014 from
         'http://definitions.uslegal.com/l/loan-s~rvicer/




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                                                      ' ___ ,   0   ,. _ _   •·   OH ,Nm-••-••••   N N




          Examiners' Comments ,

                     The Promissory Note

                     The subject loan exists according to the amount, interest rate, maturity date
                     and the terms and conditions stated in the promissory note which is assumed
                     to have been signed by the borrower. It could not be ascertained if this note
                     has been endorsed.

                     The promissory note, the parties thereto and its terms and conditions fall
                     within the cited definitions, as applicable, and is considered to be governed
                     under the applicable laws.



                     The Security Deed

                     The Security Deed exists as a security on the subject loan according to the
                     amount, maturity date, property address, and the terms and coriditions stated
                     in the mentioned deed which is assumed to have been signed by the borrower
                     and the notarizing official. It represents a first lien on the title of the
                     mortgaged property and is recorded in the county where the property
                     belongs.

                      The subject Security Deed, the parties thereto, and its terms and conditions
                      fall within the cited definitions, as applicable, and is considered to be governed
                      under the applicable laws.
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Ro ho-Signing

  History

  In the mortgage industry, r_obo-signing is the practice of an employee signing thousands of
  documents and affidavits without verifying the information contained therein. Some
  reports have revealed that one bank official signed off on almost 10,000 documents in one
  month. The practice calls into question the validity of thousands of mortgage assignments
  and foreclosures across the country.

  Banks have been under investigation since 2010 for their part in the robo-signing scandal
  which resulted in many homeowners losing their homes without merit. A_fter the scandal
  came to light, the banks said they would no longer engage in this practice. However, as
  recently as July 2011, it was discovered that mortgage robo-signing was still being
  practiced.

  When the practice recently came to light, four major banks, JP Morgan Chase, Ally
  Financial/GMAC, Bank of America, and Wells Fargo all c·alled a halt to foreclosure actions
  in_ 23 states. In the days following their announcements, Bank of America ceased
  foreclosures in all 50 states. A coalition of 40 attorneys general plan on launching a probe
  into mortgage-servicing. practices and may hold them account~ble where there were
  violations of state foreclosure laws. Phillips Garcia Law, What is Robe-Signing, Retrieved August 25, 2014 from
  http://www.southcoastaccidentattorney.com/fags/what-is-robosig ningnbsp.cfm


              Robo-Signer

              A robo-signer is a person in a legal document processing assembly line whose only
              task is to sign previously-prepared documents affecting title to real property in a
              robotic-like fashion without reading the documents or verifying the facts contained
              therein by reviewing primary source evidence. The robo-signer's mission is to expedite
              the documents' recordation in the public land records or in court proceedings.
              Additionally, robo signers regularly fail to establish or simply do not have the authority
              to execute these documents on behalf of the legal title holder or principal on whose
              behalf they purport to act.




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   Surrogate Signer


   A surrogate signer is a person who signs a legal document on behalf of and in the name
   of another without reading it or understandin g the document's contents. Surrogate
   signers are hot authorized to execute these documents on behalf of the legal title
   holder or principal on whose behalf they purport to act.


   Robo-Signing is Forgery


  · Forgery is the creation of a false written document or alteration of a genuine one, with
    the intent to defraud. Forgery consists of filling in blanks on a document containing a
    genuine signature, or materially altering or erasing an existing instrument. An
   underlying intent to defraud, based on knowledge of the false nature of the instrument,
   must accompany the ·act. Hill, G. and Hill, K. Forgery, Retrieved August 25, 2014, from http://legal-
   dictionary.thefreedictionary.com/forgery ·


   Forgery is a Felony


   "This is the first time any grand jury in the country has indicted a corporation or a
   high-level executive at a corporation for 'robo-signing,"' Miss_ouri Attorney General
   Chris Koster told The Huffington Post. "The grand jury is alleging that the documents
   have false signatures on them, that the notarizations are fraudulent and that it was all
    done with intent to deceive. If that's true, it makes the [foreclosure] documents
    forgeries." Levine, D.M., In DocX Case, Robo-Signing Forgery Charge Hits Top Executive, Retrieved August
    25, 2014 from http://www.huffi ngtonpost.com/ 2012/02/07 /robo-signing-docx-missouri n 1261369.html


    Perjury

    A crime that occurs when an individual willfully makes a false statement during a
    judicial proceeding, after he or she has taken an oath to speak the truth.

    The common-law crime of perjury is now governed by both state and federal laws. In
    addition, the Mo.del Penal Code, which has been adopte·d in some form by many states
    and promulgated by the Commission on Uniform State Laws, also sets forth the
    following basic elements for the crime of perjury: (1) a false statement is made under
    oath or equivalent affirmation during a judicial proceeding; (2) the statement must be
    material or relevant to the proceeding; and (3) the witness must have the Specific
    Intent to deceive. Perjury; Legal Dictionary, Retrieved December 9, 2015.
    http://legal-dictionary.thefreedictionary.com/perjury




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   Fraud

   A false representation of a matter of fact-:- whether by words or by conduct, by false or
   misleading allegations, or by concealment of what should have been disclosed - that
   deceives and isjntended to deceive . anothe~ so that the individual will act upon it to her
   or his legal injury.

    Fraud is commonly understood as dishonesty calculated for advantage. A person who
    is dishonest may be called a fraud. In the U.S. legal system, fraud is a specific offense
    with certain features .
   .Fraud is most common in the buying or selling of property, including real estate,
    Personal Property, and intangible property, such as stocks, bonds, and copyrights.
    State and federal s'tatutes criminalize fraud, but not all cases rise to the level of
  · _criminality. Prosecutors have discretion in determining which cases to pursue. Victims
    ·may also seek redress in civil court.

   Fraud must be proved by showing that the defendant's actions involved five separate
   el.ements: (1) a false statement of a material fact,(2) knowledge on the part of the
   defendant that the statement is untrue, (3) intent on the part of the defendant to
   deceive the alleged victim, (4) justifiable reliance by the alleged victim on the
  . s,tatement, and (5) injury to the alleged victim as a result. Fraud, Legal Dictionary, Retrieved
   December 9, 2015. http://legal-dictionary.thefreedictionary.com/fraud




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Findings

No evidence or allegation of robo-signing was found on the documents that were
presented in this examination.·
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    MERS as Nominee & Mortgagee

      AboutMERS

      Mortgage Electronic Registration Systems, Inc. (MERS) is an American privately-held
      company that operates an electronic registry. designed to track servicing rights and
      ownership of mortgage loans in the United States.



      MERS and the Debt Instrument

      MERS is not usually not a party in a promissory note. A Mortgage Loan Statement dated
      March 20, 2023 shows that the subject loan is serviced by Freedom Mortgage Corp., the
      originating lender (Exhibit C).

      The servicer is doing this function for itself and not for MERS.



      MERS & the Security Instrument

      The subject Security Deed is assumed to name MERS as nominee for the lender because
      this Security Deed is registered with the MERS® System. Its MERS Identification Number
      is 1000730-0102764156-0 (Exhibit B). ·

      MERS was established in order to facilitate the recording of secuhty instruments with the
      idea that it would be the mortgagee or beneficiary or grantee of record.

                Grantee

                An individual to whom a transfer or convey·ance of property is made.
                https://legal-dictionary.thefreedictionary.com/Grantee


                The Grantee is the buyer, recipient, new owner, or lien holder.
                https://www.ieffersoncountypublichealth.org/209/Grantor-Grantee-
                Definitions#:~:text=The%20Grantee%20is%20the%20buyer,Grantee%20is%20on%20the%20top.
                Nominee



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       A nominee ·is a person
                            . .......
                                      or entity who is requested or named to act for another, such as
                                                   ~ ~




       an agent or. trustee. Hill, G. and· Hill, 1<: 'Nominee. Retrieved August 25, 2014, from http://legal-
       dictionary.thefreedictionary.com/nominee


       A nominee is a party who holds bare legal title for the benefit of others or who receives
       and distributes funds for the benefit of others. USLegal.com. Nominee Law and Legal Definition,
       Retrieved August 25, 2014 from http://definitions.uslegal.com/n/nominee/




The MERS System®

Und~r the_ MERS System®, MERS will hold l~gal title to mortgages, deeds of trust, or
security deeds on behalf of its members both as nominee and mortgagee or beneficiary.
Thus, any member that holds a note secured by real property that assigns that note to
another member by way of an entry into the MERS database need not assign the
security instrument because legal title to it remains in the name of MERS as agent for
the member which holds the corresponding note.

MERS's position is that if a member of MERS directs it to prov:ide a written assignment
of the mortgage or deed of trust or security deed, MERS has the legal authority as agent
of each of its members to assign the security instrument to the member which is
currently holding the note as reflected in the MERS database. Mandel man, M., New Bankruptcy
Court Decision Sounds the Alarm - The USS MERS is Going Down, Retrieved & abridged August 25, 2014 from
http://mandelman.ml-implode.com/2011/02/new-bankruptcy-court-dedsion-sounds-the-alarm-%E2%80%93-the-uss-
mers-is-going-down/




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Interpretation of the Role of MERS

1. MERS is assumed to be not a party inf· the promissory note.
                                    •'



2. The role of MERS in.the Security Deed is discussed as follows:

    The Security Deed is assumed to state that MERS is:

    2.1.       acting solely as nominee for the lender, and

    2.2.       the grantee.

 · The first statement means that MERS, as nominee, is only an agent for the lender while
· the second means that MERS, as beneficiary, is a principal in this security instrument.
   These contradict laws that presuppose that an agent and its principal must be two
 different persons or entities.

           Principal

           A principal is a person who autho.rizes an agent to act to create one or more legal
           relationships with a third party. This branch of law is called agency and relies on the
           common law proposition that he who acts through another, acts personally. Principal
           (Commercial Law), Retrieved August 25;· 2014, from
           http:ljencyclopedia.thefreedictionary.com/Principal+(commercial+law)




           Agent

           An agent is a person who is authorized to act for another through employment, by
           contract, or apparent authority. The importance is that the agent can bind the principal
           by contract or create liability of he/she causes injury whi~e in the scope of the agency.
           Hill, G. and Hill, K. Agent, Retrieved August 25, 2014, from
           http://legal-dictionary.thefreedict ionary.com/agent




 Act by MERS Affecting the Security Deed

 No document was presented in this examination which shows an act that was executed
 by MERS which affected this Security Deed.
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    Securitization

      Securitization in General

         Definition

         Securitization is the financial process of pooling receivables, such as residential
         mortgage loans, and using them as guarantee for the issuance of investment
         certificates which are the sold to the investing public. The collections from the
         principal and the interest on the loans are used to redeem the certificates and pay for
         their interest.



         Purpose

         In general, the purpose of securitization is to raise money in a relatively shorter period
         than it takes to collect on the loans. For example, while it may normally take 20 years
         to redeem 80% of the money being lent to various borrowers from their regular
         monthly amortizations, the same amount can be generated in as short as three to six
         months through securitization.

         The money raised from securitization is then used for new lending to other borrowers
         for the same type of loans and the new loans can also be pooled for yet another round
         of securitization.

         The soar in the demand for housing that started around the late 1.990s resulted in the
         correspondi ng rise in the demand for funding on residential home mortgages. The
         purpose of securitization had to be achieved over and over again and the securitization
         process had to be repeated as many times - but with a certain urgency. These required
         the establishme nt of channels through which loans can be quickly pooled into a central
          operating unit, making them ready for securitizatio n.




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        At first, the network which these channels connected consisted of the central lender
        and its subsidiaries, affiliates, and correspondents. Soon small independent lenders
        joined in the fray. The re~-~-h of the pr.incipal._networks have to be extended. This gave
        rise to warehousel~ndingJ:                 ' ' ' . _._
                                '   '   ..-,   ,, ;,t;·:




         Parties

        The business of securitization is handled by a Real Estate Mortgage Investment
        Conduit (REMIC). In the United States a REMIC -usually takes the form of a trust that
        was created by different entities. ·In most trusts most of these entities are affiliates of
        each other except the trustee.

        In usual practice, a securitization trust usually has the following parties:

        •    Originator - the party responsible for generating loans for the trust, either by
             lending the loans themselves or by acquiring them from other originators. A trust
             can have more than one originator.

        •    Seller and/ or sponsor - the party who pools the loans from the originators and sells
             them to the depositor. In some trusts the seller and the sponsor are the same entity,
             in others they are diffe~ent, whHe in still others there is only a sponsor or a seller.
             When the sponsor is different from the seller, an originator is sometimes referred
             to as a seller.

         •   Depositor -:-- the party who simultaneously sells the loans to the trustee. Some early
             trusts did not have sellers or sponsors. The depositors acquired the loans directly
             from the originating lenders or originators.

        •    Servicer or master servicer - the party who services the loans on behalf of the trust.
             A servicer could have been servicing the loans before they were securitized and
             could have been the originator or seller or sponspr. Most trusts that have several
             servicers also have a master servicer.

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  Warehouse lending is a short-term line of credit facility that is provided by a central lender to a small or remote lender in
order to fund the closing of mortgages. The line is availed from the time a loan is granted by the small lender or purchased by it
from another, and is paid off when the loan is sold by the small lender to the central lender. Warehouse lending made it
possible for the central lender to accumulate loans faster than it could by lending those loans by itself.

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                  .                                                                                  .
8   Trustee -:- the entity who administers t~e trust. Some trusts only have one trustee
    while others have an indenture trustee and ari owner trustees. Still other trusts that
          1
    have a trustee also ·ha:ve another::·party.-1wh.o·acts as a co-trustee or a Delaware
              '       ,-,        ,:    ,•"   l   •   •       -       ,   •   r       • • ' , : •••   •,   •




    trustee.

• Custodian ::.. the entity who; on behalf of the trustee, keeps pqssession of the assets
   and records of the tnist. In some trusts the trustee or indenture trustee also acts as
                            ,   '•:,                     •       ,               •              a                 •    ,




  ·custodian.




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1               .




    The Securitization'of the Sµbject Loan·:·
                               '.:.        ,,   "




       The Search for the Securitization.Trust

       The subject loan was granted on Febrµary 20, 2018 (Exhibit B).

       The originating lender is Freedom Mortgage Corp. (Exhibit Af.

       It could not be ascrfained if the promissory note has been endorsed. No document was
       presented in this examination which shows that the Security.,Deed has been assigned.
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The Chain of Title

  Chain of Title in General

     Chain of Title, Definition

     Chain of title refers to the history of passing of title ownership to real property from
     the present owner back to the original owner. A record of title documents may be
     maintained by a registry office or civil law notary. Chains of title include notations of
     deeds, judgments of distribution from estates, certificates of death of a joint tenant,
     foreclosures, judgments of quiet title, and other recorded transfers of title to real
     property. http://definitions.uslegal.com/c/chain-of-title/


             Endorsement

             Endorsement is the act of the owner or payee signing his/her name on the back of a
             check, bill of exchange or other negotiable instrument so as to make it payable to
             another or cashable by another person.

             An endorsement in blank is also known as general endorsement. It specifies no
             particular endorsee and thereafter is payable to bearer and may be negotiated by
             delivery alone. An endorsement in blank is an· unqualified endorsement, and thus the
             endorser thereof makes all warranties to all subsequent holders in due course
             specified in Section 3-4'17, Uniform Commercial Code. Endorsement, Law and Legal Definition,
             Retrieved & abridged, August 25, 2014, from http://definitions.uslegal.com/e/endorsement/


             Assignment

             Assignment is the act of transferring an interest in property or rightto another.
             http://dictionary.law.com/Default.aspx?selected=2451


             An Assignment of Mortgage is therefore defined as a document that transfers the rights
             of the mortgagee in the Mortgage to another person_.

             In order to effectuate an assignment, the general rule is that the assignment must be in
             proper written format and recorded to provide notice of the assignment.
             http:/lwww.uslegalforms.com/assignments/assignment-of-mortgage.htm




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The Sequence of Transactions

The sequence of the required and the actual transactions pertaining to the subject loan
and security instruments can be traced as follows:


 Seq.
 No.            Date             Promissory Note                    Security Deed


  1      February 20,   Loan Granting                    Execution of Deed
         2018           Conrad J. James, Jr., Borrower   Conrad J. James, Jr., Borrower
                        Freedom Mortgage Corp.           Freedom Mortgage Corp.
                        Originating Lender               Originating Lender
                                                         MERS, Nominee & Grantee




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     Explanation of theS~guence

       1. Loan Granting and E_xecutioh of Deed .
                          .t'_   <"'         : ·.   _-:,..- >·:,,,::-.,   ,
          The subject loan: was granted on February 20, 20JH (Exhibit CJ.

          The ·parties in the pr:omissory note· are assumed to be Conrad J. Ja.mes, Jr., the
          borrower and Freedom Mortgage Corp., the originating lender.

          The Security Deed is assumed to have been executed . on the same date. The
          Voluntary Liens Report states that the parties are the borrower and the originating
          lender. MERS fa assumed to be a party in this Security_ .Deed as nominee for the
          lender and grantee because this Security Deed is registered with the MERS®
          System (ExhibitB).
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Examiners' Comments

It could not be ascettained if the :prmnissory note has been endorsed. No
document was presehted ·in this. exkminatiOn which shoirs that the Security
                     .                                                   .
Deed has been assigned.

The burden of proof lies with Freedom Mortgage Corp. to prove that it still has
in its possession both the i:mendorsed' promissory note iand ·the unassigned
Security Deed.




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Foreclosure

  Foreclosure in General

  Foreclosure is the procedure by· which a party who has loaned money secured by a
  mortgage or deed of trust on real property Car h~s an µnpaid. judgment), forces
                '                                                                           .
                                                                                               the sale of
  the real property to recover the money due, unpaid interest, plus the costs of foreclosure,
  after the debtor fails to make payment. ·Fore.closure .Law and Legal Definition; Retrieved August 25, 2014,
  from http://definitions.uslegal.com/f/foreclosure/




  Foreclosure Transactions

  The chain· of title is a possible fraudulent chain.• Thus the note itself backing the debt,
  both could possibly be considered fraud, The ·debt itself being transferred could be
  fraudulently transferred.

  This creates question as to the validity of the note, and could mean the note itself could
  be void. Thus any transfers of this debt(loan) to any financial instution is fraudulent,
  since the chain of ownership is not perfected. In the landmark case Glaski vs Bank of
  America, it was ruled in favour of the homeowner. It was ruled that the foreclosing entity
  must have both original note and deed ?ftrust at the time of foreclosure.

  Although the ch~in,af fite/chain of ownerhippossiblynotperfected. Whkh creates
  argument against any~one trying t,o foreclose.

      s Original Note must be in possession of the foreclosing' entity in order to foreclose,
        according to the case Glaski vs Bank of America
      • On this property, it does not appear that the financial entities _have poessession of
        the original note since an original· copy has· not yet been furnished. Thus they
        cannot foreclose. Nor do they have any right to the property, directly or indirectly.
  Thus at this time, no financial entity or company can foreclose due ·to the original note
  argument.




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      Affirmative Defenses

      Breach of Contract
      Definition: An accord and satisfaction is a legal contract whereby two parties agree to discharge a tort claim,
      contract, or other liability for an amount based on terms that differ from the original amount of the contract or
      claim.
      Accord & satisfaction




      Accord & Satisfaction
      Requires a mortgage which is paid in full. Proof which is the assignment of mortgage. Once the mortgage is paid in
      full, the mortgage has to be transferred back into the original owners name free and clear.


      Technically speaking according to this provision, the mortgage loan/lien has been paid in full.


      When a mortgage is sold to another company, the mortgage lien has been technically satisfied. The originating
      lender must put the property title back into the homeowners name.


      Provision 23 in the mortgage contract document states the following


      The highlighted wording _here is "Upon payment pf all sums secured by this Security Instrument, Lender shall
                                       .   '                                           :                   '

      release this Security Instrument."
      The "payment of all sums" was received when the loan was sold according to the assignment filed below on the
      property with MERS involved.


      This this loan was "sold". Paid in full. Thus this loan has been satisfied in full.


      An accord and satisfaction has occurred on this mortgage loan with _the assignment on record using the actual
      documents themselves are proof.


      Thus this loan should be adjusted from the property, or proper negotiations must be given to redo the terms,
      balance of this loan.


          •    The loan should be placed back into .the h'o-meo~neirs :f1_a·me and the. lender should 'back away of any
               baseless claims they are making for enforcement of this loan. Since it ha~ been paid off technically.
          •    Lender must release this security instrument using· the verbiage of the lenders own contract on the
               mortgage loan contract
          •    Any foreclosure proceedings against the property in question are completely fraudulent and must be halted
               and voided immediately.



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CASE




Weiss V Phillips 2017 NYSlipOp 08209- Novetnb.er·21, 2017




Summary



Facts: In this case before the New York Appellate Division (First Department), defendant Edward Phillips purchased
two distressed properties, one of which he transferred to a relative. The two agreed the relative would obtain a
mortgage on the property, which Phillips would pay, and would transfer the property back to Phillips at a later date.
Four years later, Phillips's attorney sent a paralegal to obtain the relative's signature on a blank deed in order to.
transfer the property back to Phillips. lnstead,the paralegal inserted his mother's. narne' as the grantee on.the· deed,
and the mother later deeded the prnpertyto herselfandthe para-legaLOn.·or about that same date, plaintiff Peter
Weiss lent $500,000 to the paralegal and his mother in exchange for a note and mortgage on the property. At this
point, the loan obtained by Phillips's relative remained unpaid, with about $450,000 due. When Phillips learned
about the fraudulent transactions, he filed a lawsuit, which was settled when the paralegal and his mother agreed
to transfer tit!~ on ~he property pack t~ Phillips.                                       ·




After settling the lawsuit, Phillips learned that the loan with Weiss was in default and that Weiss intended to
foreclose on the property. Phillips thus executed a Consolidated Extension Mortgage Agreement:Note (CEMA) with
Weiss through which Phillips acknowledged the validity of Weiss's loan and mortgage on the property and agreed
to waive all defenses and counterclaims in exchange for a one~year extension of the loan. After the year passed,
Weiss commenced this action and filed a motion for summary judgment se~king to forec:lose. The trial:court
granted Weiss's motion ·over Phillips's objections, including that the mortgage was unenforceable b¢cause it was
based on a void deed.




Holding: On appeal;Jhe New York Appellate Division (First Departm·ent) affirmed the trialcourt's decision in an
                                                                                      0




opin"ion authored .by Justi~e Re~~ick. Am.~ni(o~hei-:th'(ng~;:·t·h,e cou~t hellth.atthe deep here was the result.of a
fraudulent indu.cem'e~t and not a forgery, whkh·:~ade.lt o'ply ~oicl~ble rather tha~ vqid·. Furth~r, contrary to
Phillips's argur,.;ents, the court held that Weiss was a bona.fide e~curnbrani:er due to the CEMA's provision that
Phillips acknowledged and ratified Weiss's rights under the loan documents and waived any claims or defenses
regarding the same. Additionally, the court rejected Phillips's claim that.the CEMA was unconscionable and that he
did not understand its terms. Phillips executed it-with the advice of counsel, in part because of counsel's advice that
Weiss might have an equitable subrogati1:m-:.91aim because p:urportedly $4io;ooo ·of the $500,000 in loan proceeds
from his·loan were used to discharge Phillips's rela'tive's mortgage on the property. The court furtherfound that
                                               ,·               -   -                         .   '       -

this was not a typical foreclosure mandating the production ofthe. promissory note tied to the mortgage before the
foreclosure could proceed. This was so because Phillips acknowledged Weiss'sTight to foreclose in the CEMA and
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there was no question that Weiss was the holder of the note and mortgage as evidenced by the CEMA and the
parties' deposition testimony. As such, the court held that summary judgment was appropriate.




Justice Gesmer authored a lengthy concurrence in part and dissent in part. The focus on the dissent was the
argument that UCC 3-804 required Weiss to produce the original Note to foreclose or explain how it was lost or
destroyed. The dissent also found that the CEMA was ambiguous on whether Phillips was assuming responsibility to
pay the mortgage and questioned whether Weiss was a bona fide encumbrancer as he did no investigation into the
fraudsters' creditworthiness or the bona fides of the property.




Relevance to the title industry: This decision i,s a reminder of the importance of having a party acknowledge the
validity of title or a lien in documents resolving title disputes whether th.ose documents take the form of a
settlement agreement, a mo_dification or an extension of a ,mortgage. Weiss unknowingly made a $500,000 loan
secured by a mortgage on a property that the borrowers obtained via fraud. Through the CEMA, however, Weiss
ensured that the mortgage was enforceable against the property by his. having the property's. "true" owner be a
party to the CEMA and acknowledge the mortgage lien. Additionally, the decision reemphasizes the importance of
the doctrine of equitable subrogation to lenders or title:insurance companies which, accordi_ng to Phillips's
attorney, was part of the reason Phillips agreed to execute the CEMA and ratify the mortgage.




https ://law. justia .com/ cases/ new-yo rk/a ppe Ilate-d ivision-first-depa rtment/2017 /810090-10-3935. htm I




    1.   FRAUD CASES




US Bank N.A. v Nelson - January 24, 2019




Summary
            Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 105 of 164



The question in this case is whether a-foreclosure defend 9nt-preserves the defense of lack of standing if. the answer
denies the plaintiff's allegation of standing but does not ~eparately plead lack of standing as an affirmative defense.




The facts are straightforward. Defendants defaulted on a loan secured by a mortgage, and US Bank commenced this
action to foreclose on the loan: The complaint alleged that US Bank was"the ow~er and.holder" of the mortgage
being foreclosed. Defendants' answers dellied in(ormati6n su(fid~nt.to confirm the truth_ of that.allegation, but did
not separately alle-~e that plaint)ff lacked standing to comme_nce tile action .. Supreme Cburt'granted US Bank's
motion for a judgment
                  ' .
                      of foreclosure
                       ~      '  '.
                                  ,
                                      and denied defendants'
                                     ' .
                                      ,                 :''
                                                             motion to dismiss for, among other reasons, lack of
standing.




A divided panel of the Second Department affirmed. The majority noted that, a_s· a general matter, a defendant is
not required to affirmative_ly plead in its answer tha1 the plaintiff.failed to allege some essential element of a claim;
it is enough to simply deny t_he· plaintiff's alleg~tions. But a defendant is required to affirmatively plead any matter
that is not the plaintiff's burden to prove as part of the claim. And standing is not an essential element of a
foreclosure claim; the issue arises only if defendant raises it. So, the majority held, a defendant could forfeit the
defense of lack of standing by failing to affirmatively plead it in the answer or raise the defense in a pre-answer ·
motion to dismiss. And while the majority stressed that no "magic words" or "ritualistic formulation" was required,
a "mere denial of fac~ual allegations will not suffice."•·.




A single judge dissented. The dissent.er concluded that a denial of the plaintiff'sfactuai° allegations of standing
would put a plaintiff on notice that standing
                                        .     would be in issue. And .given the notice function
                                                                                         .
                                                                                                of pleading, such a
denial should be sufficient to plead the defense of lack of standing, regardless whether it is expressly labeled a
"defense" or an "affirmative defense."




U.S. BANK NATIONALASSOCIATION v..SILVANA SOTILLO -June 5, 2017




xxxxx ................... "We review a grant of a motion to dismiss ·;;i complaint for failure to state a cause of action de
novo, applying the same standard under R.ule 4:6-2(e) that governed the motion court." Wreden v: Township of
Lafayette, 436 N.J. Super. 117, 124 (App. Div. 2014). Thus, we are "limited to examining the. legal sufficiency of the
facts alleged on the face of the: co~plaint.11
                                      ,'
                                               l\lostram.e v.
                                                           . Santiago,. 213 N.J. 109, ·127 (2013) {tju~ting Printing Mart-
Morristown v. Sharp Elecs. Corp., 116 N.J; 739,746 {1989)). We are required to '"search[] the complaint in depth


                                                                                                                               35
          Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 106 of 164
                                        .
~------------~------·~---. ·-- ··---~---··----,,.-····•-·--·--·-~---·--·~--------------------~
                                                       '   '     '




     and with liberality to ascertain whether the fundament of a cause of action may be gleaned even from an obscure
     statement of claim, opportunity being given to amend if necessary.' .. :....................... xxxxxxxxxxxxxx




     xxxxx ..................... that there is no genuine issue as to any material fact challenged and that the moving party is
     entitled to a judgement or order as a matter of law." R. 4:46-2(c). The court must "consider whether the competent
     evidential materials presented, wh.en viewed in the lightrnostfavorable
                                                             .    .          to the non-moving
                                                                                         .
                                                                                               party in consideration
     of the applicable evidentiary standard, are sufficient to permit a rational factfinder to resolve the alleged disputed
     issue in favor of the non-moving party." Brill v. Guardian Life Ins. Co. of Am., 142 N.J. 520,523 (1995) .
     .. .. .. .. .. ... .. .. xxxxxxxxxxxxxxx




     We have held "an assignee of a [contract] can be held liable under the CFA, for its own unconscionable commercial
     activities in the subsequent performance of the assigned contract." Jefferson Loan Co., Inc. v. Session, 397 N.J.
     Super. 520,533 (App. Div. 2008). We made clear "[o]ur holding is limited to an assignee's own unconscionable
     commercial ,practices ..... , not an assignee's. derivative liability for.the actions of the assignor of the [contract]." Id.
     at 538.4




     Xxxxx ................ a transfer of the negotiable instrument to a holder in due course to whom the mortgage is also
     assigned will enable the assignee to enforce the mortgage (as well as the negotiable instrument) according to its
     terms, free and clear of any personal defenses the mortgagor may have against the assignor. This results from the
     view that the mortgage is mere "incident" or "accessory" to the debt and when the debt is embodied in a
     negotiable instrument the quality of negotiability is necessarily imparted to the accompanying mortgage.




     N.J.S.A. 12A:3-3O5(a) in turn provides such an obligor may assert real defenses, namely




     (1) a defense of the obligor based on infancy of the obligor to the extent it is a defense to a simple contract, duress,
     lack of legal capacity, or illegality of the transaction which, under other law, nullifies the obligation of the obligor,
     fraud that induced the obligor to sign the instrument with neither knowledge nor reasonable opportunity to learn
     of its character or its essential terms, or discharge of the obligor in insolvency proceedings[,]




     (2) a defense of the obligor stated in another section of this chapter or a defense of the obligor that would be
     available if the person entitled to enforce the instrument were enforcing a right to payment under a simple

I

I
     contract; [or]

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         -------------~------------------------
                                                                                                                                  _!~I
                          Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 107 of 164
                                        . ?~:~t~►.,                               ··: >··::.).~~··,·                    .. -;_. .· ,• .:_,:.

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         {3) a claini:in recoupn,ent.of the)QoUgq'r'ag'ainst tlie·odg([iafi~a.YW~ oftli1:l"instrument ihhe:cla:im arose from.the
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         transaction that-gav~- ris~ to th'J)'.Hit'rJ'~~:Att.]. .                                    '< . '        '·.;i{tfft\?{\!%> ' . ' ,
                                                                   •,'> ,' .,' ~ ·<:_\::_t,~•;.i(i~•
                                                                           .·, -:..~
                                                                                                                                               c'




               2. VIOLATIONS OF TILA




          SUMMARY



          Truth   i~ Lending.~ct ·
          The panel reversed the district court's dismissa:1 of an

          action brought by a borrower against Bank of America, N.A.,

          alleging claims under the Truth in Lending.Act (''.TILAJ                                                                                  •   I.




          after the bank declared thebo~rower in default ori:a:fbari an~.. ,,,-.

          initiated R'Ori'-JUdi~lal foreclosure proceed_ipgsi ,

        , If a creditor
                  .
                        fails
                         :
                               tciJn_ake. r~quir;ed
                              ··.' .       ..,.           ·' . ... urider_,;..: .
                                                    disclosures  ,,•




          TILA, borrowers are aliowed th'ree years
                                              . . from the loan,.s .         ,




          consummatidli date to.rescihcH:e_rfain lo_ans. -15 U.S.C.

          § 1635(f). The borrower sent the bank notice of intent to

          rescind the loan within ·three years of the s;onsummation date.

          The panel held that undeUesinoski·v. Countrywide Home_
                                                .                                                              .


          Loans, 135 S. Ct. 790,
                              .
                                 792 (2015);
                                        . ' -
                                              borrowers
                                                  :· .
                                                        m~y affe~t
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          resdssion of such' a Iban simply,.by notifyirig the ~reditCJr of ..

          their iptenU9 re,scind yvithi[I the three~yea,~ pe,~ioci'.fto~ ttle..
                      •        '   "•               •   e   ,,         '               •               •   /:•••   •    '
           Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 108 of 164




loan's consummation date. The panel further held that

because TILA did not include a statute of limitations

outlining when an action to enforce such a rescission must be

brought, courts must borrow the most analogous state law

statute of limitations and apply that limitation period to TILA

rescission enforcement claims. The panel held that in

Washington, the state's six-year contract statute of limitations

was the most analogous statute. The panel rejected the

district court's application of TILA's one-year statute of

limitations for legal damages claims. The panel also rejected

** This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.

HOANG V. BANK OF AMERICA 3

the bank's argument that Washington's two-year catch-all

statute of limitations should apply. Because the borrower

brought this action within six years, the district court erred in

dismissing the TILA claim as time barred.

The panel held that the district court improperly denied

the borrower leave .to amend the complaint. The district court

made its determination based on its deter-mination that

amendment would be futile because the claims were timebarred.

The panel held that because the borrower's TILA

 rescission enforcement claim was not time-barred, an

 amendment by the borrower would not be futile.




 OPINION

 N.R. SMITH, Circuit Judge:

                                                                              38
          Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 109 of 164




If a creditor fails to make required disclosures under the

Truth in Lending Act {TILA), borrowers are allowed three

years from the loan's consummation date to rescind certain

loans.115 U.S.C. § 1635(f). Borrowers _may effect that

rescission simply by notifying the creditor of their intent to

rescind within the three-year p~riod; Jesir10ski v. Countrywide

Home Loans, 135 S. Ct. 790, 792 {2015). TILA does not

include a statute of limitations outlining when an action to

enforce such a rescission must be brought. Without a statute

of limitations in TILA, courts must first borrow the most

analogous state law statute oflimitations·and apply that

limitation period to TILA rescission enforcement claims. Cty.

of Oneida v. Oneida Indian Nation of N. Y. State, 470 U.S.

226, 240 {1985). In Washington~ the state's six-year contract

statute of limitations is the most analogous statute. We have

jurisdiction under 28 U.S.C. § 1291, and we reverse and

remand for further proceedings.




                                                                             39
              Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 110 of 164



    3.     LACK OF JURISDICTION




U.S. BANK NATIONAL ASSOCiATION v. MERVIN HODGE - Oct~ber 18, 2018



    11
         Service by mail is not effective ... unless plaintiff first made 'a

reasonable and good faith attempt' to serve defendant personally. 11 City of

Passaic v. Shennett, 390 N.J. Super 475,483 (App. Div. 2007)

3(a)). "A party's good faith effort to personally serve a defendant must be

'described with specificity in the proof of service."' Ibid. (quoting R. 4:4-3).


         The Chapter 7 discharge of debt did not impact.plaintiffs mortgage lien.

The Order of Discharge specifically notes "a creditor may have the right to

enforce a vali'd lien, such as a mortgage or security interest, against the debtor's

property after the bankruptcy, if that lien was not avoided or eliminated in the

bankruptcy case."




SHAROVAV WELLS-FARGO BANK, N.A.· - January3, 2019




xxx ........ "with respect to an action pursuant to RPAPL 1501(4), a person having an estate or an interest in real
property subject to a mortgage can seek to cancel and discharge that encumbrance where the period allowed by
the applicable statute of limitations for the commencement of an action to foreclose the mortgage has expired,
provided that the mortgagee or its successor was not in possession of the subject real property at the time the
action to cancel and discharge the mortgage was commenced ........ xxxxxxxxxxxx




                                                                                                                      40
                 Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 111 of 164

1--
      King v. Wells Fargo Bank, N.A.




      xxx . .............. entire controversy doctrine, codified in Rule:4:30A of the New Jersey Court Rules, "embodies the
      principle that the adjudication of a legal controversy shou_ld occur in one litigation in only one court.". The doctrine
      requires litigants to assert all affirmative claims relating to the controversy between them in one action, and to Join
                            -                                                                         -


      all parties with a material interest in the controversy, or be forever barred from bringing_a subsequent action
      involving the same underlying facts ......... xxxxx ........ In other words, any claim challenging theforeclosure-plaintiff's
      "right to foreclose" is "germane" to a foreclosure action and must be raised the\e.




                                                                                                                                  41
          Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 112 of 164



Arguments against Foreclosure


Considering all of the fraud involved with securitization & mortgages, these important points/consideration must

be considered.




    •   Original Note has been lost or destroyed

    •   Note and Deed of Trust have been separated

    •   Possible MERS fraud involved with this loan

    •   The right.party to for~closure must have original note, as well as deed oftrust to foreclosure,. in this case no

        one·entity"does. Thus foreclosing on this property is completely fraudulent.




According to-the landmark case, Glaski Vs. Bank of America. The case was determined that in order for a
                '.••:·   ,

company/financial entity to foreclose on a property, the company/financial entity must have both the mortgage

note and the deed of trust together at the time of foreclosure. On this specific loan this is not the case, and the

foreclosing entity does not have both the original mortgage note, nor the deed of trust. Hence the conclusion is

that they cannotforeclose.



Law Analysis/Citation

The trial court has confirmed it. Now the appellee's brief confirms it. There is no legal precedent for this case to be

on the Judicial Branch website. None has been cited, appellant has found no such precedent in Connecticut or for

that matter in th_e United States. And this Court agrees ... 15 months ago. JP Morgan Chase Bank, N.A vs. Virgulak,
                                                       '
192 Conn.App. 688
              .
                  (2019.}. And if appellant. is mistaken, he is in great company, because neither the trial court nor
                             ..
the plaintiff, nor the Appellate Court has been able to cite a case --- a holding. This Court agrees with appellant and

with a holding:


The plaintiff has cited no authority, and we have found none, that stands for the proposition that ... a court can

foreclose a mortgage that purports to secure a nonexistent debt. Id., supra at 705.


Case Citation


JP Morgan Chase Bank vs Dirgulak. Case Citation: 218A.3d




                                                                                                                       42
                         Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 113 of 164



Chain ,~fTitle: : . -.:




                                                                                                                                                                                                                                                           '
                     .                                         '



     ruled that the· foreclosing entity must have both original note and deed of tit'.lst -at the.time of foreclosur:e .
                                                                         .   '                      .                                                                      ·,       '                                                          '




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                               ' ,,.                                                                                                   -,




Although -th~ chain of tlte/chain of'o~i/herhip fa p"ossiblV,~bt perfectE!d;WhlGh c:r~~tesar:gurri'entag~inst anyone
trying to toredo;e:-      ..    . . . ·. .        . . . . ,· :',:'.·- .. •· .. ,· :   ... :. . . , . .       . .




                     •           Onthis,property,. itcfoes not appear that the fihancl~fe'ntities,have;possess.ion;ofthe:ci~igi"qal rrote,.,. ·.
                                thus tJey                     ~in not foreclos'e: Nor do they have any, rig~tt~ ttte pio.~~rty, direc:tJY or indr~ec~ly. <
                                                                                                                                                    1                                                                                                                             .


                     • ' ' J,ou;·,at.t~:is'tin,e, no fjh~nci~I entity or; c~mp~ny can fored~~e.quE! tq,toe origihil note argument.
                                       <                           •                   ~• • >   C       ,.-    '   '•   ,   • ••                    \ .. ,         •                        >             '•   •       ,,   •   <   < ',           •   >   '     c   ~




                .             '•


 MERS & The .Debt                                                                           -:~:- ~{
      :: .... • .. ' ·':: ;: ',/ ·' '\'>·;,,' ,:'.:•,, ·.,} . . '·.: /,<".',>:.' : . . \:;:.;it.,;.,, ,:_:;.::.•• ,''. ,, " ... · ... · . ".<'.' the· .
  . MERS:;doeS·'fecord::thE! .assign,nJem in;the acWfil .• r~afprope~y:recorqs                       :svste111./ThE    !• act.uaknot~     itself; i~
    cre~tion•.of!1l11~ '.legal~~6[1git'i6~,fd hJ~ithe :lo~h'l;o6t~                      ;&i,l~~                                    is      actual ,lega;     ~~,R~;f                                J~{;~,'l,-t,~s~i&e,:rih~e .ine'
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                                           ,-:i                                   •   •"''                    ,,                                <T                     ,,•,.            '




          • . MERS,does' record t·he ·assig~ment in the actuah'eal property re·co~ds s'ysteiliithei~f~iuali n~;e itself, .is the
             ,c;eation. 6f':theCl~galiobligati6n ~; have the .l~a~/n~te. rep~Jd::,for
                                                                              .
                                                                                      th;E/deb/ ;hjs ilO~e
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                                                                                                                            legal
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                               '           -                       ,                                                               '                          .~       ,




                                                                                                                                                                                                                                                                                      ,' 43.
            Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 114 of 164




   •   MERS is not legally entitled to receive monthly payments from the borrower. MERS cannot legally be

       entitled to benefit from a foreclosure in any sale of the home in a foreclosure sale.




   •   MERS does not own the mortgage note, thus it cannot attempt to foreclose.



   •   MERS cannot have any. legal claim or interest in the loan interest, t~e debt, security instrument which MERS

       serves as a nominee.



   •   Regarding MERS policy and legalities, only a MERS. m~mb~r can transferto another MERS member. A non

       MERS member cannot conduct transf~rs for a MERS member and vice versa.



Note: MERS section included here to give a background information to mers as it relates to "other'' mortgages

which mers has been involved in.




   The chain of title is a possible fraudulent chain. Thus the note itself backing the debt,
   both could possibly be co1,1sidered fraud. The debt itself being transferred could be
   fraudulently transferred.

   This creates question as to the validity of the note, and could mean the note itself could
   be void. Thus any transfers of this ·debt(loan) to any financial instution is fraudulent,
                              '                                '

   since the chain of ownership is not perfected. In the landmark case Glaski vs ·Bank of
   America, it was ruled in favour of the homeowner. It was ruled that the foreclosing entity
   must have both original note and deed of trust at the time of foreclosure.


Although the chain of tite/chain of ownership possibly not perfected. Which creates
argument against anyone trying to foreclose.

       4)    Original Note must be in possession of the foreclosing entity in order to foreclose,
         according to the case Glaski vs Bank of America
       • On this property, it does· not appear that the financial entities have poessession of
         the original note since an original copy has not yet been furnished. Thus they
         cannot foreclose. Nor .do they have any right to the property, directly or indirectly.
       • Thus at this time, no financial entity or company can foreclose due to the original
         note argument.

                                                                                                                 44
           Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 115 of 164



CASES ,

CAPITAL ONE, N.Av. LAURENCE F,RANKLIN - November 4, 20.19 ..


Summary:




If Held Separately, Note and M.?r~g~ge A~signment ~oth Ne~d.edto.For,eclose, ,court Says'
                                                              .                             .

A New Jersey appeals court has held in a·published rullng that a party seeking to foreclose on a mortgage must

have both the promissory note .and a valid assignment of mortgage.




A New Jersey appeals court has held in a published ruling that a party seeking to foreclose on a mortgage must have

both the promissory note and a valid assignment of mortgage.. But in a case where Capital One Bank brought a

foreclosure action on a property when it possessed the mortgage but not the note, the appeals court said

irregularities did not warrant reversal. James Peck IV appealed the Aug. 26, 2016, judgment of foreclosure by

Capital One, which was the loan servicer for Freddie M~c. Peck, an attorney who litigated the case prose,

maintained that only Freddie Mac• had standing to- fore,close, , Peck  represented
                                                                            , •.
                                                                                   himself
                                                                                      ' '
                                                                                           until
                                                                                            .
                                                                                                 his death in July 2016,
                                                                                                                      .
     ,             .    ,'                                          'l    .


when counsel was retained. According to the Appellat~ Division's opinion Monday, Peck took out a $258,750

mortgage with Chevy Chase Bank in March _2005, and a few months .later the bank sold the note to Freddie Mac but

retained the mortgage. In 2009, Chevy Chase merged with Capital One, and in 2010 Peck defaulted on the

mortgage. A first attempt by Capital cine to foreclose on Peck's property was dismissed without prejudice in June
                         •   •          '       '   ,,   <,                                     '       ~   '   '   •




2012 becau.se the bank failed to comply with a court-ordered deposition of an employee who could shed light on

possible mortgage irregularities, the court-said. In those proceedings, Capital One brought the original note to

court, but it was returned to Freddie Mac later that year. In February 2013, Capital One started the present

foreclosure proceedings. Peck contested the action, but a judge dismissed his answer and referred the case to the

Office of Foreclosure for entry of final judgment as uncontested. Peck's motion for reconsideration was denied in

May 2016, and his motion for su·mmary ju,dgment-.,-which he apparently filed sh?rtl.v, before his death-was .denied

in November 2016, according to th~ Appellate Division. On appeal· before· Judges Jose Fuentes, Ellen Koblitz and
Thomas Manahan, Peck's estate, represented by Nicholas Stratton of Stratton Stepp in Glen Rock, asserted that

Freddie Mac, as owner of the loan, is "the only entity with the right to enforce .the mort~age." The Appellate

Division panel said that, when the.. note is separated from the mortgage, '"the plaintiff' in a foreclosure action must
                     ;                      "    .              . ,         .                      '


demonstrate both possession of the note and a valid 'mortgage assign.merit prio.rto filing the corn plaint." Such a

policy precludes "the possibility of one entity foreclosing on the home while the other enforces the. note," Ko blitz

said, writing for the panel. Peck's estate conceded that Freddie Mac, as owner of the note, had the right to

                                                                                                                           45
           Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 116 of 164




foreclose on the home. The estate argued, however, that the mortgage was not legally retained by Chevy Chase

Bank, but followed the note by force of law. "We reject that analysis. The issue is whether Capital One, both the

successor owner and assignee of the mortgage, and the loan s_ervicer, had the right to foreclose," Koblitz wrote. She

cited a 2013 Freddie Mac internal bulletin, which said, "Foreclosures must normally be processed or litigated in the

[s]ervicer's name." Since the defendant was provided more than sufficient notice that Capital One was the servicer
                                    . .        .      ,·


for Freddie Mac, and since Freddie Ma~ publicly declared its policy to foreclose through its servicers, and since

Capital One did possess the note at an earlier foreclosure proceeding as well as an assignment, the court said the

irregularities were not sufficient to reverse the foreclosure judgment. "We do not intend by this decision to

approve the way this foreclosure was prosecuted. The note should have been in Capital One's possession at the

time it filed this foreclosure complaint," Koblitz wrote for the court. Stratton said he was considering an appeal to

the Supreme Court. Calling the ruling "frustrating," "hard to square with other cases" and "super confusing," he

said the ruling holds that, "by operation of law, the mortgage does not follow the note. Previously, if you own the

note, the mortgage follows the note." Stratton, who represents homeowners in foreclosure cases, expressed

concern about the precedentialnature ofthe ruling. "It's a published case-you're going to see this case pop up in

foreclosure mqtters," he said. "I'm not sure anyone ·~knows how t_his is going to play out." The lawyer for Capital
                                 .                      .                          .              .

One, Danielle Weslock of Mccarter & English in Newark, did not return a call about the case.




Investors Bank, Plaintiff-Respondent, v. Javier Torres, Defendant-Appellant, and Mrs. Javier Torres, his wife, and

Dora M. Dillman, Defendants. - 07-01-2020




xxx ... the courts ensure that the defendant will be adequately protected againsta claim to the instrument by a
holder that may appear at some later time ....... xxx




xxxxx ..... N.J.S.A. 12A:3-309 plainly bars a party that possessed a lost promissory note before it was lost from

transferring its interests under that note after the loss ............ xxxx




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          Case 1:23-cv-03097-MHC
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                                 Document 9 Filed 09/11/23 Page 117 of 164
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a. A person not in possession of an instrument is enti.tled to enforce the instrument if the person was in possession

of the instrument and entitled to enforce it when loss of possession occurred, the loss of possession was not the

result of a transfer by the person or.a lawful seizure, and the person cannot reasonably obtain possession of the
                                  '                                                               '                     .
instrument because the instrument was destroyed, its whereabouts cannot be determined, or it is in the wrongful

possession of an unknown person or a,person that cannot.be found or is not amenable to service of process.




Kolbasyuk v. Capital Management Services,
                                  .       LP, No. 18-1260 (2d Cir. 2019) - March12,'2019              '




SUMMARY




A debt collection letter that informs t-he:consumer of the total, present quantity of his or her debt satisfies 15 U.S.C.

1692g notwithstanding its failure to inform the consumer of the debt's constituent components or the precise rates

by which it might later increase. Such a.letter does not violate section 1692e for failure to inform the consumer that

his or her balance:might increase due to'interest or fees when the letter contains the "safe harbor" language

previously ratified in Avila v. Riexinger & Associates, LLC, 817 F.3d 72 (2d Cir.· 2016).




In this case, after plaintiff received a debt collection letter from CMS, he filed suit against the company under the.

Fair Debt Collection Practices Act. The Second Circuit affirmed the district court's dismissal of plaintiff's claims,

holding that CM S's letter complied with sections 1692g and 1692e.




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                 , ,Case        , , ",, ' .::.:),/)iY:: ."/\,\,;:}§·:;;:~;:
                    , , ' ' ·: '1:23-cv-03097-MHC                       Document 9 Filed 09/11/23 Page 118 of 164
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     DebtC:olle:ction Validity

          - . lfa deb_t cannot- be.:v~liqated, there ~an be no :~olle~tion ofit.Jhis, ·
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             Dis,puted .Debts debt collector _                                     a
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                                          until it is vali.dat'ed;· - .· ·                                              .       ' '                              ~




     Additional Argument:                                                                                                               '                            '




     "Where there cfre.·no depositions, admis,sions, or·~·ffid~v_its:tne.cour' .t-
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      The National Bank Act of 1864, Section z"s, i,Such
      associations shall no,t purchase or hold real estat~ in anyother q1se
      or for any otherpurp ose than,as specified in this section; Nor_sh~ll
    · it hold possession :of any real estate un,der'mqrtgage; or::hold the·. , : ·
     title and po~sessi6n:of 'any''r'eal' estat¢j;~,~-~¢hi~ed\o: s"e:d1:rlariy_ d.~bt~ ;' _i
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     duet~ it for a'lo~g~r p~riod than fiv~.y~ar~." ' -·.                                                                                                                 ·                      .-      ·




     The trial_courthaso9rifl,rrrie·cf it;_Nowth~-a~-p~lle~',s 'bri.efconfirms:,it.·Ther_e js. no ·legal
     precedent 'for this· C~se\o be on the Judici~i:·B'ranih,~~bsite. None has been cited, '
     appellant has found no such precedent in Connecticut or for that matter in the United
                                                                                                                                                                                                             48
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 Case Citation




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 Boucher v. Fin. Sys. of Green Ba:y, 880 F,.·~d 392'. ·.
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                      Case 1:23-cv-03097-MHC Document
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                                                           4pon deceptive notices. That is. beca·use the
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Saccameno V,-.u:s·."sa'nkN~tional .



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    defauJ_toveJ 42-months·while rlJaintaining           1116nthiy mortgage p·i;Jyments, 11 u.s.c.                            h~r
    1322(b)(S:). Yn 2011·, Ocwe·n-acqJii~d hetprJvious·s.ervic:~r:· Ocwen·::\nexplicahly, inform.eel
    her that she o·wed $16,000 immediately. Saccameno               continued m~king payments.based on
              .                                             .     .                                                                                                                                                           .


    her plan. Her statements <;:ontinued to fluctµaJe .. In 201?/ the bankruptcy court issued a
                                        ,                                                    ,                                r                                                         1·            •           •                              ,.          '                   •




    notice thatSaccameno ·had completed her p~yments: Qcwen never-'respondE!d{the court.
    entered a discharge order. Withi~•days·an Ocwen e"!lployee ,mistakenly tr-eated the
    discharge! .a_s a·dismissal and reactivated the foreclosure, For about twp years, .Saccameno
    and her auorney faxedher d··ocuments mai'.ly times and: spoketo many-Ocwen employees.
    The foreclosure protocol .remained open. Otew_en: eventually begafftejecting_ her                           ·
    payments. Saccameno-~.u.ed, _citin,g bre_ach ofcontrac:t;Jffe Fair_ Deb;t (~9Uection.,Practices
    Act1 tbe.:He,al Est,ateJett'lf:!ment~rcfcedur:e,~ ~Gt; ·~qd ihe'.:JIJinoi~ po.~~umer_ Fraud: and__ , _
    Deceptive ~usiness. Pr~d:ices ActllCFDBPA),:
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                                                       ~iting,COQS~ht de~r~e~   .
                                                                                     that . Ocwen 'previ'ously                .                                    . .                       '



    had ~ntered with reguiatory bodies, concernjng. inadequate record keeping,· misapplication
    of paymen~s, and poor customer' servic:e. Th~' jury· award~d
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    contract, FDCPA'; and RESPA claims, plus, urjd~r ·IcFDBPA;_.$12,000 in e'conomk/ $70,000 in
    non-economic, and $3,000,000 i~_punitive damages: T~e Seventn ,C'ircuit re·manded. While_
    the jury was-within.its.rights to punish Ocwen, th~- amountofthe award is exc~ssive.



    https://law.justia.com/cases/federal/appell,ate-courts/ca7/19-:156    .9ll~-15_69-2019-11-
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          Case 1:23-cv-03097-MHC            Document        9 Filed· . 09/11/23 Page 121 of 164
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1: McCollough, supra, 637 F.3d 939, which held that a debf collector had violated the FDCPAby serving
"requests for admission" upon a pro se defendant that: ( 1) -"asked the [debtor] to admit facts that [the debt
collector knew] were not true"; and . (2) did not inclucle an explanation that, under Montana law, the
requests would l;>e deemed admitted ifnof respond~d:to within 30 days. The Ninth Circuit concluded that
"the service of.requests for admission containfog false information upon ·a pro se defendant without an
explanation that the requests would be deemed admitted after thirty days constitutes 'unfair or
unconscionable! or 'false, deceptive, or misleading' means to collect a debt." (Id. at p. 952.) In reaching its
holding, the court rejected the debt collector's assertion that improper discovery techniques should be
remedied through "[state] court rules °for civil procedure" rather than through "liability und_er the FDCPA."
(Id. at p. 951.). The court explained.that Congress had "enacted the FDCPA expressly because prior laws for
redressing 'abusive, deceptive, and unfair debt collect.ion practices'were. 'inadequate to protect
consumers.' [Citation.] The statute preempts state laws 'to the extentthat those .laws are inconsistent with
any provision,of[the FDCPA].' [Citation:]" (Ibid.) ·

To demonstrate a violation of.the FDCPA, the moving party must show (among other things) that: (1) the
defendant is a "debt collector" within the meaning of the statute; and (2) the defendant committed some act
or omission in violation Qfthe FDCPA. (See Robinson.v. ManagedAccountsRec,eivables Corp. (C.D. Cal.
2009) 654 F.Supp.2d l 05 L 1057 .) .B.fetches v. DneWesfBank,'13,157013, at * iJ:14 (Cal.Gt: App·: Sep.· 14,
2015)                      . .      . .            :·:' :,     .    .     .      ·,•




15 U.S. Code § 1692g - Validation of debts




  U.S. Code




prev I next


(a) Notice of debt; contentsWithin five days after the initialcommunication with a consumer in connection with the

collection of any debt, a debt collector shall, unless the following information is contained in the initial

communication
  '                                     . debt, send the consumer a written notice containing~
              or the consumer ha~ paid the'




(1) the amount of the debt;


(2) the name of the creditor to whom the debt is owed;


                                                                         . of the notice,
(3) a statement that unless th~' consumer, within thirty days. after receipt      .      .
                                                                                           disputes the validity
                                                                                                        .
                                                                                                                 of the

debt, or any portion thereof, the debt will be assumed to be valid by the debt collector;




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 (4) a statement~hat if the consumer'notifiesthe debtcoll~ctor:in writing w1thirfthethirty~day period that the debt,
                               0



'. or an~ ~orti~n th ereoi,\s:.~;~put:~:d, t'he d~b~{~ilectcir wm :~btai~. ~~rific~t,ion ~f ~ti·e d~bfor:icop'y ~f:a,jud·g~~nt .
 against the consumer and a copy of such verification'or judgment, will' be mailed to th~ consumer
                                                                                              -~                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                            by the debt                '             .
                                                                                                                                                                                                                                                                                                                                                   ·,
 collector; and

 (5) a statement that; i.lp;or\.tlie.·cb'hsurri;er)s:writteri'r~quJ;fwithih'.the°ihirtyld~y period, the.debt c'oll~ctor
          <       '        ,           '                , •        ' • • · · · : , ·,'._:   '        ··.,   • '   ••            :,"·   '    ,, •   ,   '        •   •••   , .. •       •   •   • :       '       - ~,: "•·   ~<       .. • •                     '/•        ••                •   '', ·.-,                   •       ' ;
                                                                                                                                                                                                                                                                                                                                                                                                                   will
 provide the consumer vJith,the n'afne;an'd address of.the' qrigi~a'lcre~i,to'r, if different from.the current creditor.
              '       '.               '       ,' • •;•                   .- f;;:;:, ,•· _. ,•                              '              •"          ,t   ,       ~       '                  • '.',' ,, ,,,_,.                     • '       ,           :..         ••                                        •           '                              '           •   •,I    :           •




 (b) Dispu'ted ~ebts · .
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 If the consumer. notifies the debt collectorJn writing ~ithifl the' thirty-day period· describ~d insubs~ction (a) tha.t ·
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 the .debt, or
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 creditor, the, debt·coUector.shall cease ~~ll~ction of the debt, ~·~
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                                                                          'disputed
                                                                                '
                                                                                    portion,thereof,
                                                                                    .           •'
                                                                                                     until the-debt                                                                                                                                              '                                                                                                                     ,                       '



 collector obtains verification of the debt or a copy of-a judgment; orthe name ·and address ofthe original creditor,
 and a copy of such verifiGation or judgment, or namE:!:arid address of the original credit~r,. is rnailedJo the consumer
 by the debt coflector. Collectiorractivities and communication!i'that do'noi ot~erwlse violat~ this subchapte[ may
 continue du~ing the 30:-day perh::ia re'fe.rrnc:J'to 'in:subsection<(~l unless tli~ cpn~u.r;n~r,h~s-notjfied tl]e debt collector
     ··<"; .· .-,~.. ~"·', ,.    ,~::1:>:. · ",;' '></ '">: ~.::,·.<.'' >:?,"·.>~: ,·,,:·<;~:.' :, ,,~<.://:t~:-<" :.~. ,:\,:.:__.~_·,;. <
                                               >"·,~ .• -,    ,,                                                                           .., , .: . ':
 in writing thatthe debt, or any poitioh
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                                               of the  deb(  is  disputed    '
                                                                               ·_orthafthe       consumer   .
                                                                                                                 requests
                                                                                                                      '        .
                                                                                                                                   the   name  and                                                                               ,                     '


 address of the original creditor. Any collection activitie_s ~nd com~unication during the 30~day period may not ·
                                                                                                                                                                                ;1,.                                                       '                                          '                                                        r                                  '·




 overshadoWbr be inco~sistent with the.distlosure ohhe consumer's right to dispute.the debtor request the name
                                           '                         '                                                                        .
 and address of the. origi~·a1 cred.itor. ·, · ·

 (c) Admission of liability




 The failure of a consumer.to, disp,qte the validity of.a debt under this section: m,aY .not ,be con~trued ~Y any .court as
                                                   ••                    '•            •        ',                               !,,                                               •                 •       >               •                     '                        •    •~       0        :·        '       <   •       <         •            •       •   0        0         •   <       •       •              C   •




 an admission ofliabilityby the consumer;·

 (d) Legal' pleadings



 A communication i'n. the form of a formal pl~adlng
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                                                    in a ·civil action
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                                                                       shalLnot be
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                                                                                           as_'a'n'.iriitial ,communication
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 for·purposes.of subsection ·(a)::

 (e) Notice provisions


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   iequired by title\~, titi~·~ dfGr~m-~,-l.each~~;ileyAcf[l;,_u.s.c::'.~s~1;e~·~~q:),;O~ an;·pro~isi~lorFederal o~-S~ate
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 · 1a_w, sh~ltrl~t bet~~atel~s•:an;inltia't;idJ~wi1~~fib~;j~· ~~~'~i~ti~'lw\{i::a¢·b;\efi1ect:i~'~':¥or ~YfPOS~S of this ~ection.
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 title \Zll.1, §.802, Oct'. 13;:2006, 12JfSta\. 120'0o.r.
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Fair debt collections act usc 1692



§ 805. Communication in connection with ~ebt collection
(a) Communication with the consumer generally
Without the prior consent of the consui:ner given directly to the debt collector_ or the express permission of a
court of competent jurisdiction, a debt 'collector may not communicate with a consumer in connection with
the collection of any debt --

(1) at any unusual time or place or a ti~e or place !di~~ or which should be known fo be inconvenient to
the consumer. In the absence of knowledge of circumstances to the contrary, a debt collector shall assume
that the convenient time for communicating with a consumer is after 8 o'clock antemeridian and before 9
o'clock postmeridian, local time at the consumer's location;

(2) if the debt collector knows the consumer is represented by an attorney with respect to such debt and has
knowledge of, or can readily ascertain, such attorney's name and address, unless the attorney fails to
respond within a reasonable period of time to a communication frorri the debt collector or unless the
attorney consents to direct communication with the. consumer; or

(3) at the consumer's place of employm-ent if the debt collector knows or has reason to know that the
consumer's employer prohibits the consumer from receiving such communication.

(b) Communication with third parties
Except as provided in section 1692b of this title, without the prior consent of the consumer given directly to
the debt collector, or the express permission of a court of competent jurisdiction, or as reasonably necessary
to effectuate a postjudgmentjudicial remedy, a debt collector may not communicate, in connection with the
collection of any debt, with any person other than the consumer, his attorney, a consumer reporting agency
if otherwise permitted by law, the creditor, the attorney of the creditor, or the attorney of the debt collector.

(c) Ceasing communication
If a consumer notifies a d,ebtcollector in writing that the consumer refuses to pay a.debt or that the
consumer wishes the debt collector to cease further communication with the consumer, the debt collector
shall not communicate further with the consumer with respect to such debt, except --

(1) to advise the consumer that the debt collector's further efforts are being terminated;

(2) to notify the consumer that the debt collector or creditor may invoke specified remedies which are
ordinarily invoked by such debt collector or creditor; or

(3) where applicable, to notify the consumer that the debt collector or creditor intends to invoke a specified
remedy.

If such notice from the consumer is made by mail, notification shall be complete upon receipt.


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     § 807. ·False o·r mislead.ing represeiit~tions·, ,
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(10) The use of any false representation or deceptive means to collect or attempt to collect any debt or to
obtain information concerning a consumer.

(11) The failure to disclose in the initial written communication with the consumer and, in addition, if the
initial communication with the consumer is oral, in that initial oral communication, that the debt collector is
attempting to collect a debt and that any information obtained will be used for that purpose, and the failure
to disclose in subsequent communications that the communication is from a debt collector, except that this
paragraph shall not apply to a foi•mal pleading made·iu· connection with a legal action.

(12JThe false representation or implication that accounts have been turned over to innocent purchasers for
value.

(13) The false representation or implic;tion that documents are legal process.

(14) The use of any business, company, or organiz~tion name other than the true name of the debt
collector's business, company, or organization.

(15) The false representation or implication that d~fuments are not legal process forms or do-not require
action by the consumer.

(16) The false representation or impli'cation that a debt collector operates or is employed by a consumer
reporting agency as defined by section 1681 a( f) of.this title.

15 USC 1692f




§ 809. Validation of debts
(a) Notice of debt; contents
Within five days after the initial communication with a consumer in connection with the collection of any
debt, a debt collector shall, unless the following information is contained in the initial communication or
the consumer has paid the debt, send the consumer a written notice containing --

(1) the amount of the debt;

(2) the name of the creditor to whom the debt is owe_d; ·

(3) a statement that unless the consumer, within thirty days after receipt of the notice, disputes the validity
of the debt, ·or any portion thereof, the debt will be assumed to be valid by the debt collector;

(4) a statement that if the consumer notifies the debt collector in writing within the thirty-day period that
the debt, or any portion thereof, is disputed, the debt collector will obtain verification of the debt or a copy
of a judgment against the consumer and a copy of such verification or judgment will be mailed to the
consumer by the debt collector; and


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                             Right of Rescission· Laws & ca·sEflaw's"··
                                           Mortgage Rescission
                        Right of Rescission /Right to Cancel Mortgage Argument

The notice of right to cancel disclosure was not provided to this client/homeow ner. Thus the recent supreme
court ruling on this sensitive matter gives the client/homeow ner grounds to ask for cancellation of the
mortgage/loan . It would be wise for the. foreclosing bank or lender the client/homeow ner is interacting with
to give the client/homeow ner favorable terms or to negotiated with the client/homeow ner in order to avoid
the legal proceedings that might follow considering the severity of these violations by tl~e
bank/lender/foreclosihg entity.




Notice Of Right To Cancel TILA (Truth In Lending Act, 15 USC Section 1601 et seq; 12 CFR Part 266) allows three (3) days
to review Disclosure Documents. The referenced ''Three Day Right To Cancel" must have a trigger to begin. That
trigger is, when the Lender has provided the Borrower with ALL of the required Disclosures under T/LA, and that the
same are true, complete, accurate, and timely provided.

Being as the entire loan/mortgage process and Mortgage Note referenced herein and throughout, was
obtained by wrongful.acts of fraud, fraudulent inducement, concealment and fraudulent
misrepresentation, the Borrower has other recourse, right, and cause of action under numerous State and
Federal statutes.


Pursuant to the United State Supreme Court's decision in Jesinoski v. Countrywide Home Loans, Inc. (2015), 135 S.Ct.
790, TILA gives me, as a borrower, the right to rescind the subject loan until midnight of the third business day
following the consummation of the transaction or the delivery of the disclosures required under TILA. I am hereby
notifying you, as the creditor, of my intention to do so as you and/or your predecessors have failed to satisfy the TILA
disclosure requirements, includin_g but not limited to delivery of a written document to me explaining my rights at the
time of the transaction.

                                          Borrower with true, complete, accurate or timely documents as required.
To this date, Lender
               .    .      --
                      has never provid.ed
                                 .                                            .

ONLY AFTER such provision has been complied with can the "3 DAY RIGHT TO CANCEL" period begin. If the required
full Disclosures have not been provided, then the period in which to CANCEL is extended for up to three (3) years, or
until Lender moves to foreclose. The records thus far evidence that Borrower hasrequested to cancel within the
three (3) year stipulated· time period, while still waiting to receive all truth-in-lending disclosures as required by
 Federal Law, the same of which has never been received.



A close perusal, and audit of Borrower's note/loan documents have revealed certain Disclosure Violations, and that
the Borrower has the remedial right and remedy pursuant to UCC 1-201 {32} (34), inter alia, to invoke their Right Of
Rescission (ROR), as further evidenced by the original NOTICE OF RIGHT TO CANCEL. This letter shall constitute
 NOTICE to all Lender(s), Successor(s), and Beneficiaries assigned, and/or appointed.
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          After sufficient NOTICE has been given to Lender, the Lender is required by Federal Law to CANCEL any lien(s), and to
          CANCEL any security interest on the Borrower's property within twenty (20) days. The Lender must also return any
          money, interest, fee, and/or property to the Borrower, as well as any money/funds given to any person or fiction in
          law/entity in connection with said transaction.




          In accordance with both State and Federal-law or untihender complies; Borrower.may retain the proceeds
          of the transaction. If it should be "i~:p-ractical", or ,;Unfair;' for th~ Borrower to return the property when
          gross discrepancies, fraud, or other wrongful acts are discovered, then he/she/they may offer its
          "Reasonable Value".


          In the event that the Lender should fail, or refuse to ret~'rn the Borrower's money offer within twenty (20) days, the
          Borrower may then regain/acquire all rights to clear title.and reconveyance under Federal law, State Statutes,
          Uniform Commercial Code, and provisions of TILA, with the same being _supported by the evidence of both public and
          bank records, and further as attached hereto.




          Additionally, Borrower has the right to offer Lender a Reasonable Value. However, the penalties a bank can face for
          violations of TILA, and other State and Federal law can be as much as triple the damages, i.e., triple the amount of
          the interest the bank stood to fraudulently make off the mortgage/loan transaction. Therefore, the Borrower(s)
          hereby in good faith makes the following offer: Borrower will forgive bank/trust any liability incurred by its wrongful
          actions, provided bank/trust rightfully forgive Bor,row~~(s) the full amount of mortgage/credit bank/trust
          fraudulently alleged to have given. In addition, Borrower(s) make the one time demand $1; 250,000.00 for any loss,
           damage, and injury he/she/they have sustained; and that bank/trust also immediately remove any/all negative
           comments on Borrower's credit report attributed to this transaction.



           Any default, failures, or non-compliance on the Lender's part to perform as herein directed within twenty (20) days
           of receipt, shall constitute this NOTICE OF _RIGHT TO CANCEL as valid and fully agreed/accepted pursuant to the terms
           and conditions as set forth herein.




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               FORECLOSURE OFFENSE AND DEFENSE SEPARATION

                                     OF MORTGAGE NOTE

  It might seem like a strange idea but it has been in the Uniform Commercial Code for-Years

. -' and its predecessor. The USL!al' rule is that the: mortgage follows the note and the note

  follows the mortgage. But the· UCC provides an exception for the operation of the parties
                                  '                                     .
  intent, and by operation of law by inference.·


  Start with this Statute from Florida which has its counterpart in most of t~e country:


  701.02 Assignment r)Ot effectual against creditors unless recorded and indicated in title of

  document.-

 · (1) No assignment of a mortgage upon real property or of any interest therein, shall be

  good or effectual in law or equity, against creditors or subsequent purchasers, for a

  valuable consideration, and without notice, unless the assignment is contained in a

  document which, in its title, indicates an assignment of mortgage and is recorded

  according to law.

  So-· what you say?
                   .
                     Well in most . cases the note.
                                                .
                                                    was assigned and - the mortgage wasn't. At
                                                                              ..



  leas~ it wasn't recorded. And ip most cases a_s the loan moves up the securitization chain

  .several things happens. Instead of there being a specific assignment of    aspecific loan, note
 · or mortgage, there is a gener~I description of the pool and possibly some identification of

  the loan date or parties but not assignment, endorsement, allonge or actual transfer.

  So the first thing that happens in securitization of the loan is that the named payee on the

  note gets {a) paid in full and (b) paid a fee for the "rental" of its charter or license in order

  to facilitate an unchartered, µnregistered entity or person to enter into a transaction that

  LOOKS like a residential loan transaction but is actually a scheme to issue unreglated

  securities to unsuspecting (or suspecting) investors under false pretenses. So if the loan is

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for $100,000, the payee on the note gets the full $100,000. Plus he usually gets $2500

"under the tableu (TILA violation).


The point here is that the note is paid and without a RECORDED assignment, the mortgage

does NOT travel with the note even if an assignment was intended. And the reason is the

same as the reason for recording a deed. Without that requiremen t a person could issue

warranty deeds to 100 people on. the same property. .In fact, as was done in many cases

with the movement of these loans, it would be the equivalent of selling the deed to the

same property 100 times by a grantor who has no title.

The reason this is so important, is that if the mortgage has been· severed from the note,

then the obligation, if it exists at all has been converted from a secured_ obligation to an

unsecured obligation, thus making foreclosure impossible. No mortgage can be foreclosed

without the mortgagee producing the note and stating that it is in default and showing

(proving) that this is so. In securitization 1 this is NEVER possible.

 Foreclosure Defense and Chain of Title

Here is where foreclosure defense can begin to chip away at a bank's claim on your
property. In order for a mortgage, deed of trust or promissory note to be valid, it must
have what is known as uperfection of the chain of title. In other words, there must be a
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clear, unambiguou s record of ownership from the time you signed your papers at
closing, to the present moment. Any lapse in the chain of title causes a "defect" in the

instrument, making it invalid.

In reality, lapses occur frequently. As mortgages and deeds began to routinely be bought

and sold, the sheer magnitude of those transfers made it difficult, costly and time-

consuming for institutions to record every transaction in a county records office. But in
order to have some method of record-keep ing, the banks created the


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Mortgage Electronic Registration System {MERS}, a privately held company that tracks

the servicing rights and ownership of the nation's mortgages. The MERS holds more than

66 million American mortgages in its database.

When a foreclosure is imminent, MERS appoints a_ party to foreclose, based on its

records of who owns the mortgage or deed of trust. But some courts have rejected the

notion that MERS has the legal authority to assign title to a particular party in the first

place. A court ·can decide MERS has no "standing," meaning that the court does not

recognize its right to initiate foreclosure since MERS does not have any financial interest
in either the property or the promissory note.

And since MERS has essentially bypassed the county record-keeping system, the

perfection of chain of title cannot be independently verified. This is where a foreclosure

defense can gain traction, by questioning the perfection of the chain of title and

challenging MERS' legal authority to assign title.

Some courts may also challenge MERS' ability to transfer the promissory note, since it

likely has been sold to a different entity, or in most cases, securitized (pooled with other
loans} and sold to an unknown number of entities. In the U.S. Supreme Court case
Carpenter v. Longan, it was ruled that where a promissory note goes, a deed of trust

must follow. In other words, the deed and the note cannot be separated.

If your note has been securitized, it now belongs to someone other than the holder of

your mortgage. This is known as bifurcation - the deed of trust points to one party,
while the promissory note points to another. Thus, a foreclosure defense claims that
since the relationship between the deed and the note has become defective, it renders
the deed of trust unenforceable.

Your promissory note must also have a clear chain of title, according to the nation's
Uniform Commercial Code (UCC), the body of regulations that governs these types of
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financial instruments. But over and over again, borrowers have been able to
demonstrate that subsequent assignments of promissory notes have gone unendorsed.

In fact, it has been standard practice for banks to leave the assignment blank when loans

are sold and/or securitized and, customarily, the courts have allowed blank assignment

to be an acceptable form of proof of ownership. However, when the Massachusetts

Supreme Court in U.S. Bank v. lbenez ruled that blank assignment is not sufficient to

claim perfection, it provided another way in which a foreclosure can be challenged.


This is my first diary entry and I'm not going to hide the fact that this information comes

from personal experience and need. When I made mortgage payments to Chase Home

Finance, LLC, it claimed ownership of my mortgage note, also known as a deed of trust

note, or 'loan' note (hereafter "Note"). During the same time period that Chase claimed

ownership of my Note, so did Fannie Mae. However, I soon discovered that neither Chase

nor Fannie Mae owned my Note. It was, and still is, owned by a mortgage backed security

trust (MBST) which purchased my Note from neither Chase nor Fannie Mae but from yet

another purported owner of my Note. In my extended diary I give the UCC statute

common to all states and also recent case citations {one is less than two weeks old) that

you, your attorney or your friend's attorney will need for a successful "show me the note"

defense. Yes! It works!


You need to know this; that the term, "show me the note" is a misnomer. Under the

Uniform Commercial Code (UCC), Section 309 of Article 3 (UCC 3:309)

http://www.law.corneH .edu/... the Note owner does not need to show a Note, whether
original or a copy, in order to enforce it "if" it once had possession of the Note and now

claims to have lost it or that it was accidently destroyed. That, however, is not the

problem that banks face. The problem banks are having with the "show me the note"

defense is proving that they have a right to enforce the Note, even if they can produce a

copy. The UCC, at 3:309(2), says that the bank must 'prove' its right to enforce the Note.
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Y_o_u_a-sl-<t_h_e_b_a_n-k,-11-W~;e~id yo~ get that Note? -~~ow me the endorsements". The ba ~I     I


must show the 'chain of title' from the original Lender bank to itself, and that it cannot do.

Almost always, the Lender sold your Note to Fannie Mae the day it was signed which

then, within days, sold it to another entity and so on until it ended up in a "mortgage

backed security trust", or MBST. Fannie Mae ho longer owns your Note, nor does MERS.

The United States Bankruptcy Court for the Eastern District of ~alifornia issued a ruling

dated May 20,·2010, in the matter of In re: Walker, Case No. 10-21656-E-11,

http://www.ultimatebk.com/ ... stating that "Any attempt to transfer the beneficial

interest of a trust deed without ownership of the underlying note. is void under California

law." Though this conclusion was based upon California law it is the same UCC and real

estate law as most other states have adopted. The In re: Walker court states that the Note

and the mortgage are inseparable, and that an assignment of the Note carries the

mortgage with it, "while an assignment of the latter [the mortgage] alone is a nullity"

(most foreclosing companies claim ownership of the mortgage only, not the note making

the mortgage a nullity}. Meaning; if a bank claims to own the mortgage but doesn't also

own your Note, it cannot foreclose. This concept is from ancient English Common law

codified by most states as the UCC, for Notes (a Note is personal property}, and also from

real estate law and practice for the mortgage ( a mortgage is not personal property, it is

real property}.

A more recent California case, Gomes v Countrywide Home Loans, et al., D057005, Ct.

Appeals CA, 4th Dist., Div One, February 18, 2011, http://www.leagle.com/ ... did not

address the "show me the note" defense though it was widely expected to do so.
However, in Gomes the CA court cited two cases approvingly where the "show me the

note" defense was accepted by federal courts; Castro v Executive Trustee Services, LLC, (D

Ariz, 2009 February 23, 2009, CV-08-2156-PHX-LOA} 2009 US Dist Lexus 14134,

http:/ /www.leagle.com/ ... and Weingartner v Chase Home Finance, LLC, (D Nev 2010)
702 F Supp2nd 1276, 1282-1283, http://mattweidnerlaw.com/ ....                                     I




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The CA court noted that the issue in those two cases cited in the preceding paragraph (the

"show me the note" issue) was not the same issue that it had to decide in Gomes. In the

Gomes case the plaintiff, Jose Gomes, did not raise the "show me the note" defense.

Instead, his case was a lawsuit for discovery in order to find out 'if he could raise the

"show me the note" defense. The Gomes court held that such a lawsuit, making 'no'

specific allegations, did not state a cause of action as a matter of law. Gomes alleged only

that 'upon information and belief' MERS did not own his Note or did not have authority

from the Note owner to foreclose and Jose Gomes wanted to know if his "information and

belief" was true, because he didn't really knowif it was true. The Gomes court, finding that

Gomes made no allegation upon which it could rule, agreed with the lower court that his

case should b_e dismissed. The Gomes court never addressed the ushow me the note"

defense in its published opinion.

The most recent case that expounds upon the "show me the note" defense, as does

Weingartner, continues with the reasoning made in previous court rulings made in Kansas,

Ohio and Michigan and other states making ownership of your f\Jote a requirement in

order to commence a foreclosure, whether in a judicial or non-judicial state. See, Eastern

District Bankruptcy Court for New York, In Re: Ferrell L. Agard, Case No. 810-77338,

February 10, 2011 issued less than two weeks ago, http://www.ritholtz.co m/ ...... In this

case Ferrell Agard, the home owner, lost for reasons having nothing to do with ownership

of the mortgage Note 1 but the Hon. Robert E. Grossman, Bankruptcy Judge, stated,

"However, in all future cases which involve MERS, the moving party must show that it

validly holds both the mortgage and the underlying note in order to prove standing
before this Court". In other words, Mr. Banker1 if you want to foreclose, or file a Proof of
Claim and set aside the 'stay' order that stops you from foreclosing, you must

"Prove" that you own "both" th~ Mortgage Note and the Promissory Note (meaning:
prove a valid. "chain of title").


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UCC Section 3".'301 provides·onlythree ways in which an individual may qualify as the ·
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asSignee, goi~g'to-~ranitJ;:~,;ll::;()f_:{h~-~~ye'~-.~-:rii11~~\o,th-~:~o-ie,··b~:t deii~e~s .th~- note to the
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assignee ~ithout ind~r'sing it Th~ assignee ~·on:'t q~a lify. as holder
          .                                                        .
                                                                        (b~cc;i use the note                                                                                                                                                                                                                                                   a·
continues to. be payable. to the payee)
                                 .
                                        but, because the .trarisadion
                                                                 '. -~. . .
                                                                   '
                                                                            between the: payee
                                                                                           .
                                                                                               ·                '                                                         '                                                                                            ·,                                                    ,                                                                                                                                    .                                         .



and the .assignee qu·alifies as an· exchange, the assignee-·now
                                                           .
                                                                has all of.the payee's rights to
enforce the note and thereby qualifies ·as'.the ~erson· elig-ible\fo:r enfoice. "it Thu{.the
failure to acquir~:-the enqorsem~ni-:of .th~ payee does·~-itpre~e;~~-a pers6n Jn ~6s.session of
    . . ... ' : . "•, ' . ,' ' ' .; "".•. "' : . ' :. . ' .,> '• .~- .i ' ' ' :,/>· ' .. ·;-. . ': .:- ' : . .' . . .. . . . '
the note· from being the perso_n\··e_li~ible for"enforte it, butdemonstrati11gthatstatus is
more difficult._Th~;,re~son.:bei~g thep_e_rs.~ri )n:po,;~esifor:1. of th~- n6t~ .~~st afao
demonst~at~-the.purposegf.t~ed.eiiveryof.the.noteto itto.bla.ble t~q,~alify~~s the.·
  •       ~        •               '. •       '            ;               '              '             ~           ,t                                     ''                     ·, ',.                             '.     ·.: '.                 ~                   ~ /,    ...       •          •                   ,            ' • ·-                          '             •    ,               .        -   '~1 '. . . ''

per~on eligi.ble _for enforc'~ ...

24 Under what circumstances does delivery.of a rJOt~ qualify as a:t.ransfer7'As stated in      ,                                 ,                                                                             ••                    ·             -- '                              :t_ 1 -.· ':·          >       •                                           ,             '             ,       '                     •                   •                       ••        ,    ,        , •       \   •




UCC Section 3-203.(a), a note is transferred "if it is ·J~livered with a pers,on apa·r( fro_m its
issuer forth~ g~ai . of givin'g,tothe' persort·receivi~,g
                                                     _.
                                                          delh;ery th~. .fight·to, enforce
                                                                                    ·. .
                                                                                           the~,·.·· .
               '                    -                                  .                                                                                   .,                          -                                                                                      ,·                    '           '                                                                                                                                                                        ,




transfer all of the JJayee's'rightsto the note; but del1yers the,ndte tothe.assign'ee without
indors1ng•it/The as~ignee•Wil-1:~ofqualifv'ias:a nold~'r(b~c~·~se·t~en9t~;qs·:~tili·p,ayableto
                                                          ~,                   ,                   '        ,                              '       '            ':            •            •        •     ..                     <       '.'                                                            •                    '                 '                    • '                                                               ,                       •
              '.




thepayee)but, as_t~e t·r~risaction between.thei>~y~e.~pdtbe_a~sjgriee.::tju.alifi~s as·a·
      •       ,,           '          •                        ,'.         •   f .,           ~.                                     ,:•·              •    '                 ,        ,:•:         ,',         ,''                            ,       ,           ,·,                       '.,,       ,           :~,,:~•:••            •   '.'' \,               •.            ,f,·,,>;··•:''.                    \,       ,':'.                   ,   C           ,'   ,i       '.       ,-,, •:,




transfer, the assignee now has all of the payee's rights to enforce the riote anti thereby
qualifies a~ the individual· eligible for enforce-it.·Thus; the failur~.to qbta,in.the
                                                                                t"
                                                  '                                  ..                                                .                                      ,                                ..                                                  .                                                                 ,·                         .. '"                           ,'               \ .

endorsement.of the. paye'e. do"esri't p·reventa· person
                                          '       .   .,
                                                        in p'oss~ss:'fo·n of the:not~
                                                               '                  .
                                                                                      from being
                                                                                           .       ,                                           ,                                                                                     '                                                                                  '~                                                                                                        .
                                                                                                                                                                                                                                                                                                                                 0



the in-dividua'I el,lgibl~ fbr.enfor~e:it, but demonstrating t hat'st~ius' isi m6re diffi~ult. The
                                                                                                                                                                                                                                                                                                                                                                                                                                          '
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          ,   ' . . . ,· . . . . i· .':/ . . ';   <::•'· ·,<·/v ·. :• \.· ,.·•< .', ·. , . ; .:,, .. ·' ·,.
                                                                                         ·• '.               << •· ," ,\     ;:

reasori:beingthe.'inqividuali!;i·pdssessi.O:nofJhe.nofe:.r:nus.t:de'mon~fr.ateJ~e,go:al'ofJhe· .-
.. ' .' ' . ' ' <':" '.' ' ' < ... \(,> \•i i' > t<< ':?;:Y\ .            </:;' /t/> \' .· ' . .:\ ·. . .                                                   ·< ,.

delivery':c;,f th~>nofe:tciit1i@:,qtg;et,Jo.:qy~Jify;:~l.~n~\t6:diyJ<:JGar.@1tr91~;'.f~f~:e1force;;44:_
 .·.· ,·_· ._ . • ·.,·•.,_._·: .·· ,·_ ·;.:·.:':::·::::·p.'.··~·-··:~•::r;\+:t:r'·':_;:i·;:(,:·~):',:,."•:,;;·~·,·?':\3:?:,~.~,.·_, ·. · .· ·. ·_·. ,. ·, ·
2~ lffhe"note· was•franiferrecl for'V~Jue·~rndthe 1:ran·sfer:eedoes not_q_1:1alify:as a.holder.
becaus~ of the lack of endors~:ment by the tr~·nsfe_ror, "thetransferee has-a,specifically
.enfbrc,eable;rightt6the'-tinqua_i,rfied·endqrse~e11t;:qf.}helr:an~t~:rbr:'(:d¢it;Jc'c;'§j;~~icl3:{ch'•·
 . . ,; •. :'· <·>. ,::: ,i~:f/:,~,;:·~t?>2/}:,:::;;J•t:\ . f:}It1~.::')\:)~ftf\13t·~<,·;;,i\i?/) \}\/·, ·t ·: , ,·. ,· ·•' ·. -· ·
i.s woe §--~~agQ(~J('iii,t(JQ~P      te~ttB\~99(~1@}J?qRi\t~it,J~,Jryef2,QQ.~tit~~t~oes on,Jo 'provid e                                                                                                                                   1               1

  , . . .·    _, _ , ., , , , ,,, ;:
                           ,              \ ',,:,r ": :·;>·,:~s''.,,,,,::nr '/' ::>                                                                                   1,· ·: : ;                       0, , / ' :            ,"   ,           ·,;             ,    ,


thatc3 tr~IhsfereetromJhejpetspr, WhoJe>~t po~sessi9'n.'ofa, not~·mav,alsp-qualify.as a
                  '       :,       '        '   ''            •        ,,       <   ,,     •   ,:   _,....       ·,          '    '',     '.        '                 ','·   ,,     :,. . .       '·,      '        •   ,,            ',        ..,;·'




person',er:ititl,ed to, enforce it. ·S~e 'UGC,§ 3309(~')(1):(~} {:2002).:-th:i~p•oinfwas th~ught to, be
•.'· .' ": ' ,i. ' ,<:,, ',i::,,,.,;:,. ,i>,,:: ,\· _,:\:,,,i .·. ) :: ::,.;;::;::\:: <"' ,.;:~\'<; s'.:,;it<.,, ,,?i, .J ,·,-·., ' .
implicitin.thf.199:0:·te~t',:rb~.twafrelepted';ih:spme,:fcases:'it,l w~'iphihe"iss i:J¢walrai,sed.··The,                                                                                                                     1

     · , ·. , : . .                    ,: , · : . S/t ·:- . :: :.;./                                           >, · ,'·: ·, ,,)\},·/ >'·, :, :.,,,:.:>:.: !:·:,·'. ',:;:,:,,:\ <                      1::. :,,      '·,:<,,•i's:. , ,\.:,::,•l ...... · ·.
reasoni~g:ofth.os;~. ca·.~e~:was:.1re1eit~d·'·io,offictal~9:r:nrner~fs't6::;yt~::~ 9i$O~r~'n.dfthe,polnt
                           ,   ~                     '    "       ._        •                                                                  ,,       \    ,,   •          • <' • •   .,.   '   ,    '                              "




26 To prevail the"person mustestablish n·ot onl/thattheper$Qrt is,:~f!J.efr~on entfrledtd

e1orc~ ihe ·~~t~ . ~Qf Ji~?)h::?:,t,h~ti1e,f
per!m'l'.1. ,See gerieraJly;1JGe .§§~3'j3Q9'N5) / 3~4.12::::JVlor:e'0v~·r,  as·Js: the :ta'se: Withfrespect to,th e:
                                                                                                                           ~~,,~r~f~iR,~Pt,/,;>,>'
                                                                                                                                           l~t1;{1~:}~.~itu~6:~·. i .· •.
                                                                                                                                                  r,F,, ~-y ·. , : ., , •
   < ,·,t:··               . o'',<, •i:,,·:;c ,::;;<::J:,.';"; , .
                                                   . ",''f\,:;?·:/;:, l:i,·;,· ...
enforceme'nt,,~f.~1'i,ri~Hts,'iu nd~r:tne .utc, ,th'e,:p~~~qn:.~rif6.rEing::!hfMc{~e ·FD:l'.ist act in. good
       -· .·. ,> ,": .;.·: ,i •,·"' . ':· .. · ·: ·-•· ':. >:~··;·;:, •:, ;:~:''.::z .(:{;·:', '.,,.,·.::::,: •::·
faith:in,enforting:Jbe'<ncJte,:UOC§.1:.304~:s1.JbsequentJr,ansfer\c~.11.le'.cid)t9,tt:le:next.
                      ~ii B~.~1,irf~t(e)i~i~}~frft~~if~;;f§~J~~}i:}:};~·iff;~t:~{!;f:N:?
                                                                                                                                                                                                                                                         10
trans~r~e                                                                                                                                                                                                                                                     ·•

lllustratjphs:

                                                             of PaJee.·Payee isJn
1. Maker· issued a ·negotiable ·mortgage note payabletq the ordet

posSe~sio~ of~~~ npte,'#~i.c~·.~afHcit b~!?):~fi€~:•t~~i;~~f ~tf~~i~~i~t1~•t1ie•.n9t~
                                                                                                                         · ,:
                                            · , ,·-.::..,-•~'> ;,··:: ·.>·,1:./·?._;t.:io}tti}(,4,~l:(-6\l;J.:.301(i).,,
~nd,it~~refor~{isJti~',per'soh(eligl~JeJo en:ft:itce/itr.l:fqt,1§'§:                                                                                                  0


      ,,,1.·:,,       "        " ..      ·~·-.··         "/,:.:'.;.','          :--·/>':<'. \,/:>~~' ,'
                                                                                                  "''),,>··,·.:,, :   :~<·                                                   f_,        -,~,-~f;"•,',•:·



2. Make~ issued a•,negoti'&bJembrtgage    tbti paYat,ift~lne b;~:rofHaYee.Payee indorsed
the•. notej",9f,a.~k a~~g~t~ ~?~.~e;s'.~,Q.o~](i~~i:ti~f,f~i~;'.ff~f,~f~1e4~c~\t~e th,~,~~ld erof
the n.ote 911d,there,fore,Js'.t.h~'.i::>e~sb.rteljgtbl'~ 'to::~nfor-~e•it. ~.c,c;"§§t'1Si2©1(b)(Zt)(Al, . 3'" .. ·,
      1

 3oit;r ,. . , ./r . , .. : ,. ::· ...,~··· ·. '.,•r;~;:'.:·;:::? ;.::',.::,,/i\'; <:<.;:I'::·,.>1".~i"·' . , . . <: ,;: Y                                                                                                                               ..            ·.

                                                                                                                                                                                                                                                                            69
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3.. Ma·ker·iss.u~d .a·rregotJ~pJ~:~ortg~·~e ~ote p~y~bleJq:the orq:~r'of;P~;v~·e: P~ve.~ s~ld the
                                       '           •                           '            >            ,                             ' ;·.                                              "                                     •       •       '        :                        '.                   '                                                  '   ~             :-~ ,                '                     ,~ ·-               •




note to Transferee and gave possession of it to Transferee for the.obje,ctive of,g,iving '
                                                                                                                                                                                      .                                             .                                                          .                                                                  .


Transferee the proper to ·.enforce fhe note. P~Yee did n'ot, however, indorse the note.
    •                                                                      •           •   ,•                                                             I                                                        :•,                                                            •




transferred to Transferee and the transfer vested in.Transferee Payee's to enforce the
                            '.                                                     '                         ,           •• ,. , ·                                      •             ' I·:                        .            ,           ,.. ' '              , : .                                         ,.    >i. ',. •~,                                                         .' '            ,'• . :
note. UCC § 3-203(a)-(b): As a result, Transferee is really a noliholder inj>ossession ofthe


§ 3-30l(ii).
            .                                                                                                                                                                                                                                                                                                                .                .                                                          '


4 Same
     .
       facts as lllustrations.2 and 3, excepfthat (i) underneath
                                                              . the law·of agency,·Agent
                                                                               ·.·
                                                                                         is,-                                                      '                                                                                                                                           '                                          ,                                      .       .



the .~ge'nt-6fJr'ans,feree for~uipoies o{p'o;~~~sihg' theifo'te ·~Aa.JiO 'iti'§'Agent,J'ather tha'n
        '       '   •            ~ •                   •     <       ',,       •   j        C •'     ;               •        ~,       e       •                    e       • •               ;        '       •                             • , •               \                     •       •                    •,       ••':_• •                                 ,.         .,••                        • ~   '                   •




Transferee/tci wh~m actua'rphyikal. po~~eis.ipr:,,clther)Rte ii Vl.'ritte!1 bVPayei~ In the
impbrt,ant p~ints o/111usfratibn,{'rra~~f~;~_~:is ~u-sta -~~;d,~r ofthe n·b:tfa~d ~ ;~erson. ','
                                                                 .                                                                                                                                     .                                    .                                                                        ..                                           ,                                                                '           .


eligible to enforce"it.Jh the context.of IHustration 3, Transferee)s ·justa,per~on eligibJe to
enforce the.not~ .. Whether Agent may enforce the· note ~r mortgage on behalf of
Tra~sf~ree(depemj~ pa~t_l,y_,~rfihattfre
                   .· .         .   .      '
                                                                                                                                                                        ;~~ stite~ ofag~~cy a~a,· i~ th~ ~~enfdfth~'
                                                                                                                                                                                  .                                                                      .           \,''                                                                                         .                                          ,                 ,



mortgag~, real property·law. · .·




                        .                                                                                        .                                 .                                                                                                                                                                 :·                                       .

need possession of.it. UCC§ 3-309(a); If Transferee brings an action on.the.
                                               '                                                '1                                                                                                                          •                                '                '    '                                     -                        •           ~            '•'




note against. Maker;: Tran,sferee ..rrfust. -..esfablisb,the
                                                          ·..,
                                                               te'rrns ~f th~>libte'a~tlthe
                                                                                        .   :.
                                                                                           ,.        '               '·            ;                                              ,           "•                                        '                            :,                .                                                                                             .               "'.
                                                                                                                                                                                                                                                                          '                                                                       .


weather of Maker's obligation.on it The.court might not enter}udgm~ntand· ,
                                  ' ,                      ' •         c           ,   o· • ~                             "                            ' / • ,,.,   '         J'      '            •       '           ••                            •                ~·                   <       '       ,        ,' ·; •       ,.    ' ' ~         '                                      '       \




only Transferee, howe~er, unless-the court finds that Maker is ad.equately
protected ·against loss that may occur by reason . of a state of ·another person
                    ,·



                                                                                                                                                                                                                                                                                                                                                                                                                                                   70
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(such while the finder ofthe·note) to enfortet.he note. UCC §. ·3-309(b). 27 See
                              •'•   ,):.,,,:       •-'   C    '    ,



           0



id. uc·c § 3-309(b) goes· on'to,stafe that "Adequqteprotectio·n maybe· provided

by any rea.sonable .means."




                                                                                   71
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                         .1.;,

                    '1_':,.;•t'""· ,:.




Stand.ing and Capacity
Standing and capacity to sue are related, but distinguishable, legal concepts (see Silver v Pataki, 96 NY2d 532, 537

[2001]; Community Bd. 7 of Borough of Manhattan v Schaffer, 84 NY2d 148, 154-155 [1994]; Caprer v Nussbaum, 36

AD3d 176, 181-182 (2006]; Security Pac. Natl. Bank v Evans, 31 AD3d 278, 279 (20061). Although they are both

components of a party's authority to
    ,,          '
                                         su~ (see Matter of Graziano v County of Albany, 3 NY3d 475, 479 [2004)),
                                          .•


capacity requires an inquiry into th~ litigant's status, ·i.e., its "power to appear and bring its grievance before the
                                                             . ~, .
                                                              '




court" (Community Bd. 7 of Borough of Manhattan v Schaffer, supra at 155}, while standing requires an inquiry into

whether the litigant has "an interest in the claim at issu~ in the lawsuit that the law will recognize as a sufficient

predicate for determining the issue at the litigant's request" (CGprer v Nussbaum, s~pra at 182). Where standing is

put into issue by a defendant's answer, a plaintiff must prove its standing if it is to b_e:entitled to relief (see TPZ

Corp. v Dabbs, 25 AD3d 787. 789 [2006); see also Society of Plastics Indus. v County of Suffolk, 77 NY2d 761, 769

(1991) [standing "is an aspect of justiciability which, when challenged, must be considered at the outset of any

litigation" (emphasis added))).




                                                                                                                          72
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          Certificates relating.to a securitization trust ..

   . As .d'etai.leqh_~r~i~;'.ttJ.ei~e~ifi~~t~~,:r:~fl~:;t:ed:·h~n;fic:fa.i:a\\Jri~rstHpfr~t~rest~j~\tb:~:ir:ui{~~~·tljesup-pl~l'n~~tal <:: . _.
 ·. ihtetesNi,usi;ii'.h~cidginal}~~.dif       J'ttit~i~1p~ip'J1,h~1~bd~;jil{sW                            6;r~:Jg11}~f~si,~id1btR,eff~'a{u                                              r~'sfw~r~ .ii~ted·ihthe·' _.•
,      ,' ., .·: 'n:··; 1J:, '.·' ''':.,>,,><
                                  t" ·, ""''" ,~·:."'   )~•~:~>~:\<·~\ ,i ~ ~r::,. /,.~.-'1-:,'.,;/,'"'. .,     ;:,\/f'',?":'~ \ ,~,,. , ·. 'r:, , ,.:,t \•f ~\>i:\ ,' ,;:·~) ,'. ,, /, ~{/, 0\••/''. ,
                                                                                       i' ';(, -~~,.: ,:.,~•'.·\" ,.~:;,.,\                     «·   ,··~                          '";.'> ;,~.           ,                                                                                                                 eye ,,,     ,          r""    '


·. table·bnJ~~g~s s~i0and· sr~·;t9r•\~e,}9f"f~~<i~:'ce.rtff~c~$~~:I~~\~eJtitic*es ~er~~i~.syed,yi)~e,t!;~opUng;~.ndservJ~ing ' .
   · arrangement 6et.W~e~ri:a)n:ortg~·ge1lp_an·Jrust'for exa rri~I~;'. as -~1dei)osito:r; [end'er; :atnfa 13,a nI<, 'ah Aisociation,. as.
     se~icers, and a:~a'n~, N;A.," a~ t;u~t~~· ~·~d cus1iodia~)dat~ci,as: of thei ~losing-dat~.Allmo:rtgage loan ·collections
     were used to pay servicer and tru.st~e-eosts, premiums for lend~·r;,pafd,'ni~r:tgag'elins~rante;.certai·n swap
     counterparty gaymenfs, 'and'.iilterest ~'~d: Rriri~ip~Lp,ay~e,nts onthftertific~t~s} ... ·- ' ..                                                                                                 ' . '
              .               .              <''    ,r,°                  ,, , ·            ,_· ·.,·:~        ·,       ,:     ,·,.--:<··•.,.· .. •~> .··.,•·',"::,'·                 '                   , ',,.                "'' ·. :~:..-,~::_, ,:, ':>..:··.}·

      Based Ori t~'ei r oUtsta ~Oi,ng ¢e/tificaie pJinci p~I balaricEis)in'd 'as,s'9c[1.ted~~n{it'l~~~.1Jts}:a II prth·~,6~.Lcqll~ctiO:ns v.1ere
    · paid.to orie, orimor:e clas~~s of:certific~{e~;off~red. hv thi{prgs~ect'us'.'s\Jpplefllentpr,to ottfer:dasses 9fc~rtificates.
     'not offeted, by this prospectus SU ppi'~r:rie~t:AnV excessiollec;tion~ Ovedhe:a'rrioi:mt;· pai~ .toth~· holders of th~ . '.
      offered certificates (either as interest'or ~~incipal), the:J~rvkers, the trust'ee,:mdrtg~gJ insurance providers; and '
      the swap· counterparty.were paid to the.owners of the oth·er classes of certifica.tes (includingthe clas.s X certificates)
      that were not offered qy'this prnspectus s1,1pplement andwere enri_tledlto such excess amo,unts; Tliis prospect~s'                                                                                                                               0




          sapple~entin~I,-d';1:"':d•r~i~ttf                                                                                   .t~~~!:if'.½!f~:6;:s:~~Xf°f(,{p:i{i~·J~.f):: ::: ·~ . •.··. · .· ..
    ··According~t9.~h¢Pob,ling:cJn1;h:Se't,vicfng{A.gr~e,rn.e,nt)WfufQl]Qt~in'g:do,ttiirre'ri"i:~,w:ei:~·iiorm:ally'firi'uireiftbbfgiyen'to
     'their~u~ffor:eiq~:rvidrtgig~t9~_n::},· "··· · .... ·, :~:".,if:·",:.:· ·· ·· ·· i> -,:~-                         '        · ·


             . (1) the as,soci~ted original M~rtga~e Note endorsed i,n fuH    !!1 p_actwitho~yecour;~e,te>.1h~-Trus( .                                                                   or
               (2) the original mortgage; as                                                                 we
                                                ILas documentati<;mof re,cor,ding (or,, iftl;J~··or:ig_ina[~ec9r;d~d Mortgage'has not
                 · .yet been, retuxnect;by"th~ rec9rcUng otfit~, a copy}hereqfceftlfie~                   to:ful~/t~oitI,~;c:qfuplete·copyJf.~uth ·
               " .• Nfprt&~?e:~a~;se'h!·t:~'.fpr'r:e~~r~}~?)/\\ ••. ' ...;:·;·:::C.'/•':i:::f .•·,:·k~':.
                                                                                          1
                                                                                                                   1.,:··,:. -·; ; ' . } ( ; ' ,·. ·. i, ,·.• ,f './:' ...                                                         t·.;r';i
             . (3) -an origii:ia) assigninent of theMC?ctga'ge. to:the.    Jr~.s\ irnecqr:d       9  ~fe;fori:i;iQhin     blif!lk'(~:a~~ cJs.. incJi~at~cJ,pelow.)
                                                          ~                                                                    ,.                                      -   '         J                               '",   •   >     '   ,   :~;-:·,                                    ,._,   .,         ,   ,                )·~''   ',,




                    or .                                                                                                                                      <":.:,',                                                                                                                                                    ',&•



              (4) the,originalS'()/any ~greements.invol~ing,assum:pti~n, in~dification, exte:n~ion, or guarantee.·
                                     C        {                                    ,                                                                                                          '                                              • •   '   •   '       ,       •     ~                  ~'            '




          •Many of the,Mortg~ge0L~ans; are.,like,ly.tq pav~.'.had,rn~;~gag~s ,Ol/9,S~ignrrJ•~nt5,'io'rrJofo~a·g~sr~co~deJ/nJ~e :na·m~
                                                                                                                                                                                                                                                                       4
          of.cm c3ge11t.oh:be~'c3Jfpfth~.••halderqf\~~:1in~~d•Mql}g~ge[t-Jot~?r,HrM·~rt~~g~:,,c3ssign 111e~~:1ktavCl{ 9hh,e'rrust h~d
          to 6e:a ra,fte~; de}iyeredf3dr ~e~~~~:ia;1~Jh:os~tiiu~ti~11~:i!
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      . Acto rd ing ·to the :t:er,ms ofJh'e ;rvJo rtgag'e· Loan· Pu rchas,e, .A:g·reern erti,' ea c~:s~l)~gm ag~: 'q(assigned• _to th'e Qepos it0 f
        certainr~pre;erifations -~·~a Waf~~nti~s-collce~'ni~ithe:r:el~tedM1.r.tgage:Loaf~l'i~f th'e d13Ji:?:.of (tjr"p}ovided:fn)·the
        applicable Mort~age ,Loan. Purchase A~re'ement, which g~~erall\i inc:lud_~d· repiese~t~tio,nsin~f warranties ,;imila~t~
        those.summc!rized in the prospectus unde~ the heading "Desc~iption df the Agreemen.ts-Representations ahd .
        warranties/Repurchase/ The Depositor's right~ under the Mortgage Loa~ Pui'chas~.A.greern~nts -~ere'assigned to
       ·the T~usfon the Closing Dat~ fbr the benefit 6f the offered certifi:c~t!;!si'h9.ld~r~::follo1111in_g th_e discovery df.p breach
                                                                                                                                                                                                                                                                                                                                                             73
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~resen t,:ions or warranties that materially o:', dversely affocted the interests of holders of Offered
i     Certificates in   aMortgage Loan, or receipt; of notic.e of such breach, the applicable seUer was obligated to cure
      such breach or Purchase that affec:ted Mortgage Loan.fro.m theJrust for a price equal to the unpaid principal
      balance thereof plus any co-paym_entl(or;:in certain circum~tarkes, to s.ubstitute:another Mortgage Loan).
                                        •        <   '    '                '       '   •                     '   '   •




      Holders ofthe Offered Certificates suffered a loss to the extent that any Mortgage Loan for which a representation
      or warranty was violated was not purthased or, if authorized, substituted by the.appropriate seller: and a Realized
       Loss occurred with respect to such Mortgage Loan:




       Amendment

       The Depositor, Servicers, and Trustee amended the Pooling      and Servicing Agreement   without the consent of
                                                                . ·,;                     -           .

       certificate holders for the. purposes described in the prospectus ui:iper "Description of the Agreement - Material
       Terms ofthe Pooling and Servicing Agreements and.Ser.vicing Agreements -Ame.ndments ." The Depositor, the
       Service rs, and the Trustee, as w~II as the· holders of a 66 ..perc:ent percentage inte~est ih each class of certificates
       affected, amended the :Pooling arid Servi~ing Agreement to <;1dd to, change, or eliminate any of the provisions of the
       Poolin~ and·servicing Agree~~nt, or modifyi~g the-~ertificate holders' rights 1n ~hy way;·provided, however, that no
       such amendment allowed:

           1. Without the swap counterparty's approval changed the provisions ot°the Pooling and Servicing Agreement
                                                                                                         a
              governing payments to the suppl~mental interest Trus~, or otherwise had major detrimental effect on the
              swap counterparty's
                           .
                                  interests (such consentw,kno t to be ·unreasonably ,withheld) .
           2. Any payment needed to be distributed on any certificate has been reduced in ahy way, or the schedule of
                such payments has been delayed, without the approval of the holder of such certificate;
           3. · If aggregate outstanding principal amounts of certificates of each class, the holders of which were needed
                to consent to any such alteration, without the approval of the holders of all certificates of such class, the
               aforesaid percentage would be reduced.




       Section 2

       Conveyance of Mortgage Loan .

       The Depositor does barely sell, transfer, assign, set over, and convey to.the Trust withoufrecours e c1II ofthe
       Depositor's right, title, and interest in an'd to all of the assets that comprise the Trust Fund on or before the Cut-off
       Date, including all interest and principal received on or without respect to the Mortgage Loan on or before the Cut-
       off Date ( other than Scheduled Payments due on the Mortgage Loans on or before the Cut-odd Date),.), all
       accounts, chattel paper, deposit accounts, documents, general intangibles, products, instruments, investment
       property, letter~of-credit rights, and all earnings of the foregoing. In connection with the Depositor's conveyance of
       the Trust's assets, the Depositor further agrees to indicate in its books and. reco.rds that the Mortgage loans were
       sold to the Trustee pursuant to this Agreement on or before the Closing Date, at its own·expense, and to deliver to
       the Trust the Mortgage Loan Schedule; The Mortgage loan Schedule.is attached to this Agreement as Exhibit Band
                   <,             "         '•                   '',   .       <           •   ,·   ,,




        is hereby incorporated.in to and formed a part of it..
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    be included in the Trust, including bu~ no't-limited to:                     ··

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                    ; 'iV,l~~gag~\:el7fi~ed b\dhe ·pu\ilit.r~~~·.:c{ing,offictur
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                  E. Original~ of·any intervening mortgage assignmerits",.along ~ith:evid~~ce of recording, or, ifthe
                     ' original inter~e-ning assignr,nent has not y~t been 'retu~n~cUrom the r~cording'office, a' COj:!y.of such
                                   as.signment c~rt,ifi~d·toJ>e a tru~co,py ofthe.,origil']al,of.the. as.i,ignme'n'ts~ntfor re~orain,g)nthe·
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         2.    With reg~rdto any'lylortgage lo~n·thus assignedthafw~s a:Co~opLc:ian,thE!l)epositord.idhe'reby provide
               to,,and.deppsitw!th,•the c·ustodian:the fcillowi~g docum~nis ;pr. instrument~:, . ' . , . ·• . . , . · ..
              c ix.. ,, ~e~,, h                                     'f<            ~•,::'       C~ ,,,_":,~'                          .,'";,:'       •''c~j'•~•-./•..,::>\o\;,:}"\F\'<,•:/,.:,- ',;:!,_/"~:1,~,,.::•:,,;~\•,/<,:<                                                                                   ,, /:
                 ;(i) : (l)Either th·e:'o·r:iginal,'rol~r:tgage ,Not~:(0°r'a l~~i·"not~,affid'a~ih~itb a;co'py'~f ~~e·,o~igiriai:fv'lortgage·
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                 :(ii) t~~ original consolid'ati6h/extensipn, ·and;modification•a'greeme,nt (or:' alost npfe.affi,aavitin.cludirig a
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                         "·pay to the order of Secu riti~at1on trust withoutrecqLfrse'.' o(''.pay tQ the·order of Secu.ritizaticin tru.st
                         without recourse.II       .      . .                      . .          .    .       .                    .
                 B..•..ThE!l\(10rtgago(s origlh<;ll'Md~ga~e·withrE:?sp~a                                                                                                                 to,sach.to;?P ~oan;,.,.
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            .,C.
            ·,'
                  The original Assignment of Mortgage, either blank cir endorsed to "Securitization trust."
              .D. Original mortgage assignments revealed a ~pmplete chain. of assignment from the originator of the
                   associated Co-op,'I.:oanJo the final endqrsee on:tll·e Mortgage N~te;
            · E.   Original Fo.rm ucc;1,'and    aqy continuation        s~at~nients w,ith. evidence      of filling thereon (or a
                                        ,   1; ·: ., ,: ·;, ', " ', ••   - '~ ,"     , __.,       ~, . ,      ,_t~   '


                   documented copythereof)         e~tered    into   by the.  Mortgagor     with respect.to     such Co-op Loan;
              F.     Acompleted chai.n ofassignr:nents from the priifo1ator of the associated Co-op Loan to the applicable
                   · Seller, with eviderice of ~ecor:ding on Fo;m\JuG:~3 (or copies thereof) by the applicable Seller or its
                     agent assigning the security interest covered by such Form UUC-3 (or copies thereof);
              G.   Original stock. certificates representing the stock.allocated to the related dwelling unit in the related
                   residential cooperati:ite housing corporation, ~·!edged by ilfe relate'.d 1\/lortgagcir to the,originator of
                   such Co-op Loan with a stock power in blank attached, and pledged by' the related Mortgagor to the
                    originator of such Co-op Loan;
              H. The first'exclusive lease; ·
              I. The original or a copy of the proprietary lease assignment to the Trust, as well as all subsequent
                    assignments;                                                        ,
              J.    An original or a copy of the recognition agreement for the mortgage ·interests in the Co-op Loan by
                    the residential cooperative housing corporation, whose stock was pledged b.v the connected
                    Mortgagor or.the! priginator,ofsuch Cosop Loan 1.and
              K.    Originals.of .any assu·mption; consolidation, oi- modification agreements relating to any of the items
                    listed in (A) through (F) above for such Co-op Loan.




    If the Depositor did not deliver the Mor:tgage, Assignments of Mortgage, or assumption, consolidation, or
    modification, as the case may 6e! concurr}n.tly with'the execution and delivery 6fthis Agr~em~nt solely du~ to a
    delay caused by the public recording office where such Mortgage, Assignments of Mortgage, or assumption,
    cons.olidation, or modification, as the case may be, with evidence of recording thereon, if applicable, solely due to a
    delay caused by the public recording office where such Mortgage, Assignments of Mortgage, or assumption,
    consolidation, the Depositor shall deliver or cause to be delivered to the Custodian written notification that such
    Mortgage, assumptions, consolidation, or modification, as the case may be, has been delivered to the proper public
    recording officefor recording.

    Following that,the Depositor delivered or .caused to be delivered to the Custodia·ri such Mortgage, Assignments of
                                                      '          . .        .             .
    Mortgage, or assumption, consolidation, or modification, as.the case may be, together with evidence if a rec.ording
    was indicated on the· document, if applicable, upon receipt ther~of from the. public recording office. Any required
    endorsement that was not included .on a Mortgage Note or an Assignment of Mortgage was created m caused to
    be made by the Depositor.

    No Depositor, Servicer, or Trustee was compelled to permit the Assignment of Mortgage referred to in this section
    2.01 to be recorded with. respect to any Mortgage Loan that was· not a Co-op Loan. None of the Depositors,
    Service rs, or Trustees were compelled to cause the Form UCC-3 referred to in this Section 2·.01 to be filed
    concerning any Co-op Loan. If any Assignment of Mortgage referred to in this section 2.01 is not re.corded or is
    recorded incorrectly, neither the Servicers, the Trust, nor the Custodian are liable for any failure to receive or act on
    such notice.

    On behalf of the Certificate holders, the Trust was given ownership of each Mortgage Note, the Mortgage, and the


l~:~sisten,with
!   contents of the accompanying Mortgage File. Neither the Depositor nor the S.ervicers took. any actions.that were
                                                                                                               0


                        such ownership, and they should not have claimed i stake in it. In respo nse to any third-g;rty
                                                                                                                                    76
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 ,·inq,uirifs.aboufo~rer~,hip:of~n.W0ortg~:g~Jo_~Q,S{tQ~\~~~Osifi>J'{a.hctSe~ic~,rs·:stated:tb~t·Stich,6~'.~ership '!Jas.held
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   the purpose of servi~i~g"the related Mbrtg~g~ Loa·n, a'nds~c:lfr!,!ien't1ciii:arid p~~se~~ibn,b~ tHE{S~'ryicet•w~s solely.in .
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   the ~ortgage ~o~~s/;t:o:no~ify a~{fn!~f~~t~,d"pa'.rties".th,~£i¥~;M~rt~ageloan~ h~dbe;ns~(c(:~r{c(to.cla'im n; ',·'
   ownership intefestYnth~ Mortgage ~oa,ns:::0·:'                                                                            ,;-," ,_ '

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   The conveyance of the Dep'<'.>sitor's riglit, title, and                                             interest              in and    to the      Trust           Find        pursuanttottJis         Agreement was
   intended to be.a purchase-and sale, not a loan, as stated-in this Agre~merit. lfthe transfer;:of:t~e Mo~gag~ Loans                                           •'            •.'.<            '           '.•                                            ••,,•,"    <,',,               C     '.-,             .•      •         ,                      .:   •              '   •     ,;'•\'•.,/,,//},,        ,::            L               • •'            /
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   from the .Depositor                 tdJhe Trust         was not characterized                                   a{a sale.under ·applic_a_ble la,w;Jhis :Agr,eemeht.constituted a.
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  MortgageLoans,dr,ariyofhe~ ~gre~Jent:o'r:'instrume~t:r~tlng thi;etci.              '      .,,,,, ·✓                                                                                                                                                                                                                                                                                      -       '                                                               -


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   SECTION 10.03.

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HOLDERS SHALL BE DETERMINED IN ACCORDANCE WITH SUCH LAWS WITHOUT REGARD TO THE CONFLICTS OF
LAWS PRINCIPLES THEREOF.




The original Mortgage recording was frequently the ·only recorded document in the Chain ofTitle for traditional
lending before Securitization. Because hanks maintained.the loans_ and did not seUthem, only the original recording
remains in the banks' possession.

The introduction of securitization, parti~uiarly through "Private Investors" rather than Fannie Mae or Freddie Mac,
ushered i_n a wh.ole new mortgage lendi11g procedure. The.Notes and Mortgages w,ere securitized and sold once,
twice, three times, or more. Using the conyentional paradigm, each transfer of the Note or Mortgage of Trust
would necessitate the recording of new Assignments of the Mortgage and Note. Each recording, of course,
necessitated time and money.

(NOT to be confused with the sale of Servicing Rights, which is just the right to collect payments on Notes and keep
a tiny fraction of the payment
                          .    for Servicing Fees. When .-•·,
                               '
                                                         a. homeowner says their loan was sold, they're usually
                                                                                                ,·
                                                                   -' ·~.:
talking about Servicing Rights.)


Securitizing a Loan

The practice of selling a loan to Wall Street and private investors is know_n as securitization. It's a method that
requires a lot of thought. The steps for securitizing a debt were generally as follows:

            •    A Wall Street business would approach other entities.and reach an ar~angement to issue a "Series
                 of bonds" for sa_le to investors. In other_words, the bond was "pre-sold" by t~e Wall Street business.
            •   A Wall Street firm might approach a lender and offer a warehouse line of credit. The loan would be
                funded through the Warehouse Credit U~e. Restrictions imposed by the initial Pooling and
                Servicing Agreement Guidei'ines and Mortgage Loan Purchase Agreement would apply to the
                 Warehouse Line. These documents explained the procedures for creating and administering loans
                 before and after they were sold to Wall Street.
            •    Using the parameters, the lender went out and recruited "buyers" for the loans, people who fit the
                 Purchase Agreement's g~neral characteristics. (The guid~lines were fairly bro.ad, and almost anyone
                 could meet them.) The lender would ex_ecute and fund the loan, collecting payments until there
                were enough loans to sell to the Wall Street firm, which could then issue the bonds.
            •   Once the necessary loans have been funded, the lender sells the loans to the "Sponsor," which is
                frequently a Wall Street firm's subsidiary or a lender-created corporation. At this point, the loans
                are divided into "tranches" that will later be converted into bonds ..
            •   The loans were then "soJd" to a "Depositor." This was a "Special Funi:;tion Vehicle" created for a
                single purpose. The goal was to construct~ "bankruptcy re~ote vehicle" that protects lenders or
                 other entities f_romwhat might happen to the l?ans, and/or protects the loans from the lenders.
                Once again, fhe "Depositor" would be created by a Wall Street corporation or a lender.
            •   The "Depositor" would then deposit the loans with the issuing Corporation, which is a separate
               entity founded expressly to sell the bonds.
        •      Finally, the bonds were sold, and a Trustee was appointed to ensure that the bondholders were
        paid monthly.

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WACHOVIA BANK, NATIONAL ASSOCIATION originated mortgage)6ans as·a ~•correspondent lender." These Joans
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also a~ailable  .on' tile    SEC website; expl~iri~cf the·Trl!st; 13\/its provis.ions; th~:rrust;established·-~;"ClbSIN                                                                 G DATE"
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Securitization Summary.

  •    There can be no legal enforcement of the Note if the Mortgage and the Note are not issued by the same
       organization. The Mortgage protects the lender by enforcing the Note and allowing them to foreclose on
       the property. As a result, if the Mortgage and the Note are separated, foreclosure is not possible. If each
       has a distinct mortgage/beneficiary; the Note cannot be enforced by the Mortgage, and there can be no
       lawful foreclosure on the homeowners' property if the Mortgage is notitself a.legally enforceable
                                .                              •;..                                        .
       instrument.                      ?~~;-_
   •   If the loan was sold, pooled, and transformed into a security, the purported holder would no longer be able
       to argue that it is a true party of interest because the original lender has been paid in full.
   •   In addition, once the Note is changed into stock, or a stock equivalent, the Note is no, longer a Note. Double
       dipping occurs when both the Note and the stock or stock equivalent exist at the same time. Security fraud
       is known as double-dipping.
   •   Once? loan is securitized, which'the aforemen.tioned loan may have been several times, the loan loses its
       security component (i.e., the Mortgage) ancJ the righUoforeclose through the Mortgage is eternally lost.
   •    According t~ the findings .of this report, th~ Promissory Note ha~ been permanently converted into stock.
        As a stock, it is subject to the SEC's laws and regulations, necessitating the completion of registration
       'Statements, Pooling and Servicing Agreements, Form 424B-5, and other documents. There is no evidence
        on record that the Mortgage was ever transferred simultaneously with the. supposed legal transfer of the
       Note; such that the Mortgage and Note were permanently separated, rendering the putative security in a
       property null and void/as asserted.
   •   A.thorough study and analysis found that this was a securitized debt. The Assignment of Mortgage
       pretended to be an A to D transaction, but the foreclosing party was concealing the true sales facts of A to
       B, B to C, and C to D, where A is the original lender, Bis the sponsor/seller, C is the bankruptcy-remote
       ~epositor, and D is the issuing mortgage-backed securities trust. According to our findings, they also
         withheld the legal SEC filings that governed the transaction. True original loan Note.sand Mortgages
       · required to be given by the Document Custodian confirmed to have been in their possession on the proper
         dates, to be_governed by those SEC filings. As a.result, the Trust's claim of ownership cannot be proven, and
       the loan servicing rights are not established at law by agreement. The examiner provides t.his as written
       testimony, and we are available for oral testimony.




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    Foreclssure 'Pro•c,edure·Geneial Analysis: .
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    follow'foreclo·sure procetk,re, ifthey do not follow ·proper foreclosure
    procedure, then they foreclosure should be halted for. improp~·r.
                                                                       procedural
                                                                        .
                                                                                  or                                    .                                 •:;


    procedural errors.


    PROCEDURAL FORECLOSURE LAWS.




    In responseto the ongoing fore~losure crisis, the New York State Legislature hasena~ted a riuinber of proce<;lural
    and substa·ntive prot~ctions for ho_meown~rs defending a fore.~Josure action.iri~o!ving-th~ir primary.residence ( see
                                v.
    Independence Bank v~ientfne; l].3 A.D,3d. 62, .976 N.. v.s:2d 5()4 [2d Dept.2013] ). Among t.hese new protections
    was the·e'n'a2tment
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    conference.in a residential foreclosure action involving. a high~cost home loan or a subprime or nontraditional home
    loan, as those terms were statutorily defined ( see L 2008, ch. 472, § 3.). The statut: was lat_er amended to apply to
    all residential foreclosure actions involving a primary residence (         L>2009,· ch,'507, § 9).                     see
                                                                       qf                                          tP
    The.legislation also :adcjresse~ th(;?Jetra,ac::tivity CP:LR}40~ ongoingfo(eclp~~re.-actions,;Cy ribusiy, the ··
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                                    ,11~f16iated in\he CPLR ii~Jlf, b~t father, retr~activity i~ ·~ddtessed in a~·lJncorisolidated
    Law ( see· Hein .. Mark C. :Dillon,The. Newly-Enacted CPL,R 340B][!r Ea~ing the Mortgage foreclosure Crisis: Very Good
    Steps, but not Legislatively-Perfect, 30 Pace'~. ·Rev. 85,5; 870 [2010] ). Spec_ificaliy·; section 3'.:::.a of the enacting
    legislation provided that in "anv foreclosure -~ction ~n a residential mortgage loan, in which      .      the acti~n was initiated
                                                                                                                                .

    prior to September 1, 2008 but where the final order of judgment hasnot yet been issued,''.'the defendant w,ould be
    entitled to request a foredosure,se'ttle'ment confere11.ce (sefL. ioo'8;·'ch. 472/i'.3...:ar. Th~~lubse~u~rit legisla~ion,
    which expanded the applicability of CPLR 3408 to ·al/ r~sidentia,I foreclosure actions fnv~IJihg a pri~ary ·residence,
    a mended section        '3-a
                              by making:it a pplica hie.to "a riy foreci'os,u re ·actio~ on'~. ho111~ loa;( ln which in which ~.he
    action was inlti~ted p'r·i~r to Septemb~r 1,\008 b·u·t· wh:ere t:1,e finai'order of ju,d,g~e'nthas\iofbeen' issued'.;             L.                                     ls~~
    2009, ch. 507, § 10

    JP Morgan Chase Bank v. Casanova, 980 N.Y.S.2d 746, 747-48 (N.Y. Sup. Ct. 2014)




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     EXHIBIT H
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                                                                                 AFFIDAVIT OF PUBLICATION

     STATE OF MINNESOTA                               Mitchell (Mordecai) Specktor, being duly sworn on oath, says that he is
     COUNTY OF HENNEPIN                               the Publisher or authorized agent and employee of the newspaper know as
                                                                                           The American

                                                                                 Jewish World
         Minnesota Secretary or State
         Cort!flcate Of Assumed Name
       Minnesota Statutes Chapter 333
  1. State the exact assumed namo under
  which tho business will bo conducted:                                          VOICES OF MINNESOTA'S JEWISH COPJlrJIUNITY
        CONRAD JOSEPH JAMES JR
  2. State the address oftho principal place of
  business: caro of, 3415 Sandwedgo Lano,
                                                      and has full knowledge of the facts stated below:
          Snellville, GA30039, USA.
 3. List !he name and complete street
 address of all persons conducting busi-
 ness under tho above Assumed Names:
 James Joseph Conrad Jr; Conrad Joseph                         (A) The newspaper has complied with all of the requirements
James Jr; :Conrad .Joseph :James Jr,
care of, 3415 Sandwedgo lane, Snellville,                      constituting qualifications as a qualified newspaper, as provided
                  GA30039.                                     by Minnesota Statute 331A.02 and 33 lA.07, and other applicable
4. I certlfy Iha! I ani authorized to s!gn
this certificate and I fur1her certify that
I understand that by sfgnlng this cortificate,
                                                               laws, as amended.
I am subject to the penalliesof perjury as sol
forth in Minnesota Statutes section 809A8
as if Ihad signed this certificate under oath:                 (B) The printed notice which is attached, was cut from the
              Conrad James Jr
                 4/19/2023                                     columns of said newspaper, and was printed and published in
                                                               two successive edition(s); it was first published on the 2nd day
                                                               of June, 2023. The subsequent date(s) of publication are
                                                               as follows:
                                                               July 7t11, 2023.



                                                  X          4. ;;i,:c/k
                                                  Mitchell (Mordecaf)specktor, Publisher

                                                  Subscribed and sworn to me on this the !flh._c1ay o f ¥ , 2011._.

                                                                                                                              REBECCA SHUSTER

                                                                                                    ' /er                          Notary Public



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                                                                                                                                State of Minnesota

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                                                                                                                              My commission Expires
                                                                                                                                 January 31. 2028


                                                  Notaq1 Public (signature and seal)
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     EXHIBIT I
                           Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 155 of 164
GSCCCA eFilel: EF_008632448_001509613_067 Received:Wednesday, S~Rtembel' 14, 2022 s:·S-3:55 PM Page 1 of2

                                                                                                                                        FlLED & RECORDED
                                                                                                                                        Thm·sday, September 15, 2022 8:19:46 AM
                                                                                                                                        File Number: 067-2022-008191
                                                                                                                                        Tiana P. Gamer
                                                                                                                                        Gwinnett Comity Clerk of Superior Court
  UCC FINANCING STATEMENT
 FOLLOW INSTRUCTIONS

   A. NAME & PHONE OF CONTACT AT FILER (~tional)
       Conl'ad Joseph James JI'.
   B. E-MAIL CONTACT AT FILER (opbonal)
       cjjamesjl'll@gmail.com
   C. SEND ACKNOWLEDGMENT TO:                     (Name and Address)

      ~415 Sandwedge Lane
        Snellville, Ga. 30039                                                                        7
                                                                                                                                       [ Print I [ Reset I
      L                                                                                              _J
                                                                                                                            TH_E AB_OVE__ ~!"_ACI: _IS FQ_R Fl!-Jr.l_GJJFFICE USE ON_L't'
  1. DEBTOR'S NAME: Provide only~ Debtor name (1a or 1b) (use exac1, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
                                                                       D
     name will not fit in line 1b, leave all of item 1 blank, check here and provide the Individual Debtor inf01111ation in Item 10 of the Financing Statement Addendum (Fo1111 UCC1Ad)
       1a. ORGANIZATION'S NAME
                                                                                  I


  OR
       1b. NDIV DUAL'S ~URNAME                                                             FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)I NfTW.(S)               SUFFIX
       JAMES                                                                                CONRAD                                                 JOSEPH                                      JUl'IIO
  1c. MA LNG ADDRESS                                                                       CllY                                                  . STATE     IPOSTAL CODE                     COUNTRY
   c/o 3415 Sandwed,~e Lane                                                                .
                                                                                            Snellville
                                                                                             - -
                                                                                                                                                   GA 30039                                    USA
 2. DEBTOR'S NAME: Provide only B Debtor name ·c2a or 2b) (use exac1, full name; do not omit, modify, or abbreviate ~Y part of ihe Debtor's name); if any part of the lnttjyidual Debtor's
    name will not frt In line 2b, leave all of item 2 blank, check hereDand provide the Individual Debtor information in Item 10 of the Financilg Statement Addendum- (Fo1111 UCC1Ad)
       2a. ORGANIZATION'S NAME

  rn 2b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)llNITIAl.(S)             SUFFIX


  2c. MAILING ADDRESS                                                                      CITY                                                    STATE     IPOSTAL CODE                     COUNTRY



 3. ~ ECURED PARTY'S NAME tor NAME of ASSIGNEE of ASSIGNOR SECURED PARTvt Provide on~, ooe Secureel Partv name 13a or 3bl
       3a. ORGANIZATION'S NAME


 OR
       3b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)llNITIAl.(S)             SUFFIX
       James                                                                                   Conrad                                              Joseph                                      Jr.
  3c. MAILING ADDRESS                                                                      CITY                                                    STATE     IPOSTAL COOE                     COUNTRY
  c/o 3415 Sandwedge Lane                                                                  Snellville                                              GA exempt                                   USA
                  ·•
 4. COLLATERAL. Thrs                                       ..
                     financing sllltement covers the fOllowsig eollaterat
  Social Security Number:( XXX-XX-XXXX
  Drin1·s License Number: 051421282
  Birth Ce1·tificat('Numbe1·: C22JW083247
  Cusip Number: 315920413
  Audi A4 2010 VIN Number: WAUEFAFL8AN040453
  U.S. Dept of Edu Numbm ~900130816
  Mol'tgage Account Numbe1·: 359681378402           ,
  Gwinnett County Wate1· Dept Ace Numbe1·: 208039870000
  Walton EMC Electric Ace Number: 736147003
  Walton EMC Gas Acc. Number: 736147004




 5. Check 2!!!l£ tt applicable and check ~ one box: Collateral is        held in a Trust (see UCC1Ad, Item 17 and lnsbuctiooS)          . being administereel by a Deceelenrs Persooal Representative
  6a. Check .Q!!!l( ii applicable and check QU!l: one box:                                                                                 6b. cneck Q!!!I( if appicable and dleck .Q!!!l( one bOJc
           Public-Finance Transaclion                ManUfactureo-Home Transaction              ' A Debtor is a Transmitting Utility                 Agricunural Lien
 _7. ALTERNATIVE DESIGNATION (if 31)j)licable):          0 Lessoo'l.essor             □ Coosqiee/Calsignor                □ Seller/Buyer            □ BaileeJBailor                   Licensee.\.icensor
 8. OPTIONAL FILER REFERENCE DATA:


                                                                                                                         International Association of Commercial Administrators (IACA)
 FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04'20/11)
                     Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 156 of 164
GSCCCA eFile2: EF_00863244~_001509613_067,.Rtill~Y~~Wednesday, srtoer 14, 2022 5:53:55 PM Page 2 of2                                       067-2022-008191
                                  ·       Instructions forlJCC Financing Statement (Form UCC1)

 Please type or laser-print this form. Be sure it is completely legible. Read and follow all Instructions, especially Instruction 1; use of the correct name
        for the Debtor is crucial.
 Fill in form very carefully; mistakes may have important legal consequences. If you have questions, consult your attorney. The filing office cannot give
        legal advice.                          ·
 Send completed form and any attachments to the filing office, with the required fee.

 ITEM INSTRUCTIONS

 A and B. To assist filing offices that might wish to communicate with filer, filer may provide information in item A and item B. These items are optional.
 C. Complete item C if filer desires an acknowledgment sent to them. If filing in a filing office that returns an acknowledgment copy furnished by filer,
      present simultaneously with this form the Acknowledgment Copy or a carbon or other copy of this form for use as an acknowledgment copy.

 1.    Debtor's name. Carefully review applicable statutory guidance about providing the debtor's name. Enter only one Debtor name in item 1 -- either
       an organization's name (1 a) Q[ an individual's name (1 b). If any part of the Individual Debtor's name will not fit in line 1b, check the box in item 1,
       leave all of item 1 blank, check the box in item 9 of the Financing Statement Addendum (Form UCC1Ad) and enter the Individual Debtor name in
       item 10 of the Financing Statement Addendum (Form UCC1Ad). Enter Debtor's correct name. Do not abbreviate words that are not already
       abbreviated in the Debtor's name. If a portion of the Debtor's name consists of only an initial or an abbreviation rather than a full word, enter only
       the abbreviation or the initial. If the collateral is held in a trust and the Debtor name is the name of the trust, enter trust name in the Organization's
       Name box in item 1a.

 1a. Organization Debtor Name. "Organization Name" means the name of an entity that is not a natural person. A sole proprietorship is not an
     organization, even if the individual proprietor does business under a trade name. If Debtor is a registered organization (e.g., corporation, limited
     partnership, limited liability company), it is advisable to examine Debtor's current filed public organic records to determine Debtor's correct name.
     Trade name is insufficient. If a corporate ending (e.g., corporation, limited partnership, limited liability company) is part of the Debtor's name, it must
     be included. Do not use words that are not part of the Debtor's name.

 1b. Individual Debtor Name. "Individual Name" means the name of a natural person; this includes the name of an individual doing business as a sole
     proprietorship, whether or not operating under a trade name. The term includes the name of a decedent where collateral is being administered by
     a personal representative of the decedent. The term does not include the name of an entity, even if it contains, as part of the entity's name, the
     name of an individual. Prefixes (e.g., Mr., Mrs., Ms.) and titles (e.g., M.D.) are generally not part of an individual name. Indications of lineage (e.g.,
     Jr., Sr., Ill) generally are not part of the individual's name, but may be entered in the Suffix box. Enter individual Debtor's surname (family name)
     in Individual's Surname box, first personal name in First Personal Name box, and all additional names in Additional Name(s)/lnitial(s) box.

       If a Debtor's name consists of only a single word, enter that word in Individual's Surname box and leave other boxes blank.

       For both organization and individual Debtors. Do not use Debtor's trade name, OBA, AKA, FKA, division name, etc. in place of or combined with
       Debtor's correct name; filer may add such other names as additional Debtors if desired (but this is neither required nor recommended).

 1c.   Enter a mailing address for the Debtor named in item 1a or 1b.

 2.    Additional Debtor's name. If an additional Debtor is included, complete item 2, determined and formatted per Instruction 1. For additional Debtors,
       attach either Addendum (Form UCC1Ad) or Additional Party (Form UCC1AP) and follow Instruction 1 for determining and formatting additional
       names.

 3.    Secured Party's ·name. Enter name and mailing address for Secured Party or Assignee who will be the Secured Party of record. For additional
       Secured Parties, attach either Addendum (Form UCC1Ad) or Additional Party (Form UCC1AP). If there has been a full assignment of the initial
       Secured Party's right to be Secured Party of record before filing this form, either (1) enter Assignor Secured Party's name and mailing address in
       item 3 of this form and file an Amendment (Form UCC3) [see item 5 of that form]; or (2) enter Assignee's name and mailing address in item 3 of
       this form and, if desired, also attach Addendum (Form UCC1Ad) giving Assignor Secured Party's name and mailing address in item 11.

 4.    Collateral. Use item 4 to indicate the collateral covered by this financing statement. If space in item 4 is insufficient, continue the collateral
       description in item 12 of the Addendum (Form UCC1Ad) or attach additional page(s) and incorporate by reference in item 12 (e.g., See Exhibit A).
       Do not include social security numbers or other personally identifiable information.

 Note: If this financing statement covers timber to be cut, covers as-extracted collateral, and/or is filed as a fixture filing, attach Addendum (Form
 UCC1Ad) and complete the required information in items 13, 14, 15, and 16.

 5.    If collateral is held in a trust or being administered by a decedent's personal representative, check the appropriate box in item 5. If more than one
       Debtor has an interest in the described collateral and the check box does not apply to the interest of all Debtors, the filer should consider filing a
       separate Financing Statement (Form UCC1) for each Debtor.

 6a. If this financing statement relates to a Public-Finance Transaction, Manufactured-Home Transaction, or a Debtor is a Transmitting Utility, check
     the appropriate box in item 6a. If a Debtor is a Transmitting Utility and the initial financing statement is filed in connection with a Public-Finance
     Transaction or Manufactured-Home Transaction, check QO]y_ that a Debtor is a Transmitting Utility.

• 6b. If this is an Agricultural Lien (as defined in applicable state's enactment of the Uniform Commercial Code) or if this is not a UCC security interest
      filing (e.g., a tax lien, judgment lien, etc.), check the appropriate box in item 6b and attach any other items required under other law.

 7.    Alternative Designation. If filer desires (at filer's option) to use the designations lessee and lessor, consignee and consignor, seller and buyer
       (such as in the case of the sale of a payment intangible, promissory note, account or chattel paper), bailee and bailor, or licensee and licensor
       instead of Debtor and Secured Party, check the appropriate box in item 7.

  8.   Optional Filer Reference Data. This item is optional and is for filer's use only. For filer's convenience of reference, filer may enter in item 8 any
       identifying information that filer may find useful. Do not include social security numbers or other personally identifiable information.
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               ..., .. -··         -




             EXHIBIT
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                                                 GWlNNffi SUPERIOR COURT
                                                 :rRAOE NAME REGISTRATION
• PERSONALLY APPEAREO THE UNDERSfGHED WfiO ON OATH DEPOSES ANO SAYSTiiAT:

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 15/AAE OOiNG 8USlNES5 IN G\VINNElT COUNTY,.G:EORGII'; UNDER llle WJ',IE Of:

  ~ C,DN gf\r) ToSfft{ ~Tl\ti1€5 JR,
 6.sDRE,SS; 2 3t115 ~6e l llHle__)Saelh,;lfe. GI\. '61X>Sll                                                   .
 ~;:;;:rrn,-25~~ h111                                     [EWJl!~Mrolj ''-Mt.'j r O(         ele_ffAd ,tfJM
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     sworn t~ and subsmlled before me




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Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 159 of 164




 EXHIBIT K
Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 160 of 164
                                                          .,,



                                                                            DEED B: 60129 P: 00436
                                                                             08/08/2022 01 :58 PM Pgs: 4 Fees: $25.00
                                                                             TTax: $0.00
                                                                             Tiana p Garner, Clerk or Superior Court
                                                                           · GWlnnett Courity, GA
        PREPARED BY:                                                        PT-61 #: 0672022025253
        The Law Office ofEdward J. Khlg, Esquire
        300 Corporate Center Drive, Ste. 130
        Moon To,~11ship, PA 15108
        GA# 547703

        Return lo:
        Inspire Closing Services
        420 Rouser Road, Suite 500
        Moon Township, PA 15108
        Order// I073 042
        Parcel ID#: R6017 265



                                                   QUIT CLAIM DEED
        STATE OF GEORGIA
        COUNTY OF GWrnNETT
                 I
        THlS INDENTURE made the             1..)   day of     hbl{tl', (;               2021, between
        CONRAD J. JAMES, JR. AND GIUSSEPl'E MENDEZ, as·part r parties of the first part,
        bercinaft.er called Grantor(s); and CONRAD J. JAMES, JR., SINGLE, as party or parties of
        the second part, hereinafter called Grantee(s). (the words "Grantor" and "Grantee" shall include
        their rcsphctive heirs, successors, and assigns where the context requires or permits, and shall
        include tlje singular and plural, and the masculine, feminine, and neuter, as the context requires.)

         WITNESSETH: That this trnnsfcr is pursuant to Final Judgment and Decree dated September 6,
        2019 in Gwinnett County, Georgia Court Cnsc No. 18-10171-3, and in consideration of the sum of
        TEN DOLLARS and 00/100 ($10.00), and other good and valuable consideration, cash in hand paid
        by Grantee.at and before the scaling and delivery of these presents, the receipt ofwhich is h,ereby
        acknowledged, by these presents <loes hereby remise, release, convey and forever QUITCLAUvt unto
        Grantee forever, all of Grantor's interest in and to,

        ALL that certain plot, piece or parcel of land, with the buildings and improvements thereon erected,
        situated in the Coumy of Gwinnett, and state of Georgia, being more particularly described as:
                   '
                  'sEE EXHIBrr "A" ATTACHED HERETO AND MADE A PART HEREOF

      BEING tlic same premises which CONRAD J. ,JAMES, JR., in deed dated June 5, 2017 nnd ,
    ' recorded October 20, 2017 in the Gwinnett Coim1y Recorder's Office in Deed Book Volume 55475,
    ; Page 321, :granted and conveyed to CONRAD J. JAMES, JR. AND GIUSSEPPE MENDEZ AS
    [ JOINT TENANTS WITH IUGHT OF SURVIVORSIIIP, the Grnntors herein.
    I
    ! SUBJECr TO: all covenants, condi1ions, reservations, limitations, easements and restriction or
    ; ngrccmcnts of record, if any, and to nil applicable zoning ordinances and/or governmental restrictions,
    : if any, nff~cting the same.
                  I
                  I
        TOGETIIER WITH nil the appurtenances to ur:d the estate and rights of Grantor in said premises.
                  I
        EXEMPT. FROM REAL ESTATE TRANSFER TAX UNDER § 48-6-2 (a)(S)
Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 161 of 164            :.,~-·"ft,
                                                                    ;~·:·




                               LIEN B: 06248 P: 00108
                               05/23/2023 02:31 PM Pgs: 1 Fees: $25.00
                                                                                              LIEN B: 06121 P: 00254
                               Tiana P Gamer, Clerk or Superior Court                        12/08/2022 01 :50 PM Pgs: 1 Fees: $25.00
                               Gwinnett County, GA

                               ERECOROED                                                     ,Tiana P Garner, Clerk of Superior Court
  Upon recording return to·;   •FIie Participant IDs: 0283063948,                             Gwinnett County, GA

                                                                                              ERE CORDED
  Mary Beth Sierra                                                                           eflle Participant IDs: 8994248092,
  Coulter & Sierra, LLC
  l770 Indian Trail Road, Suite 440
  Norcross, GA 30093



  STATE OF GEORGIA

  COUNTY OF GWJNNETI
                                                            LIEN

          Pursuant to the provisions of that certain Declaration of Covenants, Conditions and
  Restrictions for Country Club of Gwinnett recorded in Deed Book 10302, page 133 et seq.,
  Gwinnett Cowity, Georgia records, COUNTRY CLUB OF GWINNETT OWNERS
  ASSOCIATION, INC., claims a lien against the following described property of Conrad J.
  James, Jr., being known as 3415 Sandwedge Lane, Snellville, GA 30039 and Parcel ID#
  R6017 265.

           This claim of lien is for unpaid and delinquent assessments in the amount of $1,150.00,
  which, under and pursuant to the provisions of said Declaration, are past due as of the date
  hereof, together with late fees and interest thereon, and costs of collection, including attorney's
  fees, as provided in said Declaration. Also, this claim of lien is to secure any and all
  assessments, together with late fees and interest thereon, and costs of collection, including
  attorney's fees, which may hereafter come due to Colllltry Club of Gwinnett Owners Association,
  Inc., in respect to the above described property until this claim of lien is canceled ofrecord.

          This 8th day of December, 2022.



                                                           Mary Beth Sierra
                                                           Georgia Bar No. 153350
                                                           Attorney for Country Club of Gwinnett Owners
                                                           Associatiou, Inc.

  Mary Beth Sierra
  Coulter & Sierra, LLC
  1770 Indian Trail Road, Suite 440
                                                                                         The debt which this instrument was given to secure
  Norcross, Georgia 30093                                                                having been aid in full, this instrument is hereby
  (404) 554-2071                                                                         cancelled,    the clerk of the Superior Court of
                                                                                         Gwinnett     nty, Georgia is hereby authorized ll!ld
                                                                                         ordered I ark it satisfied of record.




                                                                                         Anomey for Counuy Club of Gwinnett Owners
                                                                                         Association, Inc.
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                                                        DEED B: 60129 P: 00437 08/08/2022 01:58 PM
                                                        220083132 Page 2 of 4




                                                  EXHIBIT "A".



     All that tract or parcel ofland lying and being in Land Lot 17 of the 6th District of Gwinnett County,
     Georgia, ~nd being Lot 545, Block A, Unit 7, Phase III, Country Club of Gwinnett Subdivision, as
     reflected on a plat of survey recorded In Plat Book 87, Pages 225 through 229, Gwinnett County,
   1 Georgia Records, to which plat reference is made for a more particular delineation of the metes,

     bounds, and courses description.

      Parcel ID: R.60 I7 265
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                                                         DEED B: 60129 P: 00438 08/08/2022 01:58 PM
                                                         220083132 Page 3 .of 4




    IN WITNESS WHEREOF, the Grnntor has signed, sealed ond executed this deed, the jj_ day
    of-c:>"--'--'?¥---------' 2021.




     Signed, Sff!led and delivered in the presence of:




                                                                    KIMBERLY Y. NUNNALLY
                                                                       Notm:y Public, Georgia
                                                                         Cv.1Ml!U County
                                                                      My Commission Expires
                                                                            10117/2023

     My·commissio11 expires: \ ~           7,-,Q ~
Case 1:23-cv-03097-MHC Document 9 Filed 09/11/23 Page 164 of 164
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                                                                         DEEP B: 60129 P: 00439 08/08/2022 01:58 PM
                                                                         220083132 Page 4 of 4




     TO HAVE AND TO HOLD said described premises 10 Grantee, so that neither Granlor nor any
     person or persons claiming under or through the Grantor shall at any time, by any means or ways,
     have, claim or demand nny right to title to said premises or appurtenances, or any rights thereof.
               I                                                                                          -
     IN WITNESS WHEREOF, the Grilntor has signed, scaled and executed this deed, the day and year
     ubove written.




               I

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                                                                              KIMBERLY Y. NUNNALLY
                                                                                 Notary Public, Goorgla
                                                                                   Gwinnett County
                                                                                My Commlss!on Expires
                                                                                      10/1712023
     My commission expires:


    (Notary Seal)
